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                                  EXHIBIT 2
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                                   UNITED STATES DISTRICT COURT

                                    DISTRICT OF MASSACHUSETTS

       SAMUEL KATZ, ALEXANDER                             No. 1:18-cv-10506-ADB
       BRAURMAN, LYNNE RHODES,
       individually, and on their own behalf and
                                                          FIRST AMENDED CLASS ACTION
       on behalf of all others similarly situated,        COMPLAINT AND JURY DEMAND
                              Plaintiff,
                      v.

       LIBERTY POWER CORP., LLC,
       LIBERTY POWER HOLDINGS, LLC,
       Delaware limited liability companies,

                              Defendants.

              Plaintiffs Samuel Katz (“Plaintiff”), Lynne Rhodes, and Alexander Braurman make this

complaint against Defendants Liberty Power Corp., LLC and Liberty Power Holdings, LLC

(collectively “Liberty Power” or “Defendants”). Plaintiffs’ allegations as to their own actions are

based on personal knowledge. The other allegations are based on his counsel’s investigation, and

information and belief.

                                                     Introduction

              1.      Plaintiffs, individually and as class representatives for all others similarly situated,

bring this action against Defendants for violations of the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq. (“TCPA”) for unsolicited telemarketing calls made by or on behalf of

Defendants. Plaintiffs, individually, and for class members, seek an injunction and an award of

statutory damages to the members of the Classes under the TCPA, together with costs and

reasonable attorneys’ fees.

                                                       Parties

              2.      Plaintiff Samuel Katz is a natural person. Mr. Katz was a resident of Bellingham,

Massachusetts at all times during the events alleged in this Complaint. At all relevant times
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Plaintiff Katz was the user, subscriber, owner, and possessor of the residential telephone number

(508) 966-XXXX.

       3.      Plaintiff Lynne Rhodes is a natural person. She was a resident of Barnstable

County, Massachusetts at all times during the events alleged in this Complaint. At all relevant

times, she was a user, subscriber, owner, and possessor of the residential telephone numbers 508-

540-XXXX and 617-962-XXXX.

       4.      Plaintiff Alexander Braurman is a natural person. He was a resident of New

Jersey at all times during the events alleged in this Complaint. At all relevant times Plaintiff

Braurman was the user, subscriber, owner, and possessor of the residential telephone number

908-879-XXXX.

       5.      Liberty Power Corp, LLC (“Corp”) is a limited liability company duly organized

under the laws of the State of Delaware with a principal place of business located at 2100 West

Cypress Creek Road, Suite 130, Fort Lauderdale, Florida.

       6.      Liberty Power Holdings, LLC (“Holdings”) is a limited liability company duly

organized under the laws of the State of Delaware with a principal place of business located at

the same address as Corp.

       7.      Plaintiffs are informed and believe and based thereon allege that all defendants

were at all relevant times acting as actual agents, conspirators, ostensible agents, partners and/or

joint venturers and employees of all other defendants, and that all acts alleged herein occurred

within the course and scope of said agency, employment, partnership, and joint venture,

conspiracy or enterprise, and with the express and/or implied permission, knowledge, consent,

authorization and ratification of their co-defendants; however, each of these allegations are




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deemed “alternative” theories whenever not doing so would result in a contradiction with the

other allegations.

       8.      Whenever this complaint refers to any act of Defendants, the allegations shall be

deemed to mean the act of those defendants named in the particular cause of action, and each of

them, acting individually, jointly and severally, unless otherwise alleged.

                                      Jurisdiction and Venue

       9.      The Court has federal subject matter jurisdiction under 47 U.S.C. § 227. Cf. Mims

v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).

       10.     This Court has personal jurisdiction over Liberty Power under Mass. Gen. Laws

ch. 223A, § 3, because it does business in the Commonwealth of Massachusetts (including

obtaining licensing with the Commonwealth to provide electricity to customers in

Massachusetts), and because the wrongful acts alleged in this Complaint were committed in

and/or caused injury in the Commonwealth of Massachusetts.

       11.     Venue is also proper before this Court under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this District.

              The Telephone Consumer Protection Act of 1991, 47 U.S.C. § 227

       12.     In 1991, Congress enacted the TCPA, in response to a growing number of

consumer complaints regarding certain telemarketing practices. Congress found that “automated

and prerecorded calls are a nuisance and an invasion of privacy, regardless of the type of call,”

and decided that “banning” such calls made without consent was “the only effective means of

protecting telephone consumers from the nuisance and privacy invasion.” Pub. L. No. 102-243,

§§ 2 (10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227. See also Mims v. Arrow Fin. Services,




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L.L.C., 565 U.S. 368, 132 S. Ct. 740, 744, 181 L. Ed. 2d 881 (2012) (“The Act bans certain

practices invasive of privacy”).	  

        13.     The TCPA makes it unlawful for any person to initiate any telephone call to any

residential telephone line using an artificial or prerecorded voice to deliver a message without the

prior express written consent of the called party, unless the call is initiated for emergency

purposes. 47 U.S.C. § 227(b)(1)(B).

        14.     The TCPA also makes it unlawful for any entity to make more than one call in a

12-month period to any number that is registered with the National Do-Not-Call Registry. See 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

        15.     The National Do-Not-Call Registry allows residential telephone subscribers to

register their telephone numbers with the Registry to indicate their desire not to receive

telephone solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2). A listing of the Registry

“must be honored indefinitely or until the registration is cancelled by the consumer or the

telephone number is removed by the database administrator.” Id.

        16.     The Federal Communications Commission (“FCC”) has promulgated regulations

under the TCPA which also require that sellers and telemarketers maintain an “internal do-not-

call list” (“IDNC” list) — i.e., a “list of persons who request not to receive telemarketing calls

made by or on behalf of that [seller]” — and further prohibits sellers from “initiat[ing] any call

for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls by or on behalf of that person or entity[.]” 47 C.F.R. § 64.1200(d). Cf. 47 U.S.C. §

227(b)(1).




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       17.      The FCC’s regulations “generally establish that the party on whose behalf a

solicitation is made bears ultimate responsibility for any violations.” In the Matter of Rules and

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC Rcd. 12391, 12397, ¶ 13

(1995). The FCC reiterated this principle in 2013, when it explained that “a seller …. may be

held vicariously liable under federal common law principles of agency for violations of either

section 227(b) or section 227(c) that are committed by third-party telemarketers.” In the Matter

of the Joint Petition Filed by Dish Network, LLC, 28 FCC Rcd. 6574, 6574 (2013).

          Factual Allegations Regarding the Liberty Power’s Telemarketing Activities

       18.      Liberty Power uses telemarketers to solicit potential residential customers in

several states to purchase Liberty Power’s products and services through aggressive, outbound

telemarketing campaigns. These telemarketing campaigns are conducted for the benefit of and on

behalf of Liberty Power.

       19.      Liberty Power and its agents use pre-recorded and/or artificial voices to make

telephone calls to consumers en masse to promote and market Liberty Power’s products and

services.

       20.      The prerecorded messages utilized by Liberty and its agents induce consumers,

including Plaintiff and Class Members, to press 1 to save on their electric bills by making

specific reference to the consumer’s local electric utility.

       21.      Liberty Power and its agents call consumers with whom they have no prior

relationship and who did not provide consent for Liberty Power or its agents to call them.

       22.      Liberty Power and its agents systemically fail to obtain legally effective consent

before placing calls to potential customers, including Plaintiff and the Class Members (as defined

below).



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                                                           23.                                                        Liberty Power and its agents make repeated and unwanted calls to consumers

whose telephones service numbers are listed on the National Do Not Call Registry. Consumers

place their phone numbers on the National Do Not Call Registry for the express purpose of

avoiding unwanted telemarketing calls like those alleged here.

                                                           24.                                                             The outgoing telephone numbers used by Liberty Power and its agents include

local area-code numbers, but the numbers are misleading and inaccurate—calls to the outgoing

telephone numbers used by Liberty Power and its agents typically do not connect to any

telephone line.

                                                           25.                                                        Liberty Power had actual knowledge that its vendors used “spoofed numbers” to

make unsolicited telemarketing calls to consumers on its behalf (that is, replacing the actual

originating number displayed to recipients caller ID systems—which could be used to reliably

identify the vendors’ calls—with a falsified ostensible outgoing telephone number).

Notwithstanding this actual knowledge, when consumers complained to Liberty Power, it denied

any responsibility for the calls and denied the spoofed numbers were used by any of its

telemarketing vendors.1


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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        According to the FTC, advancements in technologies, such as Voice Over Internet
Protocol (VoIP) technology have increased the number of illegal telemarketing calls made to
telephone numbers on the National Do Not Call Registry and allowed telemarketers to evade
detection by “spoofing” the caller ID information that accompanies their calls:
        VoIP technology allows callers, including law-breakers, to make higher volume of calls
        inexpensively from anywhere in the world…Technological developments also allow
        illegal telemarketers to easily fake the caller ID information that accompanies their calls,
        which allows them to conceal their identity from consumers and law enforcement. In
        2017, reports of “neighborhood” caller ID spoofing, where the caller displays a caller ID
        number with the same area code and exchange as the called party, have also increased.
        Further, many telemarketers use automated dialing technology to make calls that deliver
        prerecorded messages (commonly referred to as “robocalls”, which allow violators to
        make very high volumes of illegal calls without significant expense. The net effect of
        these technological developments is that individuals and companies who do not care
        about complying with the Registry or other telemarketing laws are able to make more
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                                                          26.                                                        Liberty Power and its agents systemically fail to honor Plaintiffs and Class

Members’ requests to be placed on Liberty Power’s internal Do Not Call List. 	  

                                                          27.                                                        By making these robocalls, and ignoring the national Do-Not-Call registry and Do

Not Call requests, Liberty Power has caused Plaintiffs and Class Members actual injury and

harm, including the aggravation, nuisance, and invasion of privacy that results from the receipt

of unsolicited and harassing telephone calls.

                                                          28.                                                        Liberty Power controls the manner and method of their agent’s telemarketing

campaigns.

                                                          29.                                                        Liberty Power provides the agents with lists of prospective consumers to call and

requires their agents to call only the telephone numbers provided by Liberty Power.

                                                          30.                                                        Liberty Power instructs the agents on the dates and times to place telemarketing

calls on behalf of Liberty Power.

                                                          31.                                                        Liberty Power provides the agents with telemarketing scripts and requires strict

adherence to these scripts.

                                                          32.                                                        Liberty Power requires the agents to advise prospective customers that they are

calling on behalf of Liberty Power.

                                                          33.                                                        Liberty Power requires the agents to have a certain number of full-time agents

engaged on Liberty Power’s outbound calling campaigns.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
        illegal telemarketing calls cheaply and in a manner that makes it difficult for the FTC and
        other law enforcement agencies to find them.
Federal Trade Commission, Biennial Report to Congress, Under the Do Not Call Registry Fee
Extension Act of 2007: The Operation of the National Do Not Call Registry During Fiscal Year
2016 and Fiscal Year 2017, December 2017, at 3. available at
https://www.ftc.gov/reports/biennial-report-congress-under-do-not-call-registry-fee-extension-
act-2007-operation (last visited July 16, 2018).
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       34.      Liberty Power prohibits the agents from hiring subcontractors to telemarket for

Liberty Power without Liberty Power’s prior written approval.

       35.     Liberty Power trains and coaches the agents’ employees on strict adherence to

Liberty Power’s telemarketing scripts and all other aspects of the telemarketing campaigns.

       36.     Liberty Power trains and certifies the employees of its agents soliciting on its

behalf. This training involves extensive scripting and coaching on script adherence.

       37.     Liberty Power restricts its agents to selling its products and services in

geographical territories assigned by Liberty Power.

       38.     Liberty Power requires its agents to provide them with the names of any

customers who were interested in purchasing electricity from Liberty Power on a daily basis.

Liberty Power requires its agents to provide, among other information, the account name, utility

name and account number, kWh rate, service address, billing address, and name of the person

authorized to sign a contract on the customer’s behalf.

       39.     Liberty Power knew or should have known that its agents were violating the

TCPA. Liberty Power has the right to perform unannounced audit visits of its agents to assure

compliance with the TCPA.

       40.     Liberty Power requires agents to record all telephone solicitations.

       41.     Liberty Power has the right to monitor its agents’ telemarketing activities to

assure adherence to its telemarketing scripts and compliance with Liberty Power’s telemarketing

rules and policies. Liberty Power had the right to terminate the agents for noncompliance.

       42.     Liberty Power conducts evaluations of active employees of the agents who

perform telemarketing of Liberty Power’s services/products. Liberty Power monitors these

employees’ calls on a weekly basis, and reserves the right to address violations of its rules and



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policies in real-time with both the agent and their employees. Liberty Power also conducts

weekly analysis of all of its agents to review quality assurance scores and determine whether the

agents adhered to Liberty Power’s “best practices”.

       43.     Liberty Power requires its agents to promptly notify Liberty Power and

permanently remove any individual who has engaged in fraudulent or deceptive solicitation, or

who violated any state or federal law or regulation. Such notification must include the nature of

the violation and customers that may be impacted.

       44.     Liberty Power also reserved the right to suspend or terminate its relationships

with its agents for non-compliance with TCPA rules and regulations.

       45.     Liberty Power requires the agents to sign and comply with its telemarketing rules

and policies, which included scripts controlling the wording that the agents must use in calls

made on Liberty Power’s behalf. Liberty Power reserved the right to terminate agents in the

event that the agents violated its telemarketing policies or deviated from its scripts.

       46.     In recent years, Liberty Power’s telemarketing practices have been the subject of

numerous consumer complaints and increased regulatory scrutiny. Liberty Power knew or should

have known that its agents were violating the TCPA from the vast number of consumer and state

regulatory complaints and investigations regarding Liberty Power’s unsolicited telemarketing

practices.

       47.     Liberty Power knew or should have known that the agents systemically violate the

TCPA because of its strict telemarketing rules and policies, including Liberty Power’s ability to

audit and perform quality controls, its weekly call audits, and the fact that Liberty Power itself

supplied the list of numbers that its agents called.




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       48.     Nonetheless, Liberty Power and the agents made, and continue to make, these

telemarketing calls to individuals nationwide without their prior written express consent to do so.

       49.     Liberty Power also ratified the agents’ conduct by accepting the benefits of the

calls, including but not limited to the acceptance of customers generated by these calls, despite

being aware that these calls were unsolicited and made in violation of the TCPA.

       50.     Liberty Power’s agents were, at all relevant times, acting as actual agents,

conspirators, ostensible agents, partners and/or joint venturers and employees of Liberty Power,

and the acts alleged herein occurred within the course and scope of said agency, employment,

partnership, joint venture, conspiracy or enterprise, and with the express and/or implied

permission, knowledge, consent, authorization and ratification of Liberty Power.

       51.     Each of these allegations are “alternative” theories of liability whenever not doing

so would result in a contradiction with the other allegations.

                        Plaintiff Samuel Katz’s Individual Allegations

       52.     On or about August 16, 2003, Mr. Katz’s residential telephone number (508) 966-

XXXX was placed on the National Do-Not-Call Registry. Despite this, Mr. Katz received

unsolicited calls by or on behalf of Liberty Power promoting Liberty Power’s products and/or

services on the following dates and times:

               Call Date and Time Calling Number

       1       9/8/2016 12:17:11      (508) 202-1270 Framingham MA

       2       9/8/2016 12:23:44      (508) 202-1270 Framingham MA

       3       9/8/2016 12:23:46      (508) 202-1270 Framingham MA

       4       9/8/2016 12:23:51      (508) 202-1270

       5       9/8/2016 12:29:45      (508) 202-1270 Framingham MA



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       6         9/8/2016 12:35:56      (508) 202-1270 Framingham MA

       7         9/8/2016 12:36:19      (508) 202-1270

       8         9/23/2016 15:42:58     (508)-202-1270

       9         9/27/2016 16:24:47     (508) 202-1270

       10        10/3/2016 13:27:28     (508) 202-1270 Framingham MA

       11        10/3/2016 13:29:24     Anonymous

       12        10/14/2016 16:45:21 (508) 202-1270 Framingham MA

       13        10/14/2016 16:45:51 (508) 202-1270

       53.       There may be additional calls made by or on behalf of Liberty Power and Plaintiff

reserves the right to identify such additional calls.

       54.       While the caller ID identified above belongs to Liberty Power and/or its agents

and reflect local Massachusetts area codes, calls to these telephone numbers do not connect to

any telephone.

       55.       Several of these calls used an artificial or prerecorded voice to deliver a message,

including calls that started with a message that stated “Press 1 to save on your electricity bill,” or

words to that effect.

       56.       In one of these calls, Mr. Katz advised Liberty Power’s caller that his telephone

number was registered with the National Do Not Call Registry, that he did not consent to the

calls, and asked to be placed on Liberty Power’s Do Not Call list. The caller advised Mr. Katz

would have to purchase Liberty Power’s services to get on Liberty Power’s Do Not Call list and

to stop getting calls. The caller in this call stated he was calling from Liberty Power, solicited

Mr. Katz to enroll in Liberty Power’s electricity program, and provided Liberty Power’s

telephone number (866-769-3799).



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       57.     In another of these calls, Mr. Katz asked for a copy of Liberty Power’s Do Not

Call Policy, and the caller responded he did not have a copy; the caller hung up when Mr. Katz

then asked if Liberty Power had a Do Not Call list. Again, the caller in this call solicited Mr.

Katz to enroll in Liberty Power’s electricity program, and provided Liberty Power’s telephone

number (866-769-3799).

       58.     Plaintiff Katz never gave Liberty Power or its agents legally effective consent to

make telemarketing calls to him.

       59.     None of Liberty Power’s calls to Plaintiff were for emergency purposes or were

exempted by the FCC’s rules or orders.

       60.     Plaintiff Katz complained to Liberty Power about calls from the 508-202-1270. In

response, by email dated October 19, 2016, Defendants’ Compliance and Quality Assurance

Team denied responsibility for the calls. Liberty Power denied that the number belonged to any

of Liberty Power’s third party vendors:


       With your last email you alleged that you received another call again this time from the
       phone number 508-202-1270. We can confirm that phone number does not belong to any
       of our third party vendors and in calling that phone a recorded message responded with
       “this number is currently un-configured”.

       Please note that we had previously received similar allegations from consumers and upon
       conducting a google search with the phone number reflected upon the caller ID, the
       results confirmed “spoof” calls were made to other consumers.

See KATZ 000147.

       61.     Defendants knew or should have known that the calls from the spoofed (508) 202-

1270 were made by Defendants’ telemarketing vendor, Mezzi Marketing, on behalf of Liberty

power from (508) 202-1270.




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       62.     The plaintiff in the related case, McDermet v. Liberty Power Corp., LLC, No. 18-

10043 (also pending before this Court) alleges he received calls using the same originating

number ((508) 202-1270) a few months after Mr. Katz received calls which spoofed the same

1270 number. Cf. Pl.’s Compl., ECF No. 1, ¶50 with Complaint by William McDermet, Ex. A to

Notice of Removal, McDermet v. Liberty Power Corp., LLC, No. 18-10043 (D. Mass. Jan. 8,

2018), ECF No. 1-1, ¶8.)

       63.     On June 25, 2018, Liberty Corp. filed a third party complaint against Mezzi in the

McDermet Case based on the allegation that the calls complained of by Mr. McDermet were

made by Mezzi pursuant to a telesales agreement. (See Third-Party Complaint by Liberty Power

Corp., LLC, McDermet v. Liberty Power Corp., LLC, No. 18-10043 (D. Mass. Feb. 13, 2018),

ECF No. 11, ¶14.).

       64.     In support of the third party complaint, Liberty Corp. submitted a declaration

which stated, in relevant part: “Liberty Power did not make any of the telephone calls that are the

subject of [McDermet’s] Complaint. All such calls were made by Mezzi . . . ” (Declaration of

Gary Donaldson, McDermet v. Liberty Power Corp., LLC, No. 18-10043 (D. Mass. June 5,

2018), ECF No. 25-1, ¶8 (emphasis added).)

       65.     Plaintiff Katz and Mr. McDermet are not the only consumers who complain about

unwanted telemarketing calls by or on behalf of Liberty Power from the spoofed (508) 202-1270

number. On or about May 11, 2018, Plaintiff’s received a response to Freedom of Information

Act request from the Federal Trade Commission regarding Liberty Power’s telemarketing. A true

and correct copy of the response, together with pdf containing portions of the data provided

together with the FTC’s response, which has been edited and altered for reproduction and

convenient viewing in a pdf file, is attached to as Exhibit 1 to this Complaint. Other consumers



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complained to the Federal Trade Commission about calls by or on behalf of Liberty Power

originating from the same number. (See Ex. 1, Rows 108, 188, 198, 202, 213, and 230 (reflecting

complaints to the FTC about calls regarding Liberty Power from (508) 202-1270 between July

20, 2016 and July 5, 2017).)

       66.         These calls damaged and harmed Plaintiff. Plaintiff found these repeated

unsolicited calls to be intrusive and harassing, as they diverted attention away from his daily

activities. Plaintiff put his telephone number on the national Do-Not-Call registry specifically to

avoid telemarketing calls.

       67.         On or about January 5, 2018, Liberty Power’s in-house counsel informed Mr.

Katz that Liberty Power had two individual owners, and that every dollar that goes into Liberty

Power goes into their wallets, so that every dollar that comes out of Liberty Power comes out

their wallets, or words to that effect. On information and belief, Katz alleges Hernandez and

Daire are the two individuals referenced by Liberty Power's in-house counsel.

                                Plaintiff Braurman’s Individual Allegations

       68.         On or about September 28, 2003, Mr. Alexander Braurman’s residential telephone

number 908-879-XXXX was placed on the National Do-Not-Call Registry. Despite this, Mr.

Braurman received unsolicited calls by or on behalf of Liberty Power promoting Liberty Power’s

products and/or services on the following dates and times:

                          Call Date and Time            Calling Number 	  
                   1      10/24/2016 12:13 p.m.         (908) 387-4845
            	  
                   2      12/23/2016 1:31 p.m.          (508) 523-6101
            	  
                   3      12/24/2016 12:52 p.m.         (508) 523-6101
          	  
       69.         There may be additional calls made by or on behalf of Liberty Power and Plaintiff

reserves the right to identify such additional calls.

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       70.     All of these calls used an artificial or prerecorded voice to deliver a message,

including calls that started with a message that stated “Press 1 to save on your electricity bill,” or

words to that effect.

       71.     On October 24, 2016, Braurman received a phone call at his residential number,

908-879-XXXX. When Braurman answered the call, he heard a pre-recorded message inviting

him to press “1” to receive a discount on his energy bill. Braurman pressed “1” and was

transferred to a live telemarketer who attempted to sell to him Liberty’s electricity supplier

services. During this call, the caller stated he was calling from Liberty Power, solicited Mr.

Braurman to enroll in Liberty Power’s electricity program, and provided Liberty Power’s

telephone number (866-769-3799). Plaintiff Braurman stated that he was not interested and

asked, “Put my name and number on your Do-Not-Call list and never call again.”

       72.     On December 23, 2016, Braurman received another pre-recorded call stating that

he was eligible to receive a discount on his energy bill. Following the voice prompt, Braurman

pressed “1” and got transferred to a live telemarketer, who identified himself as calling from

Liberty Power and attempted to sell Braurman Liberty Power’s electricity supplier services.

Once again, Braurman said, “I’m not interested, just take my name and my phone number off

your calling list and don’t call again” (or words to that effect) and hung up.

       73.     Despite Braurman’s clear instructions to cease calling, Liberty called Braurman

the next day, on December 24, 2016. This time, Braurman recognized Liberty’s Caller ID and

didn’t answer the call, which got routed to Braurman’s voice mail system. Liberty left a

prerecorded message “…Phone now to talk to an account representative to receive your discount

off your energy bill…”




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        74.      In each of the December calls, Liberty used the Caller ID Number (508) 523-

6101 with corresponding Caller ID Name “Cell Phone MA”. When Braurman tried to call back

at that number to demand for Liberty to cease calling him, he heard the message that the number

he dialed was “disconnected or out of service”.

        75.      Plaintiff Braurman is not the only consumer who complains about unwanted

telemarketing calls by or on behalf of Liberty Power from the spoofed (508) 523-6101 number.

Other consumers complained to the Federal Trade Commission about calls by or on behalf of

Liberty Power originating from the same number. (See e.g., Ex. 1, Rows 120, 166, 169, 172, 175,

and 179, from November 7, 2016 to May 17, 2017.)

        76.      Another consumer has complained, that during the same period, in or around

November 2016, they, too, received repeated unsolicited calls offering a discount on electricity

rates from this same caller ID number (508) 523-6101 and another number 508-202-1270 – the

same number used by Liberty and its agents to call Plaintiff Katz and Mr. McDermet. (See

https://800notes.com/Phone.aspx/1-508-523-6101 (last visited July 14, 2018)).

        77.      Plaintiff never gave Liberty Power or its agents legally effective consent to make

telemarketing calls to him.

        78.      None of Liberty Power’s calls to Plaintiff were for emergency purposes or were

exempted by the FCC’s rules or orders.

        79.      These calls damaged and harmed Plaintiff. Plaintiff found these repeated

unsolicited calls to be intrusive and harassing, as they diverted attention away from his daily

activities. Plaintiff put his telephone number on the national Do-Not-Call registry specifically to

avoid telemarketing calls.	  




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                           Plaintiff Lynne Rhode’s Individual Allegations

       80.    On or about February 4, 2008, Plaintiff Lynne Rhodes’ residential telephone

number 508-540-XXXX was placed on the National Do-Not-Call Registry.

       81.    During the calls alleged in this Complaint, Plaintiff Rhodes lived with her father,

Scoba Rhodes, a senior citizen who was suffering from dementia. In mid-November 2017, Scoba

Rhodes had a stroke; he passed away on June 23, 2018 at the age of 79.

       82.    Beginning in November 2017, Plaintiff Rhodes began receiving numerous

unsolicited calls several times a week by or on behalf of Liberty Power promoting Liberty

Power’s products and/or services.

       83.     During these calls, she told Liberty Power to stop calling and to add the phone

number to the company Do-Not-Call list.

       84.    During at least one call in November 2017, she told the caller that she would not

do business with telemarketers over the phone.

       85.    Notwithstanding the clear direction that the calls stop and that the Rhodes family

was not interested in the services offered by Liberty Power, on or about December 6, 2017, the

Rhodes residence received yet another unsolicited call by or on behalf of Liberty Power

promoting Liberty Power’s products and/or services. Scoba Rhodes answered this call. He

provided information that was requested by the caller and was signed up for Liberty Power’s

services over the phone.

       86.    Several days later, on or about December 15, 2017, upon discovering that the

household’s electricity service was switched to Liberty Power without permission, Plaintiff

Lynne Rhodes cancelled the enrollment with Liberty Power and again demanded that Liberty

Power add the 508-540-XXXX to its Internal Do Not Call List.



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         87.      On or about January 15, 2018, Liberty Power called yet again trying to get

Plaintiff Rhodes to enroll in the electricity services. When she demanded that Liberty Power stop

calling her, she was told that Liberty Power would continue to call until and unless she switched

the services over to Liberty Power.

         88.      On or about January 25, 2018, Plaintiff Lynne Rhodes received another

unsolicited telemarketing call from Liberty Power promoting Liberty Power’s services.

         89.      On or about March 17, 2018, Plaintiff Lynne Rhodes received another unsolicited

telemarketing call from Liberty Power promoting Liberty Power’s services.

         90.      There may be additional calls made by or on behalf of Liberty Power and Plaintiff

reserves the right to identify such additional calls.

         91.      Neither Plaintiff Lynne Rhodes nor Scoba Rhodes gave Liberty Power or its

agents legally effective consent to make telemarketing calls to the residential telephone number

508-540-XXXX.

         92.      None of Liberty Power’s calls to Plaintiff were for emergency purposes or were

exempted by the FCC’s rules or orders.

         93.      On or about August 12, 2006, Plaintiff Rhodes’ wireless residential number 617-

962-XXXX was placed on the National Do-Not-Call Registry. 	  

         94.      Despite this, on or about June 21, 2018, Plaintiff Rhodes received an unsolicited

prerecorded message stating that she was eligible to receive a discount on her energy bill, or

words to that effect. 	  

         95.      The call prompted the listener to “Press 1 to save on your electricity bill,” or

words to that effect. When Ms. Rhodes was transferred to a representative, the representative




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identified himself as calling from Liberty Power. The caller ID that appeared on Ms. Rhodes’

cellphone was 339-888-6412.	  

        96.      There may be additional calls made by or on behalf of Liberty Power and Plaintiff

reserves the right to identify such additional calls.

        97.      Plaintiff Rhodes did not give Liberty Power or its agents legally effective consent

to make telemarketing calls to her residential wireless telephone number.

        98.      None of Liberty Power’s calls to Plaintiff Rhodes were for emergency purposes or

were exempted by the FCC’s rules or orders.

        99.      These calls damaged and harmed Plaintiff Rhodes. Plaintiff found these repeated

unsolicited calls to be intrusive and harassing, as they diverted attention away from her daily

activities. Plaintiff put her telephone numbers on the national Do-Not-Call registry specifically to

avoid telemarketing calls.	  

                                   Class Certification Allegations

        100.     Class Definitions: Plaintiffs bring this Complaint against Defendants, pursuant to

Federal Rule of Civil Procedure 23, on behalf of himself and the following Classes:


                 Artificial/Prerecorded Voice Class: All persons in the United
                 States who received one or more telemarketing calls to their
                 residential (wireless or landline) telephone numbers by or on
                 behalf of Liberty Power, that were made using an artificial or
                 prerecorded voice, from March 16, 2014 through the date the Court
                 certifies the class.

                 National Do Not Call Class (“National DNC Class”): All
                 persons in the United States whose residential (wireless or
                 landline) telephone number was registered with the national Do-
                 Not-Call registry for at least thirty days prior to receiving at least
                 two telemarketing calls by or on behalf of Liberty Power to such
                 number within any 12-month period at any time from March 16,
                 2014 through the date the Court certifies the class.



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               Internal Do Not Call Class (“Internal DNC Class”): All persons
               in the United States who received at least two telemarketing calls
               to their residential (wireless or landline) telephone number by or
               on behalf of Liberty Power within any 12-month period at any time
               from March 16, 2014 through the date the Court certifies the class.

       101.    Excluded from the classes are any entity in which Defendants have a controlling

interest or which has a controlling interest in Defendants, and Defendants’ agents, legal

representatives, predecessors, successors, assigns, and employees. Also excluded from the

classes are the judge and staff to whom this case is assigned, and any member of the judge’s

immediate family. Plaintiffs reserve the right to revise the class definitions based on facts learned

during discovery.

       102.    Class Numerosity: The exact number of members of each class is unknown and

is not available to Plaintiffs at this time, but such information is readily ascertainable by

Defendants and their agents’ call records and customer relations management databases. The

classes are so numerous that joinder of all members is impractical. Plaintiffs allege that there are

more than 40 members of each Class.

       103.    Class Commonality: Plaintiffs and class members’ experiences receiving calls

by or on behalf of Liberty Power are common. They received multiple, incessant, uninvited calls

that included a prerecorded message/artificial voice for the purposes of marketing Liberty

Power’s products or services. The calls were made irrespective to whether Plaintiffs and class

members were on the National Do Not Call Registry and their requests that the calls cease.

       104.    In addition, common questions of fact and law exist as to all members of the

classes and predominate over the questions affecting only individual members of the classes.

Identification of the individuals who qualify as a member of the classes will be sufficient to

establish liability to the class member. The predominant common questions include:



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               a.      Whether Defendants and/or their agents used an “artificial or prerecorded
                       voice” when placing calls, as such terms are defined or understood under
                       the TCPA and applicable FCC regulations and orders;

               b.      Whether Defendants are vicariously liable for their agents’ calls;

               c.      Whether Defendants and/or their agents had legally effective consent to
                       place telemarketing calls to Plaintiffs and class members;

               d.      Whether Defendants and/or their agents made telephone calls to members
                       of the National DNC Class whose telephone numbers were registered with
                       the national Do-Not-Call registry;

               e.      Whether Defendants and/or their agents instituted procedures and
                       minimum standards prescribed by 47 C.F.R. § 64.1200(d) for maintaining
                       a list of persons who request not to receive telemarketing calls made by or
                       on behalf of that person or entity;

               f.      Whether Plaintiffs and class members are entitled to damages, including
                       whether Defendants’ violations were performed willfully or knowingly
                       such that Plaintiff and class members are entitled to treble damages;

               g.      Whether Plaintiffs and class members are entitled to injunctive relief for
                       violations of their privacy and attorney’s fees and costs.

       105.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of the

classes. Plaintiffs are not different in any relevant way from any other member of the classes, and

the relief he seeks is common to each class.

       106.    Adequate Representation: Plaintiffs will fairly and adequately represent and

protect the interests of the other members of the classes: Plaintiffs’ interests do not conflict with

the interests of the other class members. Plaintiffs have retained counsel competent and

experienced in complex class actions, including class actions arising under the Telephone

Consumer Protection Act and other consumer protection laws, and they intend to prosecute this

action vigorously.




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       107.    Predominance and Superiority: The classes alleged in this Complaint are

appropriate for certification because class proceedings are superior to all other available methods

for the fair and efficient adjudication of this controversy, since joinder of all members is

impracticable. The damages suffered by each individual member of the classes will likely be

relatively small, especially given the burden and expense of individual prosecution of the

complex litigation necessitated by Defendants’ actions. It would be virtually impossible for class

members to individually obtain effective relief from Defendants’ misconduct. Even if class

members themselves could sustain such individual litigation, it would still not be preferable to a

class action, because individual litigation would increase the delay and expense to all parties due

to the complex legal and factual controversies presented in this Complaint. By contrast, class

actions present far fewer management difficulties and provide the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single Court. Economies of time, effort,

and expense will be fostered and uniformity of decisions will be ensured.

       108.    Generally Applicable Policies: This class action is also appropriate for

certification because Defendants have acted or refused to act on grounds generally applicable to

the classes, thereby making appropriate final injunctive relief or corresponding declaratory relief

with respect to each class a whole. The policies of the Defendants challenged herein apply and

affect members of each class uniformly, and Plaintiffs’ challenge of these policies hinges on

Defendants’ conduct, not on facts or law applicable only to Plaintiffs.

       109.    Injunctive Relief is Appropriate: Based on information and belief, Defendants

continue to engage in the improper practices discussed above. Injunctive relief is necessary and

appropriate to enjoin Defendants’ conduct and to prevent irreparable harm to Plaintiffs and class

members for which they have no adequate remedy at law.



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                                  FIRST CLAIM FOR RELIEF
                   Violation of 47 U.S.C. § 227(b)(1)(B) Against All Defendants
       by Plaintiffs, Individually, and on Behalf of the Artificial/Prerecorded Voice Class

         110.   Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint. Plaintiffs assert this claim on behalf of themselves and

the members of the Artificial/Prerecorded Voice Class.

         111.   The TCPA prohibits certain uses of telecommunication equipment that would

interfere with telephone service subscribers’ privacy and/or property rights with respect to their

telephone. In particular, the TPCA makes it unlawful for any person:

                to initiate any telephone call to any residential telephone line using an
                artificial or prerecorded voice to deliver a message without the prior
                express consent of the called party, unless the call is initiated for
                emergency purposes or is exempted by rule or order by the Commission
                under paragraph (2)(B).

47 U.S.C. § 227(b)(1)(B).

         112.   The TCPA provides telephone service subscribers a private right of action for

injunctive relief and statutory damages for violations of 47 U.S.C. § 227(b) or “regulations

prescribed under” 47 U.S.C. § 227(b) “to enjoin such a violation” and/or to recover actual

damages or “$500 in damages for each such violation,” as well as treble damages where the

“court finds that the defendant willfully or knowingly violated [47 U.S.C. § 227(b).]” 47 U.S.C.

§ 227(b)(3).

         113.   Liberty Power and its agents also utilized artificial and/or prerecorded voice

messages in calls to residential telephones of Plaintiffs and Artificial/Prerecorded Voice Class

members.




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       114.    Liberty Power and its agents do not and did not obtain legally effective prior

express consent to call the Artificial/Prerecorded Voice Class members’ residential telephone

numbers.

       115.    Liberty Power and its agents violated 47 U.S.C. § 227(b)(1)(B) by placing

telephone calls to the residential telephone numbers of Plaintiffs and the other members of the

Artificial/Prerecorded Voice Class using an artificial or prerecorded voice without their prior

express written consent.

       116.    Liberty Power willfully violated 47 U.S.C. § 227(b)(1)(B) because it knew that

Plaintiffs and the other Artificial/Prerecorded Voice Class members had not given prior express

consent to receive calls made using an artificial, and/or prerecorded voice and that Liberty Power

and its agents used these methods to call the residential telephone numbers of Plaintiffs and the

other Artificial/Prerecorded Voice Class members.

       117.    Plaintiffs, individually, and on behalf of the other members of the

Artificial/Prerecorded Voice Class, seek to recover statutory damages (including treble damages

for willful violations), as well as injunctive and equitable relief under 47 U.S.C. § 227(b)(3)

against Liberty Power.

                                SECOND CLAIM FOR RELIEF
                   Violation of 47 U.S.C. § 227 (c)(5) Against All Defendants
              by Plaintiffs, Individually and on Behalf of the National DNC Class

       118.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint. Plaintiffs assert this claim on behalf of themselves and

members of the National DNC Class.

       119.    The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations



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prescribed under this subsection [i.e., 47 C.F.R. § 64.1200(c)(2)] may” bring an action for

injunctive relief and statutory damages of $500 per violation. 47 U.S.C. § 227(c)(5). 47 C.F.R. §

64.1200(c)(2) provides that “[n]o person or entity shall initiate any telephone solicitation” to a

“residential telephone subscriber who has registered his or her telephone number on the national

do-not-call registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government.” 47 C.F.R. § 64.1200(e) extends the privacy protection

in subsection 64.1200(c) to wireless telephone numbers.

       120.    Liberty Power and its agents violated 47 C.F.R. § 64.1200(c) by initiating

telephone solicitations to wireless and wireline residential telephone subscribers such as Plaintiff

and the other National DNC Class members.

       121.    Liberty Power did not have an established business relationship with Plaintiffs

and class members.

       122.    Liberty Power and its agents made more than one unsolicited telephone call to

Plaintiffs and members of the National DNC class within a 12-month period without their legally

effective consent to receive such calls. Plaintiffs and members of the National DNC Class never

provided any form of consent to receive telephone calls from Liberty Power and/or Liberty

Power does not have any evidence of consent to place telemarketing calls to them.

       123.    Plaintiffs and the other members of the National DNC Class have a claim against

Liberty Power because Plaintiffs and the other members of the National DNC Class received

more than one telephone call within a 12-month period made by or on behalf of the Liberty

Power in violation of 47 C.F.R. § 64.1200. As a result of the conduct of Liberty Power and its

agents, Plaintiffs and the class suffered actual damages and have a claim for $500 in statutory




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damages for each such violation of 47 C.F.R. § 64.1200, and injunctive relief. 47 U.S.C. §

227(c)(5).

       124.     Liberty Power willfully violated 47 C.F.R. § 64.1200(c). Liberty Power knew

Plaintiffs and the other National DNC Class members had not given legally effective consent to

receive telemarketing calls, and that many of the calls made by Liberty Power and its agents

were received by individuals on the National Do Not Call registry.

       125.     Plaintiffs, individually, and on behalf of the other members of the National DNC

Class, seeks to recover statutory damages (including treble damages for willful violations), as

well as injunctive and equitable relief under 47 U.S.C. § 227(c)(5) against Liberty Power.

                                 THIRD CLAIM FOR RELIEF
             Violations of the TCPA, 47 U.S.C. § 227 (c)(5) Against All Defendants
              by Plaintiffs, Individually, and on Behalf of the Internal DNC Class

       126.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint. Plaintiffs assert these claims on behalf of themselves and

members of the Internal DNC Class.

       127.     47 C.F.R. § 64.1200(d) provides that “[n]o person or entity shall initiate any call

for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:


       (1) Written policy. Persons or entities making calls for telemarketing purposes must have
       a written policy, available upon demand, for maintaining a do-not-call list.

       (2) Training of personnel engaged in telemarketing. Personnel engaged in any aspect of
       telemarketing must be informed and trained in the existence and use of the do-not-call
       list.



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       (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
       telemarketing purposes (or on whose behalf such a call is made) receives a request from a
       residential telephone subscriber not to receive calls from that person or entity, the person
       or entity must record the request and place the subscriber's name, if provided, and
       telephone number on the do-not-call list at the time the request is made. Persons or
       entities making calls for telemarketing purposes (or on whose behalf such calls are made)
       must honor a residential subscriber's do-not-call request within a reasonable time from
       the date such request is made. This period may not exceed thirty days from the date of
       such request. . . .

       (4) Identification of sellers and telemarketers. A person or entity making a call for
       telemarketing purposes must provide the called party with the name of the individual
       caller, the name of the person or entity on whose behalf the call is being made, and a
       telephone number or address at which the person or entity may be contacted. The
       telephone number provided may not be a 900 number or any other number for which
       charges exceed local or long distance transmission charges.

       (5) Affiliated persons or entities. In the absence of a specific request by the subscriber to
       the contrary, a residential subscriber's do-not-call request shall apply to the particular
       business entity making the call (or on whose behalf a call is made), and will not apply to
       affiliated entities unless the consumer reasonably would expect them to be included given
       the identification of the caller and the product being advertised.”

       128.    The TCPA creates a private right of action for injunctive and monetary relief for

any “person who has received more than one telephone call within any 12–month period by or on

behalf of the same entity in violation of [e.g., 47 C.F.R. § 64.1200(d).]” 47 U.S.C. § 227(c)(5).

See also 47 C.F.R. § 64.1200(d)(3) (liability for company specific DNC list violations).

       129.    Liberty Power and its agents made more than one unsolicited telephone call to

Plaintiffs and members of the Internal DNC class within a 12-month period in violation of 47

C.F.R. § 64.1200(d).

       130.    Liberty Power did not institute minimum procedures required under 47 C.F.R. §

64.1200(d); Liberty Power consistently fail to honor the requests of Plaintiffs and other

individuals to stop calling, and specifically to place their name and telephone number on Liberty

Power’s internal do not call list and to otherwise maintain an adequate do not call policy required

under 47 C.F.R. § 64.1200(d).

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       131.    Liberty Power and its agents violated 47 C.F.R. § 64.1200(d) by initiating calls

for telemarketing purposes to wireless and wireline residential telephones of Plaintiffs and

members of the class without instituting minimum procedures required under 47 C.F.R. §

64.1200(d).

       132.    Liberty Power willfully violated 47 C.F.R. § 64.1200(d). Liberty Power knew that

it and its agents failed to institute minimum procedures for maintaining a list of persons who

request not to receive telemarketing calls made by or on behalf of Liberty Power and that they

repeatedly ignored and/or refused to honor Plaintiffs and class members’ requests to be placed on

a company DNC list.

       133.    Plaintiffs, individually, and on behalf of the other members of the Internal DNC

Class, seeks to recover statutory damages (including treble damages for willful violations), as

well as injunctive and equitable relief under 47 U.S.C. § 227(c)(5) against Liberty Power.

                              FOURTH CLAIM FOR RELIEF
              Constructive Fraudulent Transfers under Fla. Stat. § 726.105(1)(a)
                             Against All Defendants by Plaintiffs
                         Individually and on Behalf of the All Classes

       134.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint. Plaintiffs assert these claims on behalf of themselves and

members of each Class alleged in this complaint.

       135.    Citing the facts alleged in paragraph 67, Plaintiffs allege that Liberty Power

regularly and continuously transfers its assets (including its profits) to its owners or others

(“Transfers”). On information and belief, Liberty Power’s assets exist and are maintained in

Florida, and the Transfers primarily occur within Florida. These Transfers qualify as fraudulent

transfers under Florida’s Uniform Fraudulent Transfer Act (“UFTA”) (as well as the




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corresponding UFTA of any other state which might conceivably apply), and Plaintiffs seek to

recoup and recover the assets involved in the Transfers.

       136.    These Transfers may take the form of dividends, loans, release of loans, wages,

payment of expenses, or any other compensation to the owners, assignment of liens, debts, or

accounts receivables held by Liberty Power, or Liberty Power’s acceptance of any sort of lien or

other encumbrance to its owners’ benefit, or any and every other form of payment. The Transfers

also include indirect payments to the benefit of Liberty Power’s owners—for example, payments

to spendthrift trusts, gifts (or other payments without reasonably equivalent value) to their

children or relatives, or to nominally exempt assets in owners’ names or for their benefits. All

these Transfers fit within the Florida UFTA’s broad definition of “transfer.” See Fla. Stat. §

726.102(14) (“every mode, direct or indirect, absolute or conditional, voluntary or involuntary,

of disposing of or parting with an asset or an interest in an asset, and includes payment of money,

release, lease, and creation of a lien or other encumbrance”).

       137.    Under the Florida UFTA’s definitions, Liberty Power’s liability on the TCPA

claims of Plaintiff and the other class members alleged above constitutes a “debt,” Plaintiffs and

the other class members are “creditors” of Liberty Power, and Liberty Power is a “debtor” in

relation to Plaintiffs and the other class members. See Fla. Stat. § 726.102(5), (6), (7).

       138.    In 2014, Liberty Power reported it had nearly 200,000 customers—it is reasonable

to infer Liberty Power’s telemarketing activity is very significant from this large customer base.

It is further reasonable to infer from Plaintiffs’ experience with Liberty Power’s telemarketing

that Liberty Power’s corresponding TCPA liability is equally significant. The potential liability

for large-scale TCPA litigation is frequently massive. Cf. United States v. Dish Network LLC,

256 F. Supp. 3d 810, 982 (C.D. Ill. 2017) (awarding $280 million in TCPA case after significant



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reductions from face value of statutory penalties). Plaintiffs allege, on information and belief,

that Liberty Power and its agents routinely violate the TCPA on a massive scale, and their total

liability on the class TCPA claims alleged above significantly exceeds Liberty Power’s assets.

Plaintiff alleges on information and belief that Liberty Power has been insolvent (under the

definition of Florida Statute section 726.103) throughout the entire class period.

       139.    Hence, Transfers of Liberty Power’s assets alleged above inevitably reduce the

total amount of assets available to satisfy a judgment in favor of Plaintiffs and the other class

members. The Transfers have injured and threaten to injure Plaintiffs and the other class

members by impairing or prejudicing (or threatening to do so) their ability to collect a class

judgment and/or settlement which covers the total value of the TCPA claims asserted against the

Defendants in this Complaint.

       140.    On information and belief, Plaintiffs allege Liberty Power’s owners expressly

organized and operate Corp and Holding to convey the impression and pretense they are

“bankruptcy remote,” so that once Liberty Power Transfers its assets to its owners, those assets

are no longer available to satisfy Liberty Power’s liability. Indeed, during the class period,

Liberty Power has faced several significant and material class action lawsuits and regulatory

investigations or actions which have threatened its financial viability. Plaintiffs further allege, on

information and belief, that Liberty Power’s owners know that Liberty Power regularly and

routinely violates the TCPA in the course of operating its business, so that Liberty Power’s

TCPA liability dwarfs its profits. Nonetheless, consistent with the allegations in paragraph 67,

Liberty Power routinely and regularly Transfers every dollar in profit to its owners—the owners

deliberately keep Liberty Power very thinly capitalized. On information and belief, this

inadequate capitalization has created financial problems for Liberty Power, including problems



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attracting and retaining employees. Liberty Power has not received reasonably equivalent value

for the Transfers: as a matter of law, Liberty Power does not receive value for payment of profits

(or any other return on equity) to its owners. Finally, Liberty Power has been insolvent (or, at

least, its assets are unreasonably small in relation to its TCPA liability) throughout the class

period. In short, the circumstances indicate that Liberty Power and its owners intended the

Transfers “to hinder, delay, or defraud any creditor” of Liberty Power. See Fla. Stat. §

726.105(1)(a). The Transfers are fraudulent under the Florida UFTA’s actual fraud prong.

       141.    Plaintiffs, individually, and on behalf of the other members of the classes, seek

injunctive and equitable relief including enjoining fraudulent Transfers, and avoidance and

restitution of all Transfers found to be fraudulent, attachment of assets, appointment of a

receiver, and imposition of a constructive trust under Florida Statute 726.108.

                             FIFTH CLAIM FOR RELIEF
        Constructive Fraudulent Transfers under Fla. Stat. §§ 726.105(1)(b), 726.106
                           Against All Defendants by Plaintiffs
                       Individually and on Behalf of the All Classes

       142.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint. Plaintiffs assert these claims on behalf of themselves and

members of each class alleged in this complaint.

       143.    Consistent with paragraphs in the Fourth Claim above, Plaintiffs allege that

Liberty Power has made Transfers to its owners throughout the class period. Liberty Power has

not received reasonably equivalent value for the Transfers: as a matter of law, Liberty Power

does not receive value for payment of profits (or any other return on equity) to its owners. The

Transfers did not preserve or increase the net worth of Liberty Power, and were not for fair

market value of the assets transferred. Finally, Liberty Power has been insolvent (or, at least, its

assets are unreasonably small in relation to its TCPA liability) throughout the class period. The

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Transfers are fraudulent under the Florida UFTA’s constructive fraud prong. See Fla. Stat. §§

726.105(1)(b), 726.106.

       144.    Plaintiffs, individually, and on behalf of the other members of the classes, seek

injunctive and equitable relief including enjoining fraudulent Transfers, and avoidance and

restitution of all Transfers found to be fraudulent, attachment of assets, appointment of a

receiver, and imposition of a constructive trust under Florida Statute 726.108.

                                        Prayer for Relief

       WHEREFORE, Plaintiffs pray that the Court enter judgment and orders in their favor and

against Defendants as follows:

       a.      An order certifying the classes, directing that this case proceed as a class action,
               and appointing Plaintiffs and their counsel to represent the classes;
       b.      Judgment against Defendants, and in favor of Plaintiffs and the other class
               members in the amount of $1,500 per violation of the TCPA as proven at trial;
       c.      Equitable and injunctive relief, including injunctions enjoining further violations
               of the TCPA;
       d.      Injunctive and equitable relief including enjoining fraudulent transfers, and
               avoidance and restitution of fraudulent transfers, attachment of assets,
               appointment of a receiver, and imposition of a constructive trust under Florida
               Statute 726.108;
       e.      And such other and further relief as this Court may deem appropriate.

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                                    JURY TRIAL DEMAND

       Plaintiffs hereby demand a trial by jury of all issues so triable.


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                               CERTIFICATE OF SERVICE

I, Grace E. Parasmo, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

Dated: July 16, 2018         By:                 /s/ Grace E. Parasmo
                                                     Grace E. Parasmo




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                                                                                         Complaint Date   Consumer Address, Consumer         Consumer Age Company Name            Company      Company Complaint Info Comments
                                                                                    1                     City              Address, State   range                                Phone,       Phone,
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                                                                                                                            Code                                                  Area Code    Number
                                                                                         o                Ottawa            IL               60 - 64        LIBERTY POWER         312          4488590      I was contacted TWICE by LIBERTY POWER1). 09/06/2013 @ 5:06 PM2). 09/10/2013 @ 11:13 AMI called back and got a
                                                                                                                                                                                                            &quot;receptionist&quot; (girl claimed this role) and she said they were calling from a CALL CENTER IN CALIFORNIA and that they
                                                                                                                                                                                                            SERVICE CALIFORNIA, ILLINOIS, DELAWARE, ETC.CA SEC'Y of STATE shows this company SUSPENDED IN CALIFORNIA?The
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                                                                                    2                                                                                                                       address of a subjective person who may have been solicited to make this approx 175th call this year to me is at 3023 N. Clark Street;
                                                                                                                                                                                                            Chicago, IL. He is associated with N. American Aviation, same company as one of my believed solicitors, ATTORNEY, STEVEN M.
                                                                                                                                                                                                            ROGERS who also has another association in this building to ATTORNEY STEVEN M. ROGERS; e.g., SINGLE SOURCE....This guy
                                                                                                                                                                                                            needs to leave me alone; quit stalking me. He's been doing it for 17 years Other-Other Update
                                                                                    3    09/18/2013       Aledo             IL               70 - 79        Liberty Power         309          3627035      Consumer is calling to file a complaint against Liberty Power. Calling to get her to change her power company.
                                                                                         01/10/2014       Chicago           IL               50 - 59        Liberty Power         954          4897148      Consumer states that he is receiving unwanted calls from Liberty Power, offering him utility services. Consumer has informed the
                                                                                    4
                                                                                                                                                                                                            company that he is not interested and has asked them to stop calling but, the calls have continued.
                                                                                         01/22/2014       New Baden         IL               70 - 79        Liberty Power         618          2410498      Consumer states that someone called her from Liberty Power to offer a service and asked her for her existing account number from
                                                                                                                                                                                                            Ameran. Consumer states that they continue to call her after she asked them to stop. UPDATE 01.15.2014 Consumer reports that she is
                                                      Page 40 Page




                                                                                    5                                                                                                                       still receiving calls from the same company. Consumer reports that they have been told to discontinue calling but continue calling.
                                                                                                                                                                                                            Consumer reports that they believe it to be a scam. ANELSON UPDATE: 1/22/14 Consumer called back to report that the calls from
                                                                                                                                                                                                            Liberty Power continue. NLazar.
                                                                                         01/23/2014       Bethesda          MD               70 - 79        Liberty Power         866          7693799      On September 19, a representative from Liberty Power Corporation (hereafter, LPC) named Alex called The World Market and spoke with
                                                                                                                                                            Corporation                                     the owner, Mr. (b)(6) with the aim of encouraging (b)(6) to become an LPC customer. (b)(6) explained that he already had a contract with
                                                                                                                                                                                                            a power company, Direct Energy, and that this contract was active through June 2014. (b)(6) told Alex that he would like a quote from
                                               Filed 07/16/18




                                                                                                                                                                                                            Alex so he can compare LPC’s rate to the current rate offered by Direct Energy. Alex assured (b)(6) that he would give him a quote and
                                                                                                                                                                                                            (b)(6) would be able to choose whether or not to accept LPC’s power. Alex proceeded to sign (b)(6) up for service with LPC and assured
                                                                                                                                                                                                            (b)(6) that he could cancel his service without any fees. The account number given to (b)(6) is (b)(6). (b)(6), who is 75 years old and for
                                                                                                                                                                                                            whom English is his second language, proceeded speaking with Alex, believing that he was simply receiving a quote and he did not
                                                                                                                                                                                                            understand that he was verbally agreeing to sign up for LPC’s services and that this was a legally binding contract. Alex told (b)(6) that
                                                                                                                                                                                                            he would send him paperwork related to their discussion. On September 21, 2 days after the phone conversation with Alex, (b)(6) called
                                                                                                                                                                                                            Alex at the phone number he was given (1-877-436-7162, ext. 3859) and told him that he did not receive any paperwork and that he
                                            08/30/18




                                                                                                                                                                                                            decided not to switch his service from Direct Energy to LPC because Direct Energy’s rate was better. Based on his conversation with
                                                                                                                                                                                                            Alex, (b)(6) believed he had no obligation to LPC. (b)(6) received a bill from Pepco dated December 3, 2013. The bill noted that Liberty
                                                                                    6                                                                                                                       Power was the power supplier for The World Market. On December 6, 2013, (b)(6) called LPC and explained to them that he believed he
                                                                                                                                                                                                            was a Direct Energy customer and that he had not intended to switch to LPC and that he called and told the LPC representative that he
                                                                                                                                                                                                            did not want LPC’s service. (b)(6) then called Direct Energy and explained the situation to them and told them he never intended to
                                                                                                                                                                                                            switch to LPC and wanted Direct Energy’s services. On December 19, 2013, (b)(6) received a letter from Direct Energy stating that they
                                                                                                                                                                                                            were now the energy supplier for The World Market. On December 31, 2013, (b)(6) received a letter from LPC stating that he was
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                                                                                                                                                                                                            responsible for an $1881.00 termination fee. On January 7, 2014, (b)(6)’s daughter placed a number of calls to LPC attempting to
                                                                                                                                                                                                            understand the situation. She spoke with 3 separate people and explained to them that (b)(6) did not understand and was very confused
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                                                                                                                                                                                                            when he spoke with their representative Alex. She requested that they waive the termination fee since (b)(6) is an elderly man, he never
                                                                                                                                                                                                            received a paper contract from LPC and English is (b)(6)’s second language. Her request was refused. In addition to the $1881.00
                              Document




                                                                                                                                                                                                            termination fee, (b)(6) has been billed a total of $1155.48, which he has paid. We are asking for the termination fee to be waived and a
                                                                                                                                                                                                            refund in the amount of $1155.48 because (b)(6) was not aware that he was signing up for services with LPC. He told the representative
                                                                                                                                                                                                            from LPC multiple times that he was only interested in a quote, he did not want LPC’s services and he was under a contract with Direct
                                                                                                                                                                                                            Energy until June 2014. (b)(6) never received any paperwork from LPC outlining the terms of his contract.
                                                                                         01/24/2014       Lincoln|          IL|              80 and Over|   Liberty Power         866          7693799      The consumer's daughter states that this company Liberty Power out of Florida called her mother and signed her up for changing power.
                                                                                    7
                                                                                                                                                                                                            She did not understand. Her mother is on the do not call list.
                                                                                    8    b(3);21(f)       b(3);21(f)        b(3);21(f)       b(3);21(f)     b(3);21(f)            b(3);21(f)   b(3);21(f)   b(3);21(f)
                         Document




                                                                                         04/03/2014       Sewell            NJ               60 - 64        Liberty Power         769          7693799      Signed 1 year contract with Liberty. At end of 1st year Liberty sent new 1 year contract which I signed and returned. Was notified by
                                                                                                                                                                                                            Liberty soon after that the new contract I signed had wrong rate as the wrong code for my business was used. I had no problem with that
                                                                                                                                                                                                            and awaited corrected contract which did not come for several months. During the time between end of first contract and getting the new
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                                                                                                                                                                                                            corrected contract Liberty billed me the rate for a non contracted customer. I, however, continued to pay the rate I had under the first
                                                                                                                                                                                                            contract until I received the new corrected contract. Once I received the new corrected contract I adjusted the payments I made for the
                                                                                    9
                                                                                                                                                                                                            time between the old contract and the new corrected contract. The adjusted was based on the new corrected rate. Liberty, however,
                                                                                                                                                                                                            insisted that I pay the non contracted rate I was billed during this period. I refused stating that it was their mistake that caused the lapse
                                                                                                                                                                                                            between the old and new contract. I paid them the new rate which should have applied immediately after the old contract expired.
                                                                                                                                                                                                            Eventually they terminated my account for failure to pay the difference and then billed me another $174 for early termination. Other-Other
                                                                                                                                                                                                            Update
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                                                                                         04/16/2014       Mercer            PA               65 - 69        Liberty Power         866          7693799      We are the American Legion, we got a call from Liberty Power and told we would save money by going with them. We were lied to and it
                                                                                    10                                                                      Holdings LLC                                    is costing a lot more than they said. We tried to cancelle and they want a big fee, according to their contract that we never got. They
                                                                                                                                                                                                            charged us about $1,364.22 to much over the last 3 months. Other-Other Update
                                                                                         04/16/2014                                          40 - 49        Liberty Power         877          2899925      They called me repeatedly trying to sell me Liberty Power as a electricity distribution company. They should not be calling me, as my
                                                                                    11
                                                                                                                                                                                                            phone is on the &quot;do not call List&quot;. Other-Other Update
                                                                                         04/16/2014       Roulette          PA               60 - 64        Liberty power. 877-                             we have been receiving 1-3 calls per day from (877-289-9925) they ask to speak to the head of the household telling us he is from Liberty
                                                                                                                                                            289-9925                                        Power and can offer us better electric rates. he has been told numerous times that we are not interested and not to call again. this
                                                                                    12
                                                                                                                                                                                                            request is totally disregarded by the caller. the caller sounds to be foreign possibly Indian. this can be considered harassment! Other-
                                                                                                                                                                                                            Other Update
                                                                                         07/15/2014       Franklin          OH               65 - 69        Liberty Power                      86676997     the consumer said that a person saying that she was from Duke Energy and talked to his wife. they had her sign a contract but it was
                                                                                    13
                                                                                                                                                                                                            Liberty Power. Duke Energy resinded the contract.
                                                                                         07/31/2014       Skaneateles       NY               50 - 59        Liberty Power         800          6424272      Consumer states she is getting calls from Liberty Power & she is on the NDNC register. Consumer has asked them to stop calling but
                                                                                    14
                                                                                                                                                                                                            they still call.
                                                                                         12/01/2014       Baltimore         MD               80 and Over    Liberty Power         551          4976849      Consumer received a phone call from someone claiming to be from Liberty Power offering him services for a lower price. Consumer was
                                                                                    15
                                                                                                                                                                                                            being asked for his gas account information and suspects this was a fraudulent phone call.
                                                                                                  A            B           C             D             E                F       G                                                                                H
                                                                                         01/12/2015   Deep River      CT       50 - 59       Liberty Power        860       7267903   This company first called, speaking in English, it was a company wanting to get me to switch my power company. They were cold calling.
                                                                                                                                                                                      I told them that I was not interested, and that my number was on the "Do Not Call" list, and requested that they not call again. They
                                                                      of 23 #: 81




                                                                                                                                                                                      proceeded to continue to call at least 3 times a day. I answered the phone on another occasion, and this time someone was speaking in
                                                                                                                                                                                      Spanish. I told them if they continue to call my number I would file a complaint against them. They apologized, and I did not get a call
                                                                                                                                                                                      from that number for a few days. Now since after Christmas 2014 to currant time, today 1/12/15 they continue to call but now no-one says
                                                                                                                                                                                      anything. I called the number back and they answered in spanish so I could not get the name of the company.I just called them again
                                                                                    16
                                                                                                                                                                                      blocking my number, and was able to get a broken english speaking person and asked the name of their company and they told me its
                                                              of 59 5 PageID




                                                                                                                                                                                      Liberty Power, I told him that I had requested they stop calling my number, and yet they continue to call, and now when they call and I
                                                                                                                                                                                      answer they do not say anything. He told me that it is because they have to many clients to speak at the time. I told him, I am sorry, Your
                                                                                                                                                                                      company Calls My Number and then refuses to speak, it is Not because your to busy to talk, your making the call, its called harrassment.
                                                                                                                                                                                      I again told them Not to call my number. And also told them I was filing this complaint. I was unable to get the persons name at that time
                                                                                                                                                                                      either.
                                                                                    17 01/14/2015     Antonia         CT       50 - 59       Liberty Power        860       7267903   Consumer called to report that she is getting telemarketing calls and the consumer is registered on the NDNC List.
                                                                                    18 01/15/2015     West hartford   CT       60 - 64       Liberty power                            I am on the do not call list and still recieve these calls all the time. Other-Other Update
                                                                                       02/05/2015     Boston          MA       20 - 29       Liberty Power Corp   186       6769379   A representative claiming to be apart of eversource made me sign a contract to fix my rate but at the end i realized that it was a liberty
                                                      Page 41 Page




                                                                                    19                                                                                                power corp to change my electric bill. It was 2 people who pressured me to sign the contract claiming they were representing NSTAR's
                                                                                                                                                                                      takeover. For me to find out later that it was eversource. I was contacted earlier today by a door-to-door rep Other-Other Update
                                                                                         03/05/2015   Joliet          IL       20 - 29       Liberty Power                            Consumer states someone came to her home offering her cheaper services then her existing service provider. Consumer states her
                                                                                                                                                                                      boyfriend signed up with this company but later found out he cannot cancel for at least four years. Consumer was also told it would be a
                                                                                    20
                                                                                                                                                                                      charge to transfer her service to a different location as well. Consumer states the company won't give her any information about her
                                                                                                                                                                                      service because it is not in her name.
                                               Filed 07/16/18




                                                                                         03/12/2015   Jamaica Plain   MA       30 - 39       Liberty Power        123       4567890   Representatives who are likely scammers are arriving at our door periodically to request to see our power bills to get us a lower rate from
                                                                                                                                                                                      NSTAR. Today they claimed to be from Liberty Power. I did not catch their names. We had a similar incident occur 4-6 weeks ago where
                                                                                    21
                                                                                                                                                                                      the rep had entered our building and arrived at our apartment door requesting to see the power bill. I spoke with the reps today at the
                                                                                                                                                                                      apartment building front door and did not offer any info.TOPIC:Referrals
                                                                                         03/28/2015   Brighton        MA       20 - 29       Liberty Power                            Woman came to our door claiming to be from a 3rd party representing the local government to monitor electric utilities now that NStar is
                                                                                                                                                                                      Eversource. Insisted on being given information on our electric bill, and refused to leave when asked. We are now signed up for Liberty
                                                                                    22
                                                                                                                                                                                      Power, which is not allowing us to cancel immediately, even though the contract my husband signed says we can cancel at any
                                            08/30/18




                                                                                                                                                                                      time.TOPIC:Referrals
                                                                                         04/08/2015                                          Liberty Power                            The consumer called to report that he is receiving calls from an individual claiming to be from Liberty Power. The consumer is on the
                                                                                    23
                                                                                                                                                                                      DNCR
                                                                                         05/13/2015   Skokie          IL       70 - 79       Liberty Power        866       7693799   Consumer states that she received a phone call from someone claiming to be with Liberty Power asking if she wanted to switch over to
                                                                                    24
                                                                                                                                                                                      get a lower rate of her electricity bill. Consumer started to ask the caller questions and the caller hung up.
                                                                                         06/17/2015   Palatine        IL       30 - 39       Liberty Power        866       7693799   This company has quite an extensive listing of complaints with the Better Business Bureau, so you may have them on record already. In
                                         34-1




                                                                                                                                             Corporation                              case not, an Indian Female came to my parents apartment at 2100 hours and insisted that she "was" their service provider and was very
                                                                                                                                                                                      persistent on seeing a copy of their current power/electric bill. When my mother was reluctant, claiming she had doubts of her affiliation;
                                  1-5 Filed




                                                                                                                                                                                      this unknown individual became increasingly persistant and claimed that seeing this bill was important and that she had made several
                                                                                                                                                                                      other attempts to contact my parents prior. At this point my mother told her point blank; if she doesn't leave, the police will be notified; at
                                                                                                                                                                                      which point she left. Before, Even, if she didn't make a false claim of being affiliated with our power company; their complex has blatently
                              Document




                                                                                    25
                                                                                                                                                                                      posted signs saying "no solicitors" are allowed on premise. Nothing about this companies tactics seems on the level to me and here are
                                                                                                                                                                                      two additional articles to back-up these claims.... Website #1: http://www.bbb.org/south-east-florida/business-reviews/electric-
                                                                                                                                                                                      companies/liberty-power-in-fort-lau derdale-fl-23005899 Website #2: http://nypost.com/2013/03/14/state-to-crack-down-on-deceptive-
                                                                                                                                                                                      electricity-seller-officials/ There is no compensation necessary, as my parents didn't give them any information/money, but I strongly
                                                                                                                                                                                      believe you should investigate their business practices. Not even looking at my parents situation, but rather their track record with the
                                                                                                                                                                                      Better Business Bureau; it's very apparent to me that this company is not conducting business on the level.
                         Document




                                                                                         08/13/2015   Allston         MA       30 - 39       Liberty Power        186       6769379   Two men somehow got through the front door of my apartment complex and were going door to door, identifying themselves as
                                                                                                                                                                                      representatives from the municipality of Boston helping citizens save money on their electric bills. They claimed a law entitled people to
                                                                                                                                                                                      lock in a lower rate as long as the customer opted into the government sponsored program, aimed at protecting low income households
                                                                                                                                                                                      (like my own). After asking them questions for over an hour (where they lied multiple times that they worked for the government, and not
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                                                                                    26                                                                                                a private entity - Liberty Power) I became exhausted and signed their form. After they left, I went online and read about the Liberty Power
                                                                                                                                                                                      scam of lying and coercision to get people to sign a contract where customers get stuck at a fixed, higher rate for electricity. I asked
                                                                                                                                                                                      multiple times if I was signing a contract and was told explicitly no, another lie on their part. These people really need to be stopped as
                                                                                                                                                                                      they target low income and immigrant households. I have higher level education and english is my native language, and yet I still
                                                                                                                                                                                      succumbed to their scam!TOPIC:Referrals
                                                                                         08/22/2015                                          Liberty Power                            I have received a call EVERY DAY from the same number - 6467796616. The first call was on 8/10/2015, I answered and the caller
                                                                                                                                                                                      identified himself from &quot;Liberty Power.&quot; My response was &quot;I am not interested.&quot; &quot;Do not call me again.&quot;
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                                                                                    27                                                                                                &quot;Take me off you call list.&quot; Since then, I have received a call EVERY SINGLE DAY from the same number, I have not
                                                                                                                                                                                      answered any. I have received a call early in the morning, late at night, on the weekends, in the middle of day. Other-Other Update
                                                                                         10/28/2015   Worcester       MA       20 - 29       Liberty power                            I was approached by two representatives of Liberty Power ( with Identificstion) they asked to see a copy of my electricity bill.they
                                                                                                                                                                                      promised to offer a &quot;price protection&quot; free for 24 months.they took my bill and entered my person details.it was later that i
                                                                                                                                                                                      realized the tarrif per KWH is way high than what i normally pay.I was deceived by the sales person to change my supplier to
                                                                                    28
                                                                                                                                                                                      LibertyPower and sign a contract.I am a student who recently moved to USA and I am not aware of the electrcity billing works in the US
                                                                                                                                                                                      ( supply vs distribution) . I really think some action should be taken against these practices being followed by liberty Power and their sales
                                                                                                                                                                                      representative. Other-Other Update
                                                                                         11/07/2015   Chicago         IL       30 - 39       Liberty power                            was changed electric carriers, I was sent an email of a change and apparently a letter of my switch came to my apartment Because my
                                                                                    29                                                                                                service was disconnected, my lease was cancelled and now im forced to move. I don't have a job and i may have to move into a shelter
                                                                                                                                                                                      because i have no place to go.TOPIC:Referrals
                                                                                                  A                B        C          D                E                  F       G                                                                               H
                                                                                         06/24/2016   Crest Hill       IL       80 and Over   Liberty Power          866       7693799   My name is (b)(6), I'm (b)(6) Neighbor, she is 89 years old and hard of hearing. Liberty Power knocked on her door, she usually doesn't
                                                                                                                                                                                         answer the door, I don't know why she did this time, she must have been out there quite a while and I did n't hear her, because by the
                                                                      of 23 #: 82




                                                                                                                                                                                         time I opened my door she was signing the IPAD. I asked the rep. who he was, he proceeded to tell me, first he was sent by ComEd( our
                                                                                                                                                                                         power supplier) to check our bills to make sure we had the right supplier and he asked for my bill also, I didn't show him mine but I said
                                                                                                                                                                                         ComEd is my supplier, he asked to see my bill. I asked again who are you, he stated I work for ComED. I told him none of this is true, its
                                                                                                                                                                                         a scam, i'm going to check with ComEd. He told me while you do that I will check with your other neighbors. That man ran out the door
                                                                                                                                                                                         faster than you can say I scammed an 89 yo woman.That was on 6/17/16 I can take care of myself, but to scamm an old lady...come on. I
                                                              of 59 6 PageID




                                                                                    30
                                                                                                                                                                                         emailed Liberty that night and they apologized and asked for (b)(6) account number with ComEd so they can make sure nothing was put
                                                                                                                                                                                         thru. That was on 6/20/16.I sent them the information.They emailed me back stating they couldn't find any account for (b)(6). On 6/23/16,
                                                                                                                                                                                         (b)(6) received a letter from ComEd stating they were notified by Liberty that (b)(6) was switching suppliers. This compant couldn't tell the
                                                                                                                                                                                         truth if they tried. I called customer service the night of 6/23, I was told if (b)(6) didn't want it she shouldn't have signed for it. I had to
                                                                                                                                                                                         argue for a good 15 minutes to get them to cancel it, but with a $50 fee. I asked for a supervisor, but was told the supervisor would tell me
                                                                                                                                                                                         the same thing so I didn't need to speak to one. That agent spoke to (b)(6) to confirm she wanted to cancel, the agent had to keep
                                                                                                                                                                                         repeating herself because (b)(6) is hard of hearing. There is no excuse for this
                                                                                         07/29/2016   Milford          MA       20 - 29       Liberty Power          866       7693799   On 7/28/2016 at 7:30pm a Liberty Power sales rep knocked on our door. He asked to see our electric bill and told us we were being
                                                      Page 42 Page




                                                                                                                                                                                         charged $4.00/kwh by National Grid (in reality its about $0.04). He offered us a fixed rate of $0.138/kwh for 24 months. At the time he had
                                                                                                                                                                                         the bill and I did not look at it to make sure he was correct. In the middle of the application his tablet froze and he said he needed to get
                                                                                                                                                                                         his boss to reset it and he would return for my signatures in about 15 minutes. He never returned that night. I called Liberty Power on
                                                                                    31
                                                                                                                                                                                         7/29/2016 at 8:30am to see if the contract wetn through. It had not showed up in their system. The woman was very understanding and
                                                                                                                                                                                         sent a cancellation request right away. In 3-5 business days I can check in with them to make sure the service contract was cancelled. If it
                                                                                                                                                                                         is not then I will consider the fact that it was even submitted criminal, since my signatures would had to have been forged/left off. Other-
                                               Filed 07/16/18




                                                                                                                                                                                         Other Update
                                                                                         09/20/2016   Worcheter        MA       50 - 59       Liberty Power          866       7693799   The consumer stated that she received something in the mail from Liberty Power for a contract for service. The consumer stated that the
                                                                                    32
                                                                                                                                                                                         company mailed the consumer a contract with her a signature twice and did not how the company got her information.
                                                                                         10/24/2016   Silver Spring    MD       20 - 29       Liberty Power Corp.,   866       7693799   For the last 4 years, I have been enrolled with Autopay for my Pepco Bill. Twomonths ago, I saw in my bill and found out that I was signed
                                                                                                                                              LLC                                        up with LibertyPower Corp as my electricity supplier. I never authorized to be signed up withthem and I am not even aware of that
                                                                                                                                                                                         company. I never received anycorrespondence from them regarding a contract or acknowledgement. When Irequested a copy of a so
                                                                                    33
                                                                                                                                                                                         called contract and sign-up confirmation, they cannotprovide any information. All they can say is that a third party sales channel,American
                                                                                                                                                                                         Efficient Inc., was the one who submitted my name to sign up withthem. And since they no longer work with American Efficient, they
                                            08/30/18




                                                                                                                                                                                         cannotprovide the information I am requesting. Please see BBB Complaint (b)(6).
                                                                                         10/27/2016   Spring Valley    IL       80 and Over   Liberty Power Corp     866       7693799   The consumer reports that he is receiving numerous calls from Liberty Power Corp offering him a discount on his utilities bills. The
                                                                                    34
                                                                                                                                                                                         consumer has declined and told them to stop calling but they continue to call. The consumer is not on the DNC Registry.
                                                                                         11/01/2016                    CT       40 - 49       Liberty Power Corp     954       7711463   I have filed several complants against this company, and countless others like them... I put my phone number on the donot call list... That
                                                                                    35                                                        LLC                                        hasn't worked either.. There are calling my cell phone now... This is a Goverment phone... filed it with the No call list too.. still getting
                                                                                                                                                                                         harrassed by them.,..... Can someone tell these morons to stop calling me..... I'm tired of it!
                                         34-1




                                                                                         09/29/2015                    MA       18 - 19       Liberty power                              Guy came to out door and said he could save us money on our electric bill. He said they have lower rates. He had us sign a form for a
                                  1-5 Filed




                                                                                    36                                                                                                   quote. Than he automatically enrolled us. My electric bill went from $200 to $400. They increased my bill without permission. Company
                                                                                                                                                                                         name name is. Liberty power. IsVictim:true --- Initial Means of Contact: Unknown
                                                                                         08/01/2016   HOUSTON          TX       40 - 49       Liberty Power          800       2799048   CFPB Sub product: Other (i.e. phone, health club, etc.) --- CFPB Issue Type: Improper contact or sharing of info | Talked to a third party
                              Document




                                                                                                                                              Company                                    about my debt --- What Happened: i was not aware of any moneys owed, Liberty Power waited for 1 year and 5 months before sending
                                                                                                                                                                                         me any notice of informing me moneys are owed, i not only question the validity of this money, i also question the tactics used, the call
                                                                                                                                                                                         me on July 26 2016, informing me that moneys were owed, i ask for written details, which i was told was on its way to me, i got a mail on
                                                                                                                                                                                         on July 27th 2016. i called Liberty Power on July 27th with intent to resolve this and was told the debt was sent to collection, does this not
                                                                                                                                                                                         violate every single FTC rules, i was not given the opportunity to pay or investigate the validity of this debt, i was sent a letter which is the
                                                                                                                                                                                         first notification i ever got from Liberty that unless they receive payment in 5 days they would send account to collection agency, they did
                                                                                                                                                                                         not give 3 day room for Post Office delivery, the letter was not expedited or sent with any delivery confirmation. now they forwarded it
                         Document




                                                                                                                                                                                         straight to collection before the 5 days was concluded. this violated FTC rules. if payment request is made, i should be given a decent
                                                                                    37                                                                                                   amount of time to review ad understand the validity of the debt and ask any questions to satisfy their claims these were denied to me. and
                                                                                                                                                                                         i called same day i received the letter only to be told it was in collections already.i was asked to call on Monday August 1, 2016 to speak
                                                                                                                                                                                         with a Supervisor so we could clear up any balance if owed.only for supervisor to inform me it has been sent to IC Systems and nothing
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                                                                                                                                                                                         could be done on this account.first of all i never switched my account to Liberty Power, they never had my permission to transfer my
                                                                                                                                                                                         service, i questions them on how did my service get managed by them and also i transferred back to Power company of choice and now
                                                                                                                                                                                         it seems they are attempting to penalize me for this, why should i pay a cancellation fee if they fraudulently moved my account to their
                                                                                                                                                                                         organization, what number was this call from that moved service. was there a recording? anyway i am willing to pay it off just for a
                                                                                                                                                                                         settlement but i protest and would pursue every legal action if reported to my credit report --- Fair Resolution: not reporting to my credit
                                                                                                                                                                                         and giving me the opportunity to understand what this is about and avenue to make payment, if found to be legitimate
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                                                                                         01/16/2017   Burlington       MA       40 - 49       Liberty Power                              Knocked on door on MLK holiday, pretended to be from state, offerred lower fixed electricity rates, took down my address, phone number
                                                                                                                                                                                         and photo of my current bill. Searched online and found them to be a scamming company with very high rates and fees. Browbeating
                                                                                    38
                                                                                                                                                                                         other neighbors into signing up for contracts with early termination fees and other fees. Please issue cease and desist order.
                                                                                         01/21/2017   Wilkes Barre     PA       20 - 29       Liberty Power                              A person knocked on my door claiming he needed to see our power bill and needed our personal information to be able to supply us with
                                                                                                                                                                                         electricity. He claimed he was with Liberty Power and had a jacket with a company logo as well as an ID badge which I could not make
                                                                                                                                                                                         out. I did not get any personal details about him and did not give out any of our details of our household. He claimed he was not working
                                                                                                                                                                                         for PPL but that PP&amp;L would need us to give him our info in order to keep our power on. I told him this was fradulent and he
                                                                                                                                                                                         continued to ensure me he was not going to switch our power over and he simply needed our information to continue our electric service.
                                                                                                                                                                                         He said Liberty Power was based in Florida and was a reputable company but I have since learned otherwise. I told him to come back
                                                                                    39
                                                                                                                                                                                         another day at which point he was aggressive in trying to get us to give him information now. I told him no and eventually he left. I feel he
                                                                                                                                                                                         was fradulent because he tried to say as little as possible and said PPL had sent him which I confirmed with PP&amp;L that they had not.
                                                                                                                                                                                         He made it seem like he was with PPL until I directly asked him if he worked for them, noticing his jacket. He was a average height black
                                                                                                                                                                                         man with no significant details I can recall. His jacket was navy blue and he did have an ID badge in an orange holder with a black string
                                                                                                                                                                                         around his neck. He also had a gold watch on. He talked very quietly and raspy as if to not let other people hear him. Other-Other Update
                                                                                                  A                B        C             D             E                  F       G                                                                                H
                                                                                         01/31/2017   Winthrop         MA       30 - 39       Liberty Power Corp    866        7693799   This company sends door to door representatives advertising cheap electricity rates trying to make you switch power suppliers. The first
                                                                                                                                                                                         time the deal looked good. I called my utility provider and they said if that's what they are offering you should take advantage of it.
                                                                      of 23 #: 83




                                                                                                                                                                                         However, the price they quoted was not the one they put on the contract when I received it a month later. I cancelled the service promptly,
                                                                                                                                                                                         they waived their cancellation fee. A few months latter I find out that one of their reps had signed my name on another contract without
                                                                                    40                                                                                                   my knowledge or consent. Called the company again, they cancelled and assured me that would not happen again. Today they had sent
                                                                                                                                                                                         another agent who talked to my father and tried to make him sign a consent form, although he didn't understand them. My father didn't
                                                                                                                                                                                         sign anything. I am worried that I would find myself again into a contract that I didn't want or consent to. I plan on moving in the next few
                                                              of 59 7 PageID




                                                                                                                                                                                         months, and if they sign on a contract without my knowledge I'm afraid I wouldn't know about it and it will affect my credit. Please help me
                                                                                                                                                                                         with this company. This is very frustrating. Other-Other Update
                                                                                         02/15/2017   Carrollton       IL       30 - 39       Liberty Power                              A door to door sales person led my wife to believe he was with ameren and checking on our rate plan,ade her sign up to lock in a rate for
                                                                                                                                                                                         power usage. Did not mention he was with Liberty Power until after she signed a contract. She intialed her name even though my name is
                                                                                                                                                                                         on the ameren bill. Then the salesman proceeded to ask for my phone which he then used to call and verify with Liberty Power. He
                                                                                    41                                                                                                   pressed all of the buttons and had my phone in his hands. After doing some research we do not want to be in a contract with anyone. We
                                                                                                                                                                                         would like to continue service with Ameren only. When we called this Liberty Power Company they are telling us we are in a contract and
                                                                                                                                                                                         will have to pay to cancel with them. The entire time I feel like we were being pushed into thinking we were locking in a rate with Ameren.
                                                      Page 43 Page




                                                                                                                                                                                         Please contact Liberty Power Corp in Illinois. They are using deceptive practices to reel in customers. Other-Other Update
                                                                                         03/28/2017   New Haven        CT       20 - 29       Liberty Power         646        5938644   Consumer is receiving calls from someone representing Liberty Power but they will not leave a message. When the consumer calls them
                                                                                    42
                                                                                                                                                                                         back, he asks them to stop calling, but they continue. Consumer is on the DNCR.
                                                                                         04/04/2017   Glastonbury      CT                     Liberty Power         877        2899925   The caller ID shows incoming call "From 800 Service" with phone number of 877-289-9925. They have called every day for the past
                                                                                                                                                                                         month and I have repeatedly asked them to stop! I spoke to someone 3 times who assures me my phone number would be removed and
                                                                                    43                                                                                                   the calls would stop. This a rented unit and we don't get to choose our power supplier which I have also notified the company. These
                                               Filed 07/16/18




                                                                                                                                                                                         calls need to be stopped as this is illegal practice by this company. The government needs to make the phone companies more
                                                                                                                                                                                         accountable for preventing fraud and scams to consumers as they are providing a service.
                                                                                         04/04/2017                                           Liberty Power         866        7693799   On the evening of Tuesday, April 4, 2017, a man named William Jones with Liberty Power knocked on my door multiple times and would
                                                                                                                                                                                         not leave until I opened the door. He claimed that the city gave Liberty Power permission to be doing what he was doing. He said that
                                                                                                                                                                                         Liberty Power was going to guarantee my electicity rate for two years and that he needed my current account to do it. I was very reluctant
                                                                                                                                                                                         to provide him this information. I even asked to see the permit. He showed it to me. He sid that Ameren would send me a confirmation
                                                                                                                                                                                         letter in the mail and two gift cards. He told me this after I initialed and signed. I told him multiple times that I was not comfortable with
                                                                                                                                                                                         providing my information and even asked if there was a way I could call Liberty Power and complete the process myself. He would not
                                            08/30/18




                                                                                                                                                                                         leave my apartment until I agreed to initial three boxes and sign. I initialed differently and did not sign my complete name. I did not pay
                                                                                                                                                                                         and he did not ask me to pay. He did say that there would be a $50 cancelation fee. Once he finally left my apartment, I tried to call
                                                                                    44
                                                                                                                                                                                         Ameren, but it was after their customer service hours so I emailed them. I also went outside to look for some sort of official vehicle, but
                                                                                                                                                                                         there was none. It is alarming that they were in my building because it has a locked entrance. I also researched the company online and
                                                                                                                                                                                         read only negative reviews with similar experiences. I felt like I had no out while I was in the situation. I was so flustered and frustrated
                                                                                                                                                                                         that he was not leaving that I did not think to just be rude and shut the door in his face. In general I feel like Liberty Power is taking
                                         34-1




                                                                                                                                                                                         advantage of young adults who need jobs by telling them that they will be doing residents good. I also feel as though Liberty Power is
                                                                                                                                                                                         taking advantage of residents who are trying to be good citizens and give everyone a chance as well as people who are not fluent in the
                                  1-5 Filed




                                                                                                                                                                                         English language. For these reasons, I feel Liberty Power is not operating ethically. I understand that companies need to make a profit,
                                                                                                                                                                                         but this needs to be done in a moral and ethical way. Other-Other Update
                              Document




                                                                                         04/14/2017   Glastonbury      CT                     Liberty Power         877        2899925   We received a phone call on 3:42 pm to our phone (b)(6) from caller id showing 18772899925. Upon answering and repeatedly saying
                                                                                                                                                                                         hello, there was dead air and no one responded. The line was then disconnected on their end. I called the number back and was
                                                                                                                                                                                         redirected to a general voice mail box. I left a message for the third time to request this company remove our phone number from their
                                                                                                                                                                                         calling sequence. This company has repeatedly called our same phone line multiple times a day over the past month and half. In
                                                                                                                                                                                         addition to the 3 voice messages I've left to remove our number, I have also called back and spoken to a person twice to tell them they
                                                                                    45                                                                                                   MUST remove our number. Both times I was assured by the representative that our phone number would be removed. But yet again,
                                                                                                                                                                                         they are still calling. We are a business and we lease our space so we are not in charge of selecting who our power supplier is. The
                         Document




                                                                                                                                                                                         company has been told this hence why they have NO BUSINESS calling us. Furthermore, this company is calling a phone number that
                                                                                                                                                                                         has been taken out of public distribution for 5 years and is used solely for internal purposes so they further have no business calling our
                                                                                                                                                                                         number. PLEASE HOLD LIBERTY POWER ACCOUNTABLE FOR THEIR ILLEGAL SOLICITATION PRACTICES. Any further calls are
                                                                                                                                                                                         deemed harassment and they need to be made to stop making illegal calls.
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                                                                                         04/14/2017   Pekin            IL       80 and Over   Liberty power holdings 866       7693799   This utility supplier keeps switching our Ameren account supply choice to them. We realized when we received a supplier choice
                                                                                                                                                                                         notification from Ameren. We made a phone call to Liberty Power, who indicated we have a contract with them. We do not. When we
                                                                                    46                                                                                                   switch our supplier choice back to Ameren, it must trigger something to Liberty, who proceeds to call and aggressively intimidate us.
                                                                                                                                                                                         When we have asked for a copy of the contract they claim to have, and they refuse to provide and have hung up on us. The utility
                                                                                                                                                                                         account belongs to an elderly person.
                                                                                         04/24/2017   Southington      CT       65 - 69       Liberty Power Holding 866        7693799   The consumer is reporting received a phone call and they told the consumer they could lower his electric bill. The consumer said that they
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                                                                                    47                                                        LLC                                        offer less money for the bill. They charged the consumer more money. The consumer said the company is called Liberty Power Holding
                                                                                                                                                                                         LLC.
                                                                                         08/31/2017   Bronx            NY       20 - 29       Liberty Power         973        4196332   Consumer states he received a call from Liberty Power of Conn Edison and call at least 2 a day. They are making a sales pitch. They are
                                                                                    48
                                                                                                                                                                                         asking for information of the party that holds this account. UPDATE: 8/31/17 Consumer provided ph#'s. rbaconsr.
                                                                                         06/26/2017   Boston           MA       20 - 29       Liberty Power                              Consumer reports multiple unknown utility companies called Liberty Tower have been coming to his door attempting to sign consumer up
                                                                                    49
                                                                                                                                                                                         for an alternative energy sources.
                                                                                         06/28/2017   Acton            MA       30 - 39       Liberty Power         866        7693799   I received a knock on my door at around 8pm on Tuesday, June 27. There was a woman, Katrina Busser, with a Liberty Power company
                                                                                                                                                                                         name badge and an ipad. She said she was from Liberty Power and wanted to make sure I was signed up for clean energy. She asked to
                                                                                                                                                                                         see my electric bill to check that I was using clean energy. She said that I wasn't and then she proceeded to enter my information in her
                                                                                                                                                                                         ipad, all the while talking to me politely and keeping up friendly chit chat. I was not wary of her as she had a name badge and a pamphlet
                                                                                                                                                                                         with a phone number and website information, I had no idea that it was false information. After she entered my information in her ipad she
                                                                                                                                                                                         proceeded to call a customer service number to make sure that I was signed up. She went through a lot of prompts on her phone and
                                                                                                                                                                                         asked me to respond to a few of the prompts. The she asked me to sign three different times to make sure that I was getting the correct
                                                                                                                                                                                         energy supply. I kept asking her if I was going to get a bill from the company. She kept insisting that I was only signing up for clean energy
                                                                                    50
                                                                                                                                                                                         and that all my information and billing would still come from Eversource. She even showed me a website with company information when
                                                                                                                                                                                         I asked. Now I know that it was a false website. She also mentioned that by signing up for clean energy, the way I would be charged for
                                                                                                                                                                                         electric would not change with the fluctuating market. She said I was locked in for 24 months at a fixed rate. She mentioned that if I
                                                                                                                                                                                         moved then contact them and they will make sure I am still receiving clean energy. She also mentioned that by signing up I would get a
                                                                                                                                                                                         choice of a $25 gift card to Target, Amazon, or a Visa gift card. When I gave her my email address she said that I would be receiving an
                                                                                                                                                                                         email with the details of the plan and I should check my inbox when she left. She also said that I was going to get information in the mail
                                                                                                                                                                                         too. She said that nothing was going to change with my Eversource bill except now my energy will be coming from wind rather than a
                                                                                                                                                                                         power plant.
                                                                                         08/15/2017   Glens Falls      NY       80 and Over   Liberty Power                              Consumer is on the DNCR, but is still receiving calls from Liberty Power wanting to get him to switch to their service. He's told them to
                                                                                    51
                                                                                                                                                                                         stop, but they continue to call him. The Caller ID doesn't show their number.
                                                                                                  A          B                C             D             E                  F        G                                                                               H
                                                                                         08/23/2017   CYPRESS            TX       40 - 49       Liberty Power Corp|   |918       |7867071   CFPB Sub product: Other debt --- CFPB Issue Type: Attempts to collect debt not owed | Debt was result of identity theft --- What
                                                                                                                                                Federal Trade                               Happened: it came to my knowledge that an account was opened in my name with Liberty Power Corp, at this time i had and still do have
                                                                      of 23 #: 84




                                                                                    52                                                          Commission                                  an account with Reliant Energy, so i called my Utility Company and informed them i did not give anyone power to transfer my electricity
                                                                                                                                                                                            and this was fix, so i thought until i started getting calls from Collection Agents. --- Fair Resolution: close out account and not report to my
                                                                                                                                                                                            credit as this would be a violation of fair credit reporting act
                                                                                         09/21/2017   Streetsboro        OH       30 - 39       Liberty Power         866        7693799    Consumer states that she wanted to make a report against an individual who came to her stating to be from Liberty Power telling her they
                                                                                    53
                                                              of 59 8 PageID




                                                                                                                                                                                            can give her a quote. Consumer shoed her a bill and the individual took it down. Consumer believes it was a scam.
                                                                                         10/05/2017   Chicago            IL       30 - 39       Liberty Power         866        7693799    Two men from Liberty Power knocked on my apartment door and told me I needed to show them my ComEd bill so that they could verify
                                                                                                                                                                                            my service. Since I live in a secured building, I believe that they were official. I questioned it several times and they said I did not have a
                                                                                                                                                                                            choice, they needed to verify my bill for ComEd. When I gave it to them, I asked them many times to explain what they needed and why,
                                                                                                                                                                                            but I did not understand. They seemed to keep changing what they said they needed from me. They had me sign a tablet, telling me that
                                                                                                                                                                                            nothing about my service or billing would change and that it was protecting my service to ensure the cost per kilowatt did not increase
                                                                                    54
                                                                                                                                                                                            over time. I said I didn't care and didn't want anything to change about my service or billing. They said I needed to do this anyway. They
                                                                                                                                                                                            asked a lot more questions about my contact information and then had me fill out a survey confirming that they did their job. I was so
                                                                                                                                                                                            confused that I contacted my landlord, who then told me they were solictiors, they are not with ComEd and they are not allowed in the
                                                      Page 44 Page




                                                                                                                                                                                            building. Now I am trying to find out what they are doing with my information and if they are changing my service. This was a total scam
                                                                                                                                                                                            that I did not understand until someone sent me an article about it afterward. Other-Other Update
                                                                                         10/12/2017   Garfield Heights   OH       40 - 49       Liberty Power                               a young man came to my door at 7:35 or so. he was acting like he was with the power company i signed up for at my apartment. he
                                                                                                                                                                                            stated he wanted to see if things were correct on my bill. he was wearing a Liberty Power polo and name tag. we have First Energy. i did
                                                                                    55
                                                                                                                                                                                            not show him my bill. he stated when i signed up i was supposed to get a gift card for pizza hut. i told him i did not want the card. Other-
                                                                                                                                                                                            Other Update
                                               Filed 07/16/18




                                                                                         10/13/2017   Waban              MA       80 and Over   Liberty Power         866        7693799    Consumer received a phone call stating to be from Liberty Power offering utility offering a lower rate. Consumer refused what he is
                                                                                    56                                                                                                      currently paying and they started to provide a plan higher than what he is currently paying. Consumer was sent a plan description
                                                                                                                                                                                            enrollment by mail, consumer did not comply.
                                                                                         11/07/2017                      IL                     Liberty Power         510        7672676    Indian accent telling you that your electric rate is locked in. Also offering a $200 Visa gift card. IsVictim:true --- Initial Means of Contact:
                                                                                    57
                                                                                                                                                                                            Unknown
                                                                                         11/17/2017   Natick             MA       65 - 69       Liberty Power         877        3824357    consumer reported that Liberty Power has ben contacted her asking her to change her service to them, they have also posed as her
                                                                                    58
                                                                                                                                                                                            service provider which is Ever Source stating that they will be sending her a gift card.
                                            08/30/18




                                                                                         12/29/2014   BRIDGEPORT         PA                     Liberty Power         866        7693799    Note: Please note that the Consumer Sentinel Network cannot presently categorize this data contributor's Product Service Code. The
                                                                                                                                                                                            comments field may have a description of the good or service offered to the consumer. --- Received letter from Liberty Power with a copy
                                                                                                                                                                                            of my forged signature stating I agreed to switch energy companies. I have never had contact with them. On 12/13/14 I received a letter
                                                                                                                                                                                            from Liberty Power stating I signed a contract to switch over power companies. The letter has my forged signature (which is misspelled)
                                                                                                                                                                                            dated 12/5/14 at 2:18pm. I was at work at this time and date. I am a teacher and have documentation of this. I never had contact with this
                                                                                                                                                                                            company and did not give them permission to switch over my energy/power services/supplier. My name was also misspelled on the
                                                                                                                                                                                            contract several times. On 12/14/14 I contacted local Bridgeport, PA police and on 12/15/14 made a formal police complaint. When I
                                         34-1




                                                                                                                                                                                            attempted to contact the company that same week I was cut off four times. When I selected the option to pay my bill I was directed to a
                                                                                    59
                                  1-5 Filed




                                                                                                                                                                                            representative and when asked to speak to a supervisor I was placed on hold for 30 minutes and was disconnected again. Bridgeport
                                                                                                                                                                                            officer Bailey stated when he attempted to contact the company he was unsuccessful and after further research it seems the company
                                                                                                                                                                                            has many complaints against them. I was then advised to contact BBB and the Attorney General. --- Consumer desired outcome: Cancel
                              Document




                                                                                                                                                                                            my illegitimate/fraudulent contact with zero penalties and free credit monitoring services for one year due to the fact my signature was
                                                                                                                                                                                            forged. I believe the solicitor who may have been going door to door to homes should be held accountable for forging my signature. ---
                                                                                                                                                                                            The action taken by other agencies: made local police report; police attempted to make contact with company and was unsuccessful; was
                                                                                                                                                                                            advised to contact AG and BBB --- Products Purchased: received a contract with my forged signature, did not give company permission
                                                                                                                                                                                            to switch my energy supplier --- Consumer Age Range: 18 - 34
                                                                                         12/20/2017   Greenwich          CT       50 - 59       Liberty Power         866        7693799    consumer reported that he generally deals with an electric company, he recently switched to Liberty Power Holding as his supplier, the
                         Document




                                                                                    60                                                          Holdings LLC                                company had stated they would charge him less then the service provider he had before, consumer has been receiving bills and the rate
                                                                                                                                                                                            is not cheaper.
                                                                                         01/12/2018   Boston             MA       70 - 79       Liberty Power         866        7693799    Consumer states that he rcv'd a call from Liberty Power offering utility services. He later discovered that this may not be legitimate.
                                                                                    61                                                                                                      Liberty Power has no record of a call or the agent he spoke with. UPDATE 01/12/2018: The consumer called to update their complaint.
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                                                                                                                                                                                            GJONES
                                                                                         01/19/2018   Elyria             OH       60 - 64       Liberty Power                               Consumer states someone from the company Liberty Power came to his trying to get him to sign up for service. Consumer states he
                                                                                    62                                                                                                      declined the offer and the individual told him thanks for wasting his time. Consumer feels Liberty Power should not be soliciting their
                                                                                                                                                                                            service.
                                                                                         04/03/2018                      IL       60 - 64       Liberty Power         866        7693799    I am writing on behalf of my son. He lives in a locked apartment building. Yesterday some sales (didn't realize this at the time) person
                                                                                                                                                                                            got in the building and knocked on his apartment door. He could hardly understand the accent. They asked to see his ComEd bill and got
                                                                                                                                                                                            his account number and address from his own bill. A very deceptive sales person, Alexandra Chiseliov told him ComEd is still delivering
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                                                                                                                                                                                            the electricity but they needed his signature on this device they were holding. They even tape recorded him saying he understood what
                                                                                                                                                                                            he was doing. Obviously, he didn't. He then called me. While on the phone, this new company Liberty Power sent him the contract he
                                                                                    63
                                                                                                                                                                                            just signed. He had no idea he was signing with a new company and cancelling his current company, ComEd. Liberty should be
                                                                                                                                                                                            ashamed of themselves, going around soliciting unknowing people. I would like to know how they even got into the LOCKED building.
                                                                                                                                                                                            My son is calling today to try to rescind the contract, if he can get a hold of someone. In the meantime, I have looked up this company
                                                                                                                                                                                            and there are many complaints about Liberty Power and their deceptive practices. If you have any advice on what other steps should be
                                                                                                                                                                                            taken, please let me know. Thank you. Other-Other Update
                                                                                              A           B              C         D               E          F          G                                                                                                 H
                                                                                         Phone In    Consumer      Consumer   Company         Company     Company   Other       Other Information Comments
                                                                                         Registry?   Address,      Address,   Name            Phone, Area Phone,    Information
                                                                      of 23 #: 85




                                                                                    1
                                                                                                     City          State                      Code        Number    Complaint
                                                                                                                                                                    Date
                                                                                         Y                         MA         Liberty Power 978         2160136     04/03/2018   They called us at least 10 times a day, I called them 3 times and asked to remove our number they advised us that they will but 10 minutes later would call us back. --- Subject
                                                                                    2
                                                                                                                              Company                                            matter of the call: Energy, solar, & utilities
                                                              of 59 9 PageID




                                                                                         Y           Palos Hills   IL         Liberty Power 000         0000000     03/28/2018   After repeatedly telling these callers, telling them we are not interested, they keep calling - on March 27 they called ten times! Annoying does not describe the calls - and when
                                                                                                                                                                                 we've tried to reason with them, we barely understand them anyway. When asking for a name, the response was "Mike." Our understanding is that the do not call registry
                                                                                    3
                                                                                                                                                                                 prevents these calls. Why do they keep happening. Ten calls on March 27 is not the only day - it was the worst day. We have received these calls over a period of months.
                                                                                                                                                                                 Please please make them stop!!! --- Subject matter of the call: Energy, solar, & utilities
                                                                                    4    Y           Tiverton      RI         Liberty Power   866       7693799     03/27/2018
                                                                                    5    Y                         NJ         Liberty Power   973       5590796     03/22/2018
                                                                                    6    N                         NY         liberty power   718       3424534     03/19/2018   they use several phone numbers to make their calls --- Subject matter of the call: Energy, solar, & utilities
                                                                                    7    N                         NY         liberty power   718       3424534     03/19/2018   they use several phone numbers to make their calls --- Subject matter of the call: Energy, solar, & utilities
                                                      Page 45 Page




                                                                                         Y           Springfield   MA         Liberty Power   954       7711463     03/16/2018   These people have been called me every day for the last month. I asked him not to call me anymore. I'm elderly and sick. These nuisance calls a very aggravating --- Subject
                                                                                    8
                                                                                                                                                                                 matter of the call: Energy, solar, & utilities
                                                                                    9    Y           Rockford      IL         Liberty Power 954         7711463     03/13/2018   Other Information Comments
                                                                                         N                         IL         Liberty Power 630         3586242     03/12/2018   Company calls at least 4 times a week or even 4 times on the same day. It keeps showing up on my iPhone as a possible "scammer" so I do not pick up , but an automatic
                                                                                    10                                        Holdings LLC                                       voice message keeps leaving me messages from that states they are Liberty Power Holdings LLC company. Tried blocking the company but they keep calling from different
                                                                                                                                                                                 numbers. Please help. --- Subject matter of the call: Energy, solar, & utilities
                                               Filed 07/16/18




                                                                                    11 Y             Crofton       MD         Liberty Power                         03/07/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                    12 Y             Morrison      IL         Liberty Power 954         7711463     03/06/2018   They call daily for about the last month. I answered once and told them to quit calling, but they continue to call. --- Subject matter of the call: Energy, solar, & utilities
                                                                                    13 N             stamford      CT         liberty power 954         7711463     02/27/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                       Y             Budd Lake     NJ         Liberty power                         02/27/2018   I gave them information about my account and they were offering less payments for me. I had just been out of the hospital and not thinking straight. They called me 3 times to
                                                                                                                                                                                 say yes to go through with the transfer and offered me a $200 visa. Someone in the background was yelling say yes and when I hung up, they called 3times while I was at the
                                                                                                                                                                                 doctor’s. My friend even witnessed that. I blocked them for the rest of the day and checked out their history and they are known to get customers to lock in 24 months and
                                                                                    14                                                                                           charge higher prices. That is exactly what happened with me. I would have been locked in for 24 mos. , but PS&G still we’re responsible for services. What company does
                                            08/30/18




                                                                                                                                                                                 that? I unblocked this morning and sure enough, they called and I heard someone in the background saying,”say yes”. I told them I say no to anything from their company
                                                                                                                                                                                 and do not allow them to be my new company. I will call PSE&G to make sure the switch does not happen. Not Approved! --- Subject matter of the call: Switching over to liberty
                                                                                                                                                                                 power and receive $200
                                                                                         Y           Budd Lake     NJ         Liberty power                         02/24/2018   I gave them information about my account and they were offering less payments for me. I had just been out of the hospital and not thinking straight. They called me 3 times to
                                                                                                                                                                                 say yes to go through with the transfer and offered me a $200 visa. Someone in the background was yelling say yes and when I hung up, they called 3times while I was at the
                                                                                                                                                                                 doctor’s. My friend even witnessed that. I blocked them for the rest of the day and checked out their history and they are known to get customers to lock in 24 months and
                                                                                    15                                                                                           charge higher prices. That is exactly what happened with me. I would have been locked in for 24 mos. , but PS&G still we’re responsible for services. What company does
                                         34-1




                                                                                                                                                                                 that? I unblocked this morning and sure enough, they called and I heard someone in the background saying,”say yes”. I told them I say no to anything from their company
                                  1-5 Filed




                                                                                                                                                                                 and do not allow them to be my new company. I will call PSE&G to make sure the switch does not happen. Not Approved! --- Subject matter of the call: Switching over to liberty
                                                                                                                                                                                 power and receive $200
                                                                                         Y           Trenton       IL         Liberty Power 954         7711463     02/16/2018   This energy supplier, Liberty Power, has been calling me constantly as of November/December 2017. I have not NOT confirmed them as my energy supplier. I have a caller ID
                              Document




                                                                                                                                                                                 in my home phone and an answering machine. They have not left one message, at any time, in my answering machine. I have called Ameren Illinois today for information
                                                                                                                                                                                 about this situation. They gave me some tips and to call "Do Not Call List" with a phone number for complaints. I have had several different energy suppliers come up to my
                                                                                    16
                                                                                                                                                                                 door to apply me into their supplier at a cheaper and better energy rate. I have told them I am NOT interested, but they continue to insist. That is why I called Ammeren Illinois
                                                                                                                                                                                 today to put to a stop to this annoying situation. I do not want Liberty Power to call me again starting today. I have NOT confirmed them as my energy supplier all this time. ---
                                                                                                                                                                                 Subject matter of the call: Energy, solar, & utilities
                                                                                         Y           Mechanicsb PA            Liberty Power 954         7711463     02/15/2018   Liberty Power calls EVERY day, sometimes twice. This has been going on for months. Thanks for your help. --- Subject matter of the call: Dropped call or no message
                                                                                    17
                         Document




                                                                                                     urg
                                                                                         Y           watertown  MA            Liberty Power   857       2457945     02/14/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                    18
                                                                                                                              Company
                                                                                         Y           watertown     MA         Liberty Power   857       2457945     02/09/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                    19
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                                                                                                                              Company
                                                                                         Y           watertown     MA         Liberty Power   857       2457945     02/09/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                    20
                                                                                                                              Company
                                                                                         Y                         MA         Liberty Power   954       7711463     01/30/2018   This utility has called my everyday for 6 months. Nomorobo stops the call from coming through, but it hasn't stopped them from calling. I also have it blocked with Xfinity and
                                                                                    21
                                                                                                                                                                                 yet they call everyday! --- Subject matter of the call: Energy, solar, & utilities
                                                                                    22 Y             Jerseyville IL           Liberty Power                         01/25/2018
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                                                                                    23 Y             Rockland    MA           Liberty power   954       7711463     01/23/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                    24 Y                         CT           Liberty Power   954       7711463     01/19/2018   Subject matter of the call: Energy, solar, & utilities
                                                                                       Y             Willowbrook IL           Liberty Power   872       2104369     01/17/2018   Calls 1-3 times a day for last few weeks. Have asked repeatedly to remove this number from their call sheet. --- Subject matter of the call: Energy, solar, & utilities
                                                                                    25
                                                                                                                              Co.
                                                                                    26 Y                           IL         Liberty Power   954       7711463     01/11/2018
                                                                                    27 Y             Pekin         IL         Liberty Power   877       4367161     01/09/2018   We've asked them to stop calling and they've continued to contact us on multiple occasions. --- Subject matter of the call: Energy, solar, & utilities
                                                                                    28 Y             milford       MA         liberty power   866       7698799     01/06/2018   called them and asked them to stop calling yet they continue. --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y             watertown     MA         Liberty Power   857       2457945     12/12/2017   This number calls up multiple times per day, and it seems to be getting to be more frequent. There is never anyone on the line, so I can't simply ask them to stop calling.
                                                                                    29
                                                                                                                              Company                                            Please help!! --- Subject matter of the call: Energy, solar, & utilities
                                                                                         Y           watertown     MA         Liberty Power   857       2457945     12/12/2017   This number calls up multiple times per day, and it seems to be getting to be more frequent. There is never anyone on the line, so I can't simply ask them to stop calling.
                                                                                    30
                                                                                                                              Company                                            Please help!! --- Subject matter of the call: Energy, solar, & utilities
                                                                                         Y           Frankfort     IL         Liberty Power             8667693779 12/09/2017
                                                                                    31
                                                                                                                                                        9
                                                                                         Y           Mount         IL         Liberty Power 773         6256601    12/06/2017    Subject matter of the call: Energy, solar, & utilities
                                                                                    32
                                                                                                     Prospect
                                                                                         Y           Lockport      IL         Liberty Power                         12/04/2017   Robocall, and I Pressed 1 to talk to agent to ask to get my number removed, but didn't get that far in the conversation. He told me that the company is in Ft. Lauderdale, FL,
                                                                                    33                                                                                           and was struggling to figure out how his company got my number, then the connection was broken. I bet his supervisor/trainer cut it off. He's supposed to ask questions, not
                                                                                                                                                                                 answer them. --- Subject matter of the call: Energy, solar, & utilities
                                                                                    34 Y                           CA         Liberty Power 877         4367161     11/28/2017   Telemarketing is persistent and harassing me !! --- Subject matter of the call: Energy, solar, & utilities
                                                                                    35 Y             Everett       PA         Liberty Power 954         7711463     11/28/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                    36 Y             Woodbury      CT         Liberty Power 203         8771310     11/27/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                           A        B             C          D          E        F         G                                                                                         H
                                                                                       Y       NORTHAMP PA            Liberty Power 954     7711463   11/24/2017   LIBERTY POWER HAS BEEN CALLING ME EVERY WEEK, FOR THE PAST 2MONTHS. SOME WEEKS THEY CALL TWO OR THREE TIMES.THEY JUST WON'T TAKE
                                                                                  37
                                                                                               TON                                                                 ME OFF THERE LIST, TO SPOT CALLING. --- Subject matter of the call: Energy, solar, & utilities
                                                                    of 23 #: 86




                                                                                  38 Y         Brockton      MA       Liberty Power   954   7711463   11/22/2017
                                                                                  39 Y                       IL       Liberty Power   510   7672676   11/21/2017
                                                                                  40 Y         Rockland      MA       Liberty power   954   7711463   11/21/2017   They called twice a day for the last week.
                                                                                     Y         Franklin Park IL       Liberty Power   866   7693799   11/13/2017
                                                                                  41
                                                             of 5910PageID




                                                                                       Y       ELMHURST IL            Liberty Power 954     7711463   11/13/2017   THIS UTILITY COMPANY CALLS EVERY DAY. ON AT LEAST TWO OCCASIONS I HAVE ASKED THEM TO CEASE AND DESIST. AT THAT POINT THEY HANG UP
                                                                                  42
                                                                                                                                                                   WITHOUT COMMENT. --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y       Milford       CT       Liberty power 954     7711146   11/10/2017   Liberty power has contacted me about 5 times within the past few months. Each time I have asked them to remove my number and then they say “sure” or just hang up. The
                                                                                  43                                                                               last representative who called on 11/10/17 stated she was sending an email to have my number removed. I asked who she was sending the email to butvshe would not advise.
                                                                                                                                                                   --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y       Whitehall     PA       Liberty Power 866     7693799   11/09/2017   Over the last few years, this company has been verbally harassing my dad (name listed above). He has dementia and they are trying to take advantage of his condition to
                                                                                  44
                                                                                                                                                                   obtain business. --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y       Elk grove    IL        Liberty Power 708     7192041   11/03/2017   Seems like a legitimate business that is ignoring the do not call list. --- Subject matter of the call: Energy, solar, & utilities
                                                     Page 46Page




                                                                                  45
                                                                                               village
                                                                                       Y       So.Attleboro MA        Liberty Power 954     7711463   11/02/2017   This company has been reported on here before & not only have they NOT stopped,They are now calling twice a day.I have asked them to stop.Explained we have no
                                                                                                                      Co                                           business with them.I also stated how they are harassing calls.They were told they would be reported to the Better Business Bureau & a class action suit should be sought after
                                                                                  46                                                                               against them.Most companies stop calling.There is no reason this company needs to call here daily & repeatedly.The number provided in this complaint should be shut down
                                                                                                                                                                   for fraud!I do hope this will stop or else this registry is worthless. The Company name being used in the calls ARE NOT any company I have done business with or will do. ---
                                                                                                                                                                   Subject matter of the call: Energy, solar, & utilities
                                             Filed 07/16/18




                                                                                       Y       NORTHAMP PA            Liberty Power 954     7711463   10/31/2017   They been calling every day now, for 2 weeks. Driving me nuts. I asked them to stop calling, but they won't. I asked to be taking off there list. Guess they won't. Please stop
                                                                                  47
                                                                                               TON                                                                 them from calling. Thank you very much. --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y       Berlin   MA            Liberty Power 954     7711463   10/26/2017   Liberty Power has been asked on several occasions to stop calling my cell phone number. And each time they say they will take me off their telemarketing list. But they are still
                                                                                  48
                                                                                                                                                                   calling me constantly. Please help and stop these annoying calls. Thank you --- Subject matter of the call: Dropped call or no message
                                                                                       Y       Stamford      CT       Liberty Power 954     7711463   10/24/2017   These guys call 5-10 time per day. We had used them last year when we figured out it was a scam. There are multiple scams from these people reported. --- Subject matter of
                                                                                  49
                                                                                                                                                                   the call: Energy, solar, & utilities
                                       34-108/30/18




                                                                                       Y       CHICAGO       IL       Liberty Power   816   8489318   10/24/2017   Subject matter of the call: to save money on com.ed w/Liberty Power Holdings
                                                                                  50
                                                                                                                      Savings
                                                                                  51 Y                       MA       Liberty Power   954   7711463   10/13/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  52 Y         Belleville    IL       Liberty Power   954   7711463   10/10/2017   I have asked this company to stop calling, I am not interested in their product. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         Coatesville   PA       Liberty Power   954   7711463   10/09/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  53
                                                                                                                      Co.
                                                                                  54 Y         Belleville    IL       Liberty Power   954   7711463   10/09/2017   I have asked this company to stop calling several times and I do not wish to use their energy source. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y                       IL       Liberty Power   954   7711463   10/06/2017   This electric power company over charges and I don't want them to call here trying to regain their service here. I have told them not to call here and that this number (b)(6) is
                                 1-5 Filed




                                                                                  55
                                                                                                                      Corporation                                  on the do not call list. Please make them stop calling. Thank you
                                                                                  56 Y                       IL       Liberty Power   877   4367162   10/06/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         Benton        IL       Liberty Power   954   7711463   10/06/2017   I have asked this company to stop calling me and they keep calling. --- Subject matter of the call: Energy, solar, & utilities
                             Document




                                                                                  57
                                                                                                                      Corporation
                                                                                  58 Y         Tiskilwa      IL       Liberty Power   866   7693799   10/06/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         West          IL       Liberty Power   708   6408016   10/05/2017   Asked several times to stop calling very rude reps --- Subject matter of the call: Energy, solar, & utilities
                                                                                  59
                                                                                               Dundee
                                                                                       Y       West          IL       Liberty Power 773     2693294   10/05/2017   I have asked several times for the past year to stop calling me --- Subject matter of the call: Loan
                                                                                  60
                        Document




                                                                                               Dundee
                                                                                  61 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have told this company that I do not want their product and to stop calling. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  62 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have asked this company to stop calling several times. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  63 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have informed this company that I do not want their product and to stop calling. --- Subject matter of the call: Energy, solar, & utilities
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                                                                                     N         Delmar        NY       Liberty Power   315   2932714   10/04/2017   I have been asking them to take me off the list and stop calling me for almost a year. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  64
                                                                                                                      Co
                                                                                  65 Y         Rochester   NY         Liberty Power   646   8449759   09/27/2017   They call non stop. I've never done business with them. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         Des Plaines IL         Liberty Power   954   4349390   09/26/2017   In the past week I have asked three different people to take my name and number off the call list for this company. No one seems to get the message. Instead of the 3 to 5
                                                                                  66
                                                                                                                                                                   calls a day I am getting one when I want NONE.I don't know what else to do to stop these annoying calls. Please help. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  67 Y         BROOKLYN NY            Liberty Power 954     7711463   09/26/2017   Subject matter of the call: Energy, solar, & utilities
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                                                                                  68 Y         Rochester NY           Liberty Power 646     8449759   09/26/2017   They call non stop. I've never done business with them. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         Worcester MA           Liberty Power 954     7711463   09/25/2017   I called them 9/21/17 at 7:03PM and requested they stop calling me. The person who took my call said that he entered my number as "do not contact" in their computer. But, I
                                                                                  69                                                                               received a phone call again today. The person calling said there was no such information. Moreover, the company called me from the same number: 9/21 (6:09pm), 9/19
                                                                                                                                                                   (6:46pm), 9/15 (5:35pm), 9/15 (4:47pm) --- Subject matter of the call: Energy, solar, & utilities
                                                                                  70 Y                       IL       Liberty Power 877     4367162   09/25/2017   This company calls multiple times a year and we've asked them to stop before. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  71 Y                       CT       Liberty Power 954     7711463   09/24/2017
                                                                                     N         Rochester     NY       Liberty Power 646     8449759   09/20/2017   This company is harassing me to do business with them. I clearly tools them I'm not interested. They have deep foreign accents. They call me daily. --- Subject matter of the
                                                                                  72
                                                                                                                                                                   call: Energy, solar, & utilities
                                                                                  73 Y         Springfield   MA       Liberty Power   954   7711463   09/18/2017   I have asked this company to stop calling several times and they keep calling!!! --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y         Benton        IL       Liberty Power   954   7711463   09/15/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  74
                                                                                                                      Corp
                                                                                  75   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Many calls --- Subject matter of the call: Energy, solar, & utilities
                                                                                  76   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Many calls --- Subject matter of the call: Energy, solar, & utilities
                                                                                  77   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Non stop calls. Has been told to stop. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  78   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Call almost every day after being told to stop. --- Subject matter of the call: Energy, solar, & utilities
                                                                                       Y       Rochester     NY       Liberty Power   646   4959811   09/13/2017   I don't know why they keep calling. I have asked adamantly to stop. Many different phone numbers. Very unprofessional and can barely speak English. --- Subject matter of
                                                                                  79
                                                                                                                                                                   the call: Energy, solar, & utilities
                                                                                       Y       Fairfield     CT       Calibrus on 475       2820592   09/13/2017   Telemarketers called me to try to get me to switch my electricity generation provider to Liberty Power. They offered me a $0.12060/kwh rate for 12 months. It took me a while
                                                                                                                      behalf of                                    for them to tell me which company they are calling from. It turns out they are calling from Calibrus telemarketing, as I finally got the name "Bella" and her company name,
                                                                                  80
                                                                                                                      Liberty Power                                "Calibrus." They would only give me a callback number of 866-POWER99, which is the number for Liberty Power. --- Subject matter of the call: Energy, solar, & utilities
                                                                                            A        B             C          D              E        F          G                                                                                             H
                                                                                        Y       prospect    IL         Liberty Power                        09/12/2017   He wouldn't give the company phone number --- Subject matter of the call: Energy, solar, & utilities
                                                                                  81
                                                                                                heights
                                                                    of 23 #: 87




                                                                                  82 Y          Walnut Hill IL         Liberty Power 954         7711463    09/01/2017   This happens at least 2 times a day --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y          Bingahmton NY          Liberty Power             9544771146 09/01/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  83
                                                                                                                                                 3
                                                                                        Y       Elk Grove     IL       Liberty Power                        08/30/2017   THey call 2-3 times a day. EVERY DAY. We have asked them to stop and they do not. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  84
                                                             of 5911PageID




                                                                                                Village                Co
                                                                                        Y       Elk Grove     IL       Liberty Power 866         7693799    08/30/2017   THey call 2-3 times a day. EVERY DAY. We have asked them to stop and they do not. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  85
                                                                                                Village
                                                                                        Y       New Britain   CT       liberty power   866       7693799    08/28/2017   they have switched my utilities to them even after I said ABSOLUTELY NOT --- Subject matter of the call: Energy, solar, & utilities
                                                                                  86
                                                                                                                       holdings llc
                                                                                  87 Y          Belleville    IL       Liberty Power   954       7711463    08/28/2017   I have told this company to stop calling me and that I do not need or want their product. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  88 Y          Lindenwold    NJ       Liberty Power   954       7711463    08/25/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  89 Y          Belleville    IL       Liberty Power   954       7711463    08/24/2017   I have advised this company that I no longer need or want their service and to stop calling me. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y          Waltham       MA       Liberty Power   954       7711463    08/22/2017   This is the 3rd call in two days. I reported 1 of 2 calls yesterday. --- Subject matter of the call: Energy, solar, & utilities
                                                     Page 47Page




                                                                                  90
                                                                                                                       LLC
                                                                                        Y       Waltham       MA       Liberty Power   954       7711463    08/21/2017   I stopped using this company in February 2016 and they have been hassling me ever since, and have told them on numerous occasions to not call me, I don't want their
                                                                                  91
                                                                                                                       LLC                                               product. They call me daily. I'm sure I will be logging another complaint tomorrow. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  92 Y                        IL       Liberty Power   954       7711463    08/21/2017   Subject matter of the call: Dropped call or no message
                                                                                     Y          Needham       MA       LIBERTY         954       7711463    08/18/2017   I am being bombarded by phone calls from this company. They have increased frequency from weekly to DAILY. I had written to them and I have repeatedly told them Do Not
                                                                                  93
                                             Filed 07/16/18




                                                                                                Heights                POWER                                             Call. I entered a complaint after their call yesterday. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  94 Y          Chicago       IL       Liberty Power   954       7711463    08/17/2017   This company calls me every day. Kept asking them to put me on their do not call list. --- Subject matter of the call: Energy, solar, & utilities
                                                                                     Y          Needham       MA       LIBERTY         954       7711463    08/17/2017   Up until about a year ago I canceled business with this company by mail, which they agreed. They continue to call frequently. Recently it has been weekly. This week I have
                                                                                  95
                                                                                                Heights                POWER                                             received calls every day. I have REPEATEDLY asked them to stop and remove my name. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y                     MA       Liberty Power   957       7711463    08/17/2017   We get call from Liberty Power almost daily. We have NEVER asked them to contact us. We would like the calls to STOP. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  96
                                                                                  97 Y          Loves Park    IL       Liberty Power                        08/08/2017
                                       34-108/30/18




                                                                                     Y          Hoffman       IL       Liberty Power   954       7711463    08/09/2017   Three time for last fours months they still calling to me and offering energy service. I asked manager and informed him to remove my cell number from his system and stop
                                                                                  98
                                                                                                Estates                Corp                                              calling to me. No any results. Please register my message about it. Thank you. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  99 Y          Berlin        MA       Liberty Power   978       6311320    08/01/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  100 Y         Berlin        MA       Liberty Power   617       6069240    08/01/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  101 Y         Berlin        MA       Liberty Power   774       6338031    08/01/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Berlin        MA       Liberty Power   718       5772849    08/01/2017   I have been getting multiple calls from this company on a weekly basis. All from different phone numbers. I have asked them every single time to stop calling my cell phone
                                                                                  102                                                                                    and they still continue to do so. Getting really tired of these unwanted phone calls. Please try to help. Thank you Kim Gonzales --- Subject matter of the call: Energy, solar, &
                                 1-5 Filed




                                                                                                                                                                         utilities
                                                                                        Y       Lawrence      MA       Liberty Power 954         7711463    07/31/2017   This company lied and said I agreed to go back to them as my electricity provider over a year ago. I had to jump through hoops to get them to admit I did not and give me a
                                                                                  103                                                                                    partial refund. They still call often, even though I have told them to stop calling and that I was on the do not call lists, I continue to get calls at least once a week. --- Subject
                                                                                                                                                                         matter of the call: Energy, solar, & utilities
                             Document




                                                                                        Y       South      MA          Liberty Power 954         7711463    07/28/2017   Have been receiving repeated calls since past 3 days. I had specified to them priorly that I am not interested in their product. --- Subject matter of the call: Energy, solar, &
                                                                                  104
                                                                                                Weymouth                                                                 utilities
                                                                                  105 Y         Beach Park IL          Liberty Power   510       7672676    07/20/2017   0 --- Subject matter of the call: electric savings
                                                                                  106 Y         bensalem   PA          liberty power   877       2899925    07/20/2017   they call all the time --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y                    MD          LIBERTY         954       7711463    07/07/2017   THIS IS A POWER COMPANY IN FLORIDA. I LIVE IN MARYLAND. THERE ARE COMPLAINTS AGAINST THIS NUMBER ON GOOGLE. THANK YOU. --- Subject matter of
                                                                                  107
                        Document




                                                                                                                       POWER                                             the call: Dropped call or no message
                                                                                        Y       Chicago       IL       Liberty power   508       2021270    07/05/2017   Call wanting us to change electric company. Numerous times 3-4 a day --- Subject matter of the call: Energy, solar, & utilities
                                                                                  108
                                                                                                heights
                                                                                  109 Y         Springfield   MA       Liberty Power   954       7711463    06/29/2017   Subject matter of the call: Energy, solar, & utilities
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                                                                                      Y         Bowie         MD       Liberty Power   877       2899925    06/27/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  110
                                                                                                                       Corp.
                                                                                  111 Y         Orleans       MA       liberty power   866       7693799    06/22/2017   I get about 10-20 calls a week from energy companies and have been o the do not call list since 2003 --- Subject matter of the call: Energy, solar, & utilities
                                                                                  112 Y                       MD       Liberty Power   877       2899925    06/21/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  113 Y         Brooklyn      NY       Liberty Power   718       5147113    06/21/2017   I have asked them twice already to stop calling, and they keep calling trying to sell me their utility service. --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Woodbury      CT       Liberty Power   877       2899925    06/20/2017   Asked to be removed from the list, man on the other end ignored my request and insisted that I tell him what our current rates are with the company we are currently using. I
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                                                                                  114                                                                                    kept repeating myself asking to be removed and he refused and told me that he will call me back in an hour and hung up. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  115   Y       huntingtown MD         liberty power   877       2899925    06/19/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  116   Y                   NY         Liberty Power   718       5147113    06/16/2017
                                                                                  117   Y       Belleville  IL         Liberty Power   954       7711463    05/26/2017   I have asked this company to remove my phone number, I do not want their services. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  118   Y                              Liberty Power                        05/22/2017
                                                                                        Y       Chicago       IL       Liberty Power   708       8584095    05/20/2017
                                                                                                                       Electric
                                                                                  119                                  Company/Inn
                                                                                                                       ovative
                                                                                                                       Teleservices
                                                                                        Y       Prairie du    IL       Liberty power   508       5236101    05/17/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  120
                                                                                                Rocher
                                                                                        Y       Brooklyn      NY       Liberty Power 857         9729380    05/02/2017   I get calls from them once a week and have explained at least 5 times that utilities are no longer in my name and I would like my number removed from their list. --- Subject
                                                                                  121
                                                                                                                                                                         matter of the call: Energy, solar, & utilities
                                                                                  122 Y         Blue Bell     PA       Liberty Power   877       2899925    04/30/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y                       CT       LIBERTY         877       2899925    04/27/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  123
                                                                                                                       POWER
                                                                                        Y                     NY       liberty power   866       7693799    04/20/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  124
                                                                                                                       co
                                                                                  125 Y         Chicago       IL       Liberty Power   773       8405076    04/17/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                            A         B             C          D          E        F         G                                                                                                    H
                                                                                        Y       Roslindale     MA       Liberty Power 617     3901615   04/08/2017   About 2 or 3 years ago I signed up as a consumer with Liberty Power. For several months now they have been harassing me with phone calls. They call to try to get me to sign
                                                                                                                                                                     up with them. I let them know that I'm already on eod their customers. The calls continued. I then asked them not to call me anymore and to remove my number from their
                                                                    of 23 #: 88




                                                                                  126                                                                                system. They began calling from different numbers. Again I told them I'm already a customer, remove my number. Then they started calling me and speaking spanish. I told
                                                                                                                                                                     them to stop calling me. Now they call me from "Private Numbers". I told them to stop calling me, I'm going to end my business with them, and I will be reporting the harassing
                                                                                                                                                                     phone calls. They call at random, at any time of day. These phone calls are causing me distress and anxiety. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       HARLEYSVI PA            LIBERTY       877     2899925   04/04/2017   I HAVE ASKED THEM AT LEAST 6 TIMES OVER THE PAST 2 MONTHS TO NOT CALL AND THAT I AM ON A DO NOT CALL LIST. THE TIME THEY CALLED IS NOT
                                                                                  127
                                                             of 5912PageID




                                                                                                LLE                     POWER                                        EXACT. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y                 IL            Liberty Power 774     2411006   03/29/2017   Liberty Power called saying it was Comed and that I am to receive a subsidy through Federal Deregulation Law. They said that they are the supplier of Comed's power and the
                                                                                                                        / Comed                                      call was being recorded. I asked if this is legitimate, and he said yes it is and it regarding the Federal Deregulation law. They said from the law, I would received a subsidy with
                                                                                  128                                                                                a better, fixed price for 2 years. They also said they were sending me 2 Visa gift cards. Then they asked me to bring up my bill for my Account # and asked me to verify by
                                                                                                                                                                     billing address. They transferred me to another number and I hung up the phone since it said I was switching to Liberty Power (which I was not aware that they were doing).
                                                                                                                                                                     They have now called me at least 6 times in the last 10 minutes. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Collinsville   IL       Liberty Power 954     7711463   03/27/2017   Someone from their company signed me up for their "energy savings" awhile back without my consent. Once I learned of this, I cancelled them. I have been repeated called for
                                                                                  129                                                                                the past 6 mths and have repeated asked them to stop calling me each time they call. I have also sent over an email to them last week in regards to this, they promised to stop
                                                                                                                                                                     but the calls are still coming. --- Subject matter of the call: Energy, solar, & utilities
                                                     Page 48Page




                                                                                  130 Y         Olney          MD       Liberty Power   877   2899925   03/24/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y                        IN       Liberty Power   954   7711463   03/21/2017   I have not yet answered the phone, but have done research on the number. I live in Indiana, not Florida. They've no reason to be calling me. They've called me 4 times within
                                                                                  131                                   TX Holdings                                  the last 2 business days without leaving a message. --- Subject matter of the call: Energy, solar, & utilities
                                                                                                                        LLC
                                                                                  132 Y         Hartford       CT       Liberty Power   818   6711881   03/18/2017   Call several times a week. --- Subject matter of the call: Computer & technical support
                                                                                      Y         Chicago        IL       Liberty Power   917   7203952   03/14/2017   Liberty power continues calling from the following numbers. 9177203952, 7184465272, 8574534018, 6174090084, 6465938644. --- Subject matter of the call: Energy, solar, &
                                                                                  133
                                             Filed 07/16/18




                                                                                                                                                                     utilities
                                                                                        Y       Chicago        IL       Liberty Power 917     7203952   03/14/2017   Liberty power continues calling from the following numbers. 9177203952, 7184465272, 8574534018, 6174090084, 6465938644. --- Subject matter of the call: Energy, solar, &
                                                                                  134
                                                                                                                                                                     utilities
                                                                                        Y       Philadelphia PA         liberty power 954     7711463   03/13/2017   I got a call from them a week ago and requested to be added to their do not call list, yet they have called me twice since I've made that request. --- Subject matter of the call:
                                                                                  135
                                                                                                                                                                     Energy, solar, & utilities
                                                                                  136 Y         Indiana        PA       Liberty Power 877     4367162   03/10/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Pomfret        CT       Liberty Power. 860    3183501   03/09/2017   Caller ID:W CORWALL CT starred with robocall saying I could get a discount on my Eversource bill Pressed 1 Got a human Asked 3 times for name of company Finally told
                                       34-108/30/18




                                                                                  137
                                                                                                Center                                                               me Liberty Power I said not interested and requested they stop calling. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Lititz         PA       Liberty Power 877     7693799   03/07/2017   Spoke with "Nick" (probably not his real name). I have never done business nor do I desire to do business with Liberty Power or it's affiliates. --- Subject matter of the call:
                                                                                  138
                                                                                                                                                                     Energy, solar, & utilities
                                                                                  139 Y                        PA       Liberty Power 877     2899925   03/06/2017   The person called several times in a row. This is a business number, and we asked them to stop calling us last year. --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y                        CT       Liberty Power 866     7693799   02/28/2017   The caller ID showed 203-409-0839, a local number. That number is no good. I answered a robo call. I played along and finally a live person got on the line. After I acted
                                                                                                                        Corp, LLC                                    very interested in switching to their company for electricity, I kept asking questions. The boiler room person must be new because over time I was able to coax out of him the
                                                                                  140
                                                                                                                                                                     name of the company that he wanted me to switch to as a new electricity provider. As soon as he disclosed "Liberty Power Corp" I overhead a colleague of his yell at him to
                                 1-5 Filed




                                                                                                                                                                     hang up. These people should be heavily fined and or shut down! --- Subject matter of the call: Energy, solar, & utilities
                                                                                  141 Y                        CT       Liberty Power 866     7693799   02/24/2017
                                                                                      Y         Rockford       IL       Liberty Power                   02/23/2017   Phone number did not show up in my caller ID. This is second time this company has called and told me they received a notice I am a customer which is not correct. And I
                                                                                  142
                             Document




                                                                                                                                                                     told them such and to put me on the do not call list for a second time. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Thomaston      CT       Liberty Power 510     7672676   02/14/2017   This company keeps calling me and i have asked them to stop. I gave them my daughters phone number 203-509-5798 and they called her. She asked them to put me on no
                                                                                  143                                                                                call list and they refused and wanted to discuss why we are requesting that. Please call my daughter, i am 88 and on a fixted income. --- Subject matter of the call: Energy,
                                                                                                                                                                     solar, & utilities
                                                                                  144 Y         Hartford       CT       Liberty Power   877   2899925   02/13/2017   THEY call DAILY. Continuously. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  145 Y         Canton         IL       Liberty Power   309   3001010   02/07/2017   Subject matter of the call: Energy, solar, & utilities
                        Document




                                                                                  146 Y                        IL       Liberty Power   309   3001010   02/07/2017   Speaker was from India. --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y                        PA       Liberty Power   877   2899925   02/06/2017   The people call my home at least once per day. They also call us at work one or more times per day. I've asked them to take my number off their list. They agree to do it but
                                                                                  147
                                                                                                                                                                     three years later...they are still calling. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Greenfield     MA       liberty power 508     3421563   02/06/2017
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                                                                                  148                                   green
                                                                                                                        energies
                                                                                        Y       Bloomfield     CT       Liberty Power 866     7693799   02/04/2017   .This call was made to my 95 year old Father in law, Leo Novarr. He is on the do not call registry. I am not sure of the exact date of the call. They changed is electric supplier.
                                                                                  149
                                                                                                                                                                     Please give me a call if you have any questions. Thanks. (b)(6) --- Subject matter of the call: Energy, solar, & utilities
                                                                                  150 Y                        PA       Liberty Power 877     2899925   02/01/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Fairfield      CT       Liberty Power 866     7693799   02/01/2017   A third-party working on behalf of Liberty Power in the State of CT calls to try to get me to switch my electricity energy supplier. They call from disconnected phone numbers:
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                                                                                                                                                                     203-308-4672 and 774-241-1006. The robo call says press 1 to talk to a representative and press 2 to be removed from the list. I've pressed 2 multiple times. I've pressed 1
                                                                                                                                                                     and asked to be removed (they immediately hang up). I've pressed 1 and yelled. My number has been listed in the National Do Not Call Registry since 21-MAR-2012. Today
                                                                                  151
                                                                                                                                                                     I spoke with Liberty Power Vice President of Law and General Counsel Mr. Harris Rosen. Phone number: 954-598-7061. He was sympathetic to my concerns but made it
                                                                                                                                                                     clear that it is a third-party calling me trying to get a commission by connecting me to Liberty Power. Companies like Liberty Power that deploy this tactic should be held
                                                                                                                                                                     responsible when the fly-by-night third-parties can not be policed. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  152 Y         Danbury       CT        Liberty Power 866     7693799   01/30/2017   They keep calling many times per month. Phone number on caller id is 203-308-4672 --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Pinckneyville IL        Liberty Power 866     7693799   01/27/2017   The number called and listed above is for my mother, (b)(6) at (b)(6), Pinckneyville, IL. She is 88, has Alzheimer's, and can't make decisions about switching her electric
                                                                                                                                                                     provider. I'm not sure if she switched it tonight or not, but she has done so twice before. The time of the call is approximate, since I was not there, and she doesn't have caller
                                                                                  153                                                                                ID. My brother has twice told them not to call her, yet they continue to do so. They said they would not call her again, but that was obviously a lie. I believe they are preying
                                                                                                                                                                     on the elderly. She has been on the do not call list for years. I believe there should be severe consequences for repeated violations such as this. My phone number is (b)(6),
                                                                                                                                                                     and my email address is (b)(6) Thank you for your help. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       WALDWICK NJ             Liberty Power 312     2196131   01/27/2017   These calls are excessive. --- Subject matter of the call: Warranties & protection plans
                                                                                  154                                   or Liberty
                                                                                                                        Energy
                                                                                        Y       Berwyn         PA       Liberty Power 216     4169188   01/25/2017   First call of the day was @ 2:28PM, told caller we had requested many times to be taken off their list and not to call again. 2nd call was 5 minutes later, it was the same
                                                                                  155
                                                                                                                                                                     individual. He said "You did not answer my question" again, I told caller to take our number off of his list. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Branford       CT       Liberty Power 866     7693799   01/23/2017   Electric power- complainant rec'd recorded message about saving on his electric bill- press '1' to speak with rep. C told them he was on the Nat'l DNC List. --- Subject matter of
                                                                                  156
                                                                                                                                                                     the call: Energy, solar, & utilities
                                                                                  157   Y       Branford       CT       Liberty Power   866   1693799   01/21/2017   Message said I could reduce my electric charges and to press 1 t speak with rep. Told them I was on Do Not Call list.
                                                                                  158   Y       Wexfotd        PA       Liberty Power   877   4367162   01/19/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  159   Y       Hartford       CT       Liberty Power   877   2899925   01/17/2017   They have called many times. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  160   Y       Roselle        IL       Liberty Power   217   2804261   01/05/2017   They call every 2-3 months, I tell them I'm not interested and to stop calling --- Subject matter of the call: Energy, solar, & utilities
                                                                                            A        B              C          D          E        F         G                                                                                                      H
                                                                                        Y       Berwyn         PA       Liberty Power 877     2999925   01/04/2017   First call from Liberty Power was at 2:39, I asked to be removed from their list, mind you, they call us daily. They have been asked many times to be taken off the list. They
                                                                                  161                                                                                immediately called back, it was still 2:39. The caller asked "what happened" and then hung up. The caller called a 3rd time at 2:40 and stood on the line without saying
                                                                    of 23 #: 89




                                                                                                                                                                     anything. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  162 Y         Needham        MA       Liberty Power                   01/03/2017   Subject matter of the call: Energy, solar, & utilities
                                                                                  163 Y         Woodbury       CT       Liberty Power 860     5808098   01/02/2017   Tried to sell me electricity. --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         hazleton       PA       liberty power 877     2899925   01/02/2017   we have asked this company several times to stop calling us, and to put us on there do no call list, but they still call us every day. --- Subject matter of the call: Energy, solar, &
                                                                                  164
                                                             of 5913PageID




                                                                                                                                                                     utilities
                                                                                        Y       Waterbury      CT       Liberty Power 860     5808098   12/30/2016   This was a robo call at first. I had to select #1, to speak with pitchman. Once he came on, he would not let me speak for 2 minutes. Finally, I asked him who he was
                                                                                                                                                                     representing, and stated Liberty power. I asked how he received my number as it is registered in the do not call registry for over several years. He stated it was a random
                                                                                  165
                                                                                                                                                                     selection. I asked if he was aware that this was on the do not call registry. He said no. I told him I was reporting his number and he stated he was reporting my number as well.
                                                                                                                                                                     --- Subject matter of the call: Energy, solar, & utilities
                                                                                  166 Y                      NJ         Liberty Power 508     5236101   12/30/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Phillipsburg NJ         Liberty power                   12/27/2016   The call was a robo call that asked if I wanted to hear about lowering my electric bill press 1. It was calling from an unknown caller and we receive a lot of theses calls. When I
                                                                                                                                                                     was connected I asked for the company name and the person I was speaking too. I was given the name of Jason Roberts from liberty electric. When i asked how he got my
                                                                                                                                                                     number an electronic voice came in and said "DNC" if the government is selling my number I want to know because I am going to reach out to my local congressman about
                                                     Page 49Page




                                                                                  167
                                                                                                                                                                     this deceptive practice. Please provide a written explanation as to WHY I am am constantly receiving these calls. I thought the government was to protect it citizens from
                                                                                                                                                                     harassing phone calls and that was the purpose of the DI NOT CALLlist. Another waste of tax payers money going into some politicians pocket I guess maybe president elect
                                                                                                                                                                     Trump will do something about this but I doubt it --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Libertyville   IL       Liberty Power 773     8390188   12/21/2016   I am a senior citizen who is tired of being called by scammers. Prior complaints have not stopped these calls. The do not call registry appears to be a nonexistent protection
                                                                                  168
                                                                                                                                                                     measure. Does anyone ever do anything about these telemarketers and scammers? --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Dunellen       NJ       Liberty Power 508     5236101   12/20/2016   The caller refused to provide a company address, but did say the company was from Fort Lauderdale, Florida before abruptly hanging up. A search I performed resulted in the
                                             Filed 07/16/18




                                                                                  169
                                                                                                                                                                     following in that city: 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  170 Y                     NY          liberty power 877     4367162   12/16/2016   Arrogant SOB - Did not want to hear that I was on the Govt. DO-Not-Call list. He kept saying "That doesnt matter". --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Easthampton MA          Liberty Power 866     7693799   12/10/2016   This is their real phone number: 866–769–3799 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309 https://www.libertypowercorp.com Repeated calls to sell electric
                                                                                                                                                                     power under the Mass. competitive supply program. Callers say they're calling from Liberty Power's Ft. Lauderdale office, but the thick accents every caller speaks with
                                                                                  171
                                                                                                                                                                     suggest an off-shore call center. Callers say they use the federal no-call list but that many numbers that are supposed to be on it are "not visible" to them. They offer to put my
                                                                                                                                                                     number on their internal no call list, but the calls keep coming. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  172 Y         Newton      MA          Liberty Power         5236101   11/25/2016   Indian caller tried to sell electric power contract --- Subject matter of the call: Energy, solar, & utilities
                                       34-108/30/18




                                                                                      Y         Saint       IL          Liberty Power 877     2899925   11/22/2016   called asking for the person in charge of the power bill, unsolicited calls, i asked them to stop calling. --- Subject matter of the call: Electric Bill
                                                                                  173
                                                                                                Charles
                                                                                  174 Y                     IL          Liberty Power   815   9245130   11/18/2016   I have requested a stop to all calls from this company but they continue to call multiple times a day. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  175 Y         MENDON      MA          Liberty Power   508   5236101   11/17/2016
                                                                                  176 Y         Scotia      NY          Liberty Power   518   6312239   11/17/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Lincolnwood IL          Liberty Power   773   2450099   11/11/2016   Caller ID showed "Illinois Call". I punched 5 on their menu and asked a live person to remove this number from their calling list. --- Subject matter of the call: Energy, solar, &
                                                                                  177
                                                                                                                                                                     utilities
                                 1-5 Filed




                                                                                        Y       Bellingham     MA       liberty power 978     6311895   11/10/2016   person called and asked to speak with person responsible for paying electric bill. i asked who they were. when i didn't recognize the company as the one i use i told the
                                                                                  178
                                                                                                                                                                     representative i was on the no call list. She hung up. why do i keep getting calls when i am on the list? --- Subject matter of the call: Energy, solar, & utilities
                                                                                  179 Y         N Weymouth MA           Liberty Power 508     5236101   11/07/2016   I have asked them multiple time to take me off of their list. --- Subject matter of the call: Energy, solar, & utilities
                             Document




                                                                                      Y                    NJ           Liberty Power 815     3154725   11/03/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                  180
                                                                                                                        Supply
                                                                                        Y       Milford        PA       liberty power 877     2899925   11/03/2016   This company is calling us every day. They have been told multiple times to not call us and take us off the list. Our business, Yetter Insurance Agency, Inc, has 4 phone lines
                                                                                  181
                                                                                                                                                                     (and all are subscribed to the do not call). --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Elk Grove IL            liberty power 773     2450099   11/02/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                  182
                                                                                                Village
                        Document




                                                                                  183 Y         Cary      NC            Liberty power   815   3154725   11/01/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         LEESPORT PA             Liberty Power   877   4367162   10/26/2016   This company calls us at least once a day and we have asked them several times to remove our name from their list. --- Subject matter of the call: Energy, solar, & utilities
                                                                                  184
                                                                                                                        - Peter
                                                                                  185 Y         Indianapolis IN         Liberty Power   877   2899925   10/21/2016   Subject matter of the call: Energy, solar, & utilities
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                                                                                  186 Y         Evanston     IL         Liberty Power   866   7692799   10/19/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         Burlington   MA         Liberty Power   781   2021276   10/19/2016   "receive a discount on your Eversource bill". press#1 to speak with rep. I asked what company name was - indian accented guy said Liberty Power from Framingham MA.
                                                                                  187
                                                                                                                                                                     Asked to opt-out future calls. They continue to call me. 14x last few months. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Franklin       MA       Liberty Power 508     2021270   10/18/2016   I have been receiving call from this company every evening sometimes around 6:30 p.m, sometimes around 7 p.m sometimes as late as 8:30 p.m. I even asked them to
                                                                                  188                                                                                remove my number from their registry, but they still keep calling me. The caller is most probably sitting somewhere in India and is really rude. I am really frustrated by this
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                                                                                                                                                                     whole thing. Please shut down these guys --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Pittsfield     MA       Liberty Power 886     7693799   10/12/2016   I don't feel like there is any action being taken against these companies. I report them and I am still getting two three sometimes as many as five or more calls a day! ---
                                                                                  189
                                                                                                                                                                     Subject matter of the call: Energy, solar, & utilities
                                                                                  190 Y         Shrewsbury MA           Liberty Power   978   6311895   10/12/2016   I am not sure if the woman was an employee of Liberty and an independent agent --- Subject matter of the call: Energy, solar, & utilities
                                                                                      Y         WALDWICK NJ             Liberty Power   732   3449172   10/11/2016   This company call my home and cell # almost everyday from a different phone number. I have asked them numerous times to remove my number from their list. It is getting out
                                                                                  191                                   or Liberty                                   of control. If I block the number they call from, they continue to call from another number. --- Subject matter of the call: Energy, solar, & utilities
                                                                                                                        Energy
                                                                                        Y                      IL       Liberty Power   309   7274474   10/05/2016   Subject matter of the call: Energy, solar, & utilities
                                                                                  192
                                                                                                                        Co
                                                                                        Y       Boston         MA       Liberty Power   413   2590127   10/03/2016   they call me all they long i appears they are using a spoofing device to make the number local but when you call it it won't go through! I tell them every time not to call me but
                                                                                  193
                                                                                                                                                                     they keep calling!!! --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y                      CT       Liberty Power 203     6439344   10/03/2016   I took the time to explain that I was on the DNC list and how the fines worked, but it didn't faze her one bit. She shrugged it off and kept on doing her pitch. --- Subject matter
                                                                                                                        (callerID:                                   of the call: Energy, solar, & utilities
                                                                                  194
                                                                                                                        BRANDFORD
                                                                                                                        CT)
                                                                                        Y       Marlborough MA          Liberty Power                   10/01/2016   Company called 3x within a 20 minute span when I was on the phone. Finally took the call. Recording was about reducing EverSource cost. Waited for rep. Liberty Power.
                                                                                  195
                                                                                                                                                                     Rep refused to give me the phone number. Asked to be put on do not call list. --- Subject matter of the call: Energy, solar, & utilities
                                                                                        Y       Marlborough MA          Liberty Power                   09/29/2016   call from man w/ Indian accent. Said he was calling about a discount on electricity I aked him what company her was calling from. he said "an affiliate of Eversource" my elec
                                                                                                                                                                     provider. I asked again what company? "Liberty Power an associate of Eversource" I said no your not and he began to go on some explanation. I asked what I had to do to get
                                                                                  196                                                                                this discount.He said" verify the name address and account number . I asked where is your company located? "he said "I am not going to tell you that, good bye" and hn
                                                                                                                                                                     located? he paused and said"Iam not going to tell you that good bye" and hung up Funny but my number is on the Do Not call List and this company is deceiving in its
                                                                                                                                                                     information to consumers
                                                                                            A       B              C          D          E        F         G                                                                                            H
                                                                                        Y       Mechanicsb PA          Liberty Power 866     7693799   09/29/2016   Liberty Power keeps calling me to renew my contract with them. I am not renewing with them and have asked them each time they call (over 30 by now) to please stop calling
                                                                                                urg                                                                 me. They always say they will but they don't. Sometimes they call 5 times a day. I am trying to run a business and can't be bothered with a power supplier wanting to renew a
                                                                    of 23 #: 90




                                                                                  197
                                                                                                                                                                    contract that won't ever be renewed. Can you tell them to stop calling me because my words to them are useless. Thank you. --- Subject matter of the call: Energy, solar, &
                                                                                                                                                                    utilities
                                                                                        Y       Danvers      MA        eversourse    508     2021270   09/28/2016   I spoke to a person and asked them to take me off of their calling list.
                                                                                  198                                  (Liberty
                                                             of 5914PageID




                                                                                                                       Power)
                                                                                        Y                    NJ        Liberty Power                   09/26/2016   We get frequent calls from Liberty Power. It starts with a recording, then transfers to a live operator. They at first imply they are with PSE&G, then after prodding admit they are
                                                                                  199
                                                                                                                                                                    with Liberty Power. We've requested to be removed from their list multiple times.
                                                                                  200 Y         Portland    PA         Liberty Power 877     2899925   09/22/2016   Caller Keeps calling here even though I told them I am on the do not call list and do not call this phone number. They call me twice a week and won't stop
                                                                                  201 Y                     PA         Liberty Power 877     2899925   09/20/2016   3 calls in 3 weeks
                                                                                      Y         Bridgewater MA         Liberty Power 508     2021270   09/19/2016   For the past three months Liberty Power has called me on average eight times per day. I have told them repeatedly to stop calling. When I ask for a supervisor they just hang
                                                                                  202
                                                                                                                                                                    up and call back four minutes later. They also call from 6174464090.
                                                                                  203   Y       Wyomissing PA          Liberty Power   877   2899925   09/19/2016   I informed them I was on the do not call list and please do not call this number again .
                                                                                  204   Y       Haddon Twp NJ          Liberty power   908   3685132   09/16/2016   I believe they are a scam
                                                     Page 50Page




                                                                                  205   Y       Wayne         NJ       Liberty Power   973   2211145   09/14/2016   I have previously asked them to stop calling but yet they continue to call. Today I said hello 2-3 times and they just hung up on me.
                                                                                  206   Y                     PA       Liberty power   877   2899925   09/12/2016
                                                                                        Y       New Fairfield CT       Liberty Power   203   6439344   09/09/2016   They called 3 times on 9/7, 12:47 PM, 4:04 PM and 8:07 PM 9/9 at 2:42 PM. They have called before, but I can only go back a few days. I have repeatedly told them to stop
                                                                                  207
                                                                                                                                                                    calling and take my number off their list. Please help!!!!
                                                                                        Y       shiremansto PA         liberty power 717     2209125   09/09/2016
                                                                                  208
                                             Filed 07/16/18




                                                                                                wn
                                                                                        Y       Brockton    MA         Liberty Power 413     2590127   09/08/2016   this company has been calling for months they only want to speak Spanish I told them I'm on the do not call list but they continue to call. I believe they are using a device that
                                                                                  209                                                                               makes up phone number to make it seem like they are local! if you try to call number back it won't work. They keep asking who is in charge of electric bill. PLEASE MAKE
                                                                                                                                                                    THEM STOP
                                                                                  210 Y         Wayne        NJ        Liberty Power 973     2211145   09/07/2016
                                                                                      Y         Plainfield   CT        Liberty Power 203     6439344   09/07/2016   I am tired of these harassing phone calls. I have told these people (can hardly understand them as they do not speak english very well) to STOP calling me as I have NO
                                                                                  211
                                                                                                                                                                    dealings with this company. It is VERY frustrating when these calls just keep coming. Don't we as AMERICANS have any rights anymore? Please help me to stop these calls
                                       34-108/30/18




                                                                                        Y       WEST       PA          Liberty Power 717     2209125   08/31/2016   They are calling about my electric bill. I have never asked for anyone to call and I have never even checked out switching anything with my electric bill. The person calling
                                                                                  212
                                                                                                MILTON                                                              does have a foreign accent but says they are based in Harrisburg PA
                                                                                        Y       Framingham MA          Liberty Power 508     2021270   08/30/2016   As with previous instances, this started as a robocall, and I pushed "1" to speak to a live operator to get the company name and tell them they were in violation. First, they
                                                                                  213                                                                               denied that they had actually called - I asked how I was on the phone in that case. Then they denied that they were in violation while asking what was the DNC - I told them.
                                                                                                                                                                    They then asked why I had purchased a phone if I didn't want anyone to call. I asked to speak to a supervisor, and they hing up.
                                                                                        Y       Ithaca       NY        Liberty Power                   08/26/2016   This company has continued to call us on multiple occasions despite our demanding to be removed from their call list. What good is the Do Not Call List we get a barrage of
                                                                                  214
                                                                                                                                                                    telemarketing calls. It almost seems like the Do Not Call List is actually a list for them to call from.
                                                                                        Y       Bethlehem    PA        Liberty Power 717     8598748   08/26/2016   We continue to receive calls even though we have registered land line and cell phones to no call, what's the good? What ever the punishment, it doesn't seem to stop them
                                 1-5 Filed




                                                                                  215
                                                                                                                                                                    from making unwanted calls to seniors like me.
                                                                                  216 Y         Dracut       MA        liberty power   413   2590127   08/25/2016   The calls started back in January 2016, The caller continues to call offering to change the electric service, the caller only speaks Spanish, I have asked for the calls to stop
                                                                                  217 N         Bellingham   MA        Liberty Power   508   5615075   08/19/2016
                             Document




                                                                                  218 Y         Boston       MA        Liberty Power   508   4590019   08/18/2016
                                                                                      Y         Plymouth     MA        Liberty Power   508   8818573   08/16/2016   This is about the 15th call from them. I get one just about every day. It is a recorded message saying "Press "1" to get my Eversource discount". I've pressed one and got a
                                                                                  219                                                                               person and asked them to stop calling me or what company they are with and they usually hang up immediately. I finally got one of them to tell me the company name by
                                                                                                                                                                    playing along with them. They make it sound like they are with Eversource if you ask them who they are.
                                                                                        Y       Brookline    MA        Liberty Power 781     7210347   08/15/2016   I have been receiving phone calls from this and other "authorized energy suppliers" several times a day. Most are robocalls when you press a number to connect to an actual
                        Document




                                                                                  220                                                                               person, and ask for their company name, they most often hang up. This is harassmentI am on the do not call list for a reasonbut these telemarketing robocalls for this, other
                                                                                                                                                                    companies like it, and other different companies are getting out of control! Please outlaw this practice! Thanks (b)(6)
                                                                                        Y       Belleville   PA        Liberty Power 866     7693799   08/12/2016   This was a call that was used to fraudulently acquire access to the electricity account of seniors. The caller used the answers to questions to set up a "voice contract" despite
                                                                                  221
                                                                                                                                                                    the recipients being under the impression that it was an informational call.
                                                                                        Y       Shippensbur PA         Liberty Power 724     6138531   08/10/2016   Called today at 1:19 pm. When I answered, I could hear the call center noises in the background but no one spoke to me. I hung up. Two minutes later they called again.
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                                                                                  222           g                                                                   This time there was a person - I told her this was a Don not call number. That I don't do business with them and they should stop calling. They previously called me on 8/5
                                                                                                                                                                    and I had told them the same thing on that call. They do not seem to want to stop bothering me.
                                                                                        Y       Nutley       NJ        Liberty Power 973     5848548   08/09/2016   Caller wanted me to change my electric generation company. Told caller I was not interested and asked to be removed from list. This was the same company that contacted
                                                                                  223
                                                                                                                                                                    me yesterday.
                                                                                  224 Y         Boston       MA        Liberty Power 866     7693799   08/05/2016
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                                                                                      Y         Brockton     MA        Liberty Power 781     7292582   08/04/2016   This company called me three times in one day using a robodialer from 718-475-9208, 508-639-1369, and 781-729-2582 selling solar panel solutions. Obviously spoofing the
                                                                                  225
                                                                                                                                                                    telephone number. Last call I waited for an operator to answer. I asked the name of the company (Liberty Power) located in Ft Lauderdale, FL.
                                                                                        Y                    NJ        Liberty         973   2211145   08/02/2016   Not sure of the name of the company, but learned they represent 27 companies that can supply electricity. They have called multiple times the past few weeks and I have
                                                                                  226
                                                                                                                       Power?                                       asked them to put me on their company do not call list and informed them this number was no the national do not call registry.
                                                                                  227 Y                      PA        Liberty Power   724   6318531   07/29/2016   3 different numbers have called all within a week saying they are representing Liberty Power. Have asked all 3 to add phone number to do not call list.
                                                                                      Y                      IL        Liberty Power   866   7693799   07/26/2016
                                                                                  228
                                                                                                                       Holdings
                                                                                        Y       Greenfield   MA        Liberty Power   413   2590127   07/26/2016   The Caller ID said: Amherst, MA. The woman said she was calling from Liberty Power.         This is the 5th call we've received this afternoon!! Personally, I'm tired of these
                                                                                  229
                                                                                                                                                                    assholes calling!!
                                                                                  230 Y         Southwick   MA         Liberty Power 508     2021270   07/20/2016
                                                                                  231 Y         Allentown   PA         Liberty Power 724     6354308   07/21/2016
                                                                                      Y         Easthampton MA         Liberty Power                   07/21/2016   I'm getting many calls from several power companies I keep telling them to stop calling but they continue. This call was from Scott Daniels, so he said. Also, getting many credit
                                                                                  232
                                                                                                                                                                    card calls ditto above.
                                                                                  233 Y         Belleville   IL        Liberty Power 866     7693799   07/18/2016
                                                                                      Y         Chicago      IL        Liberty Power 804     4912130   07/18/2016
                                                                                  234                                  Electric
                                                                                                                       Company
                                                                                        Y       Austin       TX        Liberty Power 481     7210844   07/15/2016   I have asked them to stop calling me at least 4 times and I am still receiving phone calls. I have probably received these phone calls for several months now. They say that I
                                                                                  235                                                                               qualify for a rebate (or something) because I am an Eversource customer. Eversource is an electric company I used in MA and I have lived in Austin since August 2015. I try to
                                                                                                                                                                    explain this to the callers and they continue with their . I will try to record my calls in the future if they continue to call.
                                                                                        Y       Westville    IL        Liberty Power 847     3159265   07/15/2016   They called and wanted my power bill account info and wanted all my personal information so they could switch me to their company. The caller spoke very broken English and
                                                                                  236
                                                                                                                                                                    after I asked them to stop calling they called 3 more times from different numbers
                                                                                  237 Y         Chicago      IL        Liberty Power 815     3900015   07/12/2016
                                                                                            A        B             C          D          E        F           G                                                                                                     H
                                                                                  238 Y         Chicago      IL        Liberty Power 815     3900015     07/12/2016
                                                                                  239 Y                      CT        Liberty power 860     9152480     07/13/2016
                                                                    of 23 #: 91




                                                                                      Y                      IL        Liberty Power 312     7625238     07/08/2016   This was a sales call / scam. The representative was trying to sell Liberty Power as a new energy supplier, but did so by saying they were with ComEd, my current supplier.
                                                                                  240
                                                                                                                                                                      That was not true. It was fraud. Please stop them from calling my number.
                                                                                  241 Y         athens     NY          liberty power 877     4367162     07/08/2016   foreign calls 10 per day from rediculous companies
                                                                                      Y         Homer Glen IL          Liberty Power 815     3900015     06/29/2016   This company has called me at least a dozen times. Every time I ask them who they represent they hang up but this time I lead the caller on far enough for him to tell me who
                                                             of 5915PageID




                                                                                                                       Corp.                                          he represents. Liberty Power Corporation. I have repeatedly ask them not to call and they disconnect immediately. When I try to call their number back using caller I.D. it says
                                                                                  242
                                                                                                                                                                      the number is not a working number. I want to prosecute these people to the fullest extent of the law. At least a dozen times and I am on the do not call list. Please contact me
                                                                                                                                                                      if you need any other info. Thank You, (b)(6)
                                                                                  243 Y                      MA        Liberty Power   413   6282225     06/27/2016
                                                                                      Y         aurora       IL        claims to be    815   3900015     06/27/2016   keep receiving phone calls from different #'s to lower comed power bills. call gets transfer to india call center. when you ask the name of the company they make something
                                                                                  244
                                                                                                                       liberty power                                  up. when you ask where they are based they wont answer. have repeatedly told them # is on do not call list.
                                                                                  245 Y         Chicago      IL        Liberty Power   815   3900015     06/24/2016
                                                                                      Y         Rockford     IL        Liberty Power   815   3900015     06/24/2016   I was called on 6/24/2016 at 2pm from 815-390-0015 with a robo call saying press 5. After pressing 5 I was immediately connect to an individual who said his name was
                                                                                                                                                                      Cameron White. He mentioned Com Ed's name 5 or 6 times before stating the company he represented was Liberty Power. He used a run on sentence saying how he would
                                                     Page 51Page




                                                                                  246
                                                                                                                                                                      fix my electric bill pricing for 24 months and also send me a $50 gift card and would I would to get my gift card and move forward. I stated a number of times I do not want to
                                                                                                                                                                      make a decision and he said I would have a 10 day period anyways. I am on the do not call registry. Why do they keep calling?
                                                                                  247 Y                      NY        Liberty Power         877289925   06/17/2016   They call multiple times a day and every day even after requesting to stop.
                                                                                      Y         Colfax       IL        Liberty Power 773     3644191     06/13/2016   I have received numerous calls from this company over several months. Sometimes I press the number to ask not to be called again, other times I have told the caller, yet I
                                                                                  248
                                                                                                                                                                      still receive the calls, typically from various spoofed phone numbers.
                                             Filed 07/16/18




                                                                                        Y       East          NJ       Liberty Power 201     2495491     06/13/2016   They say there selling cheaper electricity
                                                                                  249
                                                                                                Rutherford
                                                                                        Y       West          PA       Liberty Power 215     2772414     06/10/2016   They said they would lower my PECO rate and wanted my PECO account number. If they are a reputable company, why don't they honor the do not call registry?
                                                                                  250
                                                                                                Chester
                                                                                  251   Y       Urbana        IL       Liberty Power   847   3159265     06/07/2016   Selling electrical power.
                                                                                  252   Y       Chicago       IL       Liberty Power   847   3159265     06/04/2016
                                                                                  253   Y       Barrington    IL       Liberty Power   847   3159265     05/31/2016   Asked them again to take me off list! Caller ID showed Deerfield IL but the man said he was in Des Plaines, IL working for Liberty Power.............
                                       34-108/30/18




                                                                                  254   Y       Pekin         IL       Liberty Power                     05/23/2016
                                                                                  255   Y                     PA       Liberty power   877   2899925     05/24/2016   Calls daily
                                                                                  256   Y       Cottage Hills IL       Liberty Power                     05/20/2016
                                                                                        Y       Wheaton       IL       Liberty Power   773   3368882     05/16/2016   The robot said that if I have paid my last 6 Commonwealth Edison (electric) bills on time and wanted to save 15% off my Commonwealth Edison bill I should dial "1". After I did
                                                                                                                                                                      that, I was connected to a man who said his name was Jason Smith and had a VERY heavy Indian accent. Additionally I heard a delay after every thing I said so I'm pretty
                                                                                                                                                                      sure I was talking to someone in India. He said he was an energy consultant for ComEd. When I asked him if he worked for ComEd directly, I got a run around until he finally
                                                                                  257
                                                                                                                                                                      admitted that he worked for Liberty Power, a supplier to ComEd. I explained that I was on the do not call list and unless he worked for a company that I was presently doing
                                                                                                                                                                      business with, he was breaking the law by calling me. I was professional and firm and told him I would report this call and wanted him to remove me from his calling list. He
                                 1-5 Filed




                                                                                                                                                                      then said "Go Fuck Yourself!" and hung up. This company and this employee need to be stopped immediately.
                                                                                        Y       Lake Bluff   IL        Liberty Power, 866    7693799     05/10/2016   These guys just keep calling. Tired of it.
                                                                                                                       https://www.li
                             Document




                                                                                                                       bertypowercor
                                                                                  258
                                                                                                                       p.com/contact
                                                                                                                       -us/
                                                                                  259   Y       mashpee      MA        liberty power                     05/10/2016
                                                                                  260
                        Document




                                                                                        Y       northbrook   IL        Liberty power   866   7693799     05/06/2016   A recording first says if you are a com ed customer who pays their bills on time press 2, then this person, Brian tries to sell on their stuff.
                                                                                  261   Y       Urbana       IL        Liberty Power   224   2509923     05/06/2016
                                                                                  262   Y       Alton        IL        Liberty power   224   2509923     05/05/2016   They lie about who they are claiming to be Ameren and this was the tenth time I have called and put my number on the do not call list and they continue to call
                                                                                        Y       Evanston     IL        Liberty Power   224   2509923     05/05/2016   I have asked them to take our number off of their call list repeatedly. Sometimes they are nice about pretending to do so, other times they've either sworn or bellowed 'no' and
                                                                                  263
                                                                                                                                                                      hung up on me.
      Case 1:18-cv-10506-ADB




                                                                                  264 Y         North Aurora IL        Liberty Power 224     2509923     05/04/2016   It's a robo call asking me to press "1" to save money on my electric bill. They make it seem like it's ComEd call, but it's not.
                                                                                  265 Y         Elmhurst     IL        Liberty Power 224     2509923     05/03/2016
                                                                                      Y         WILLOWBR IL            LIBERTY        224    2509923     04/29/2016   Foreign sounding person said they could lower my Comm Ed bill. Have asked them to stop calling me before but they did it again today. Said he was from Liberty Power.
                                                                                  266
                                                                                                OOK                    POWER
                                                                                  267 N                      IL        Liberty Power 224     2509923     04/27/2016   I get a call from this group every 20 days or so and I always tell them to take me off their list and that my number it on the do not call registry.
Case 1:18-mc-00203-JCN




                                                                                  268 Y                      IL        Liberty Power 224     2509923     04/26/2016
                                                                                      Y         Forest Park IL         Unknown        224    2509923     04/25/2016   Robo call. I've received calls from this number over the past 6 months offering savings over com ed.
                                                                                  269                                  possibly
                                                                                                                       liberty power
                                                                                  270 Y         Waterloo     IL        Liberty Power 224     2509923     04/22/2016
                                                                                      Y         Lake Bluff   IL        Liberty Power, 866    7693799     04/18/2016   Another alternative energy provider.
                                                                                                                       https://www.li
                                                                                                                       bertypowercor
                                                                                  271
                                                                                                                       p.com/contact
                                                                                                                       -us/
                                                                                  272 Y                      IL        Liberty Power                     04/14/2016
                                                                                      Y         LAKE IN      IL        Shopping      224     2509923     04/13/2016   Continue to ask to be removed from their calling list but they continue to call.
                                                                                  273           THE HILLS              Rewards /
                                                                                                                       Liberty Power
                                                                                  274 Y         Chicago      IL        Liberty Power 224     2509923     04/12/2016   I have told these people three times that this number is on the "do not call" list, but they keep calling.
                                                                                      Y         Chicago      IL        Liberty Power 224     2509923     04/01/2016   The automated recording stated that this is for ComEd customers and that I qualify for a 15% discount on my bill. When I pressed #1 to speak to a live representative, a very
                                                                                                                                                                      rude man with a very heavy Indian accent would not tell me what company this is. After a couple of minutes of back and forth arguing he finally said it is "Liberty Power."
                                                                                  275
                                                                                                                                                                      Liberty Power has called us repeatedly and we have repeatedly told them to stop calling, take us of their list, and that we are on the "do not call list" and will file a complaint.
                                                                                                                                                                      This does not to deter Liberty Power and they keep calling us.
                                                                                  276 Y         SWANSEA      IL        Liberty Power 224     2509923     03/31/2016
                                                                                  277 Y         Worcester    MA        Liberty power 508     5566692     03/29/2016   Person has called every day for a week. I told him to take me off the list first day. Still calling
                                                                                            A        B             C          D          E        F         G                                                                                                  H
                                                                                        Y       West          IL       Liberty Power 224     2509923   03/24/2016   Alexander was quite rude to me and ended up hanging up on me.
                                                                                  278
                                                                                                Dundee
                                                                    of 23 #: 92




                                                                                  279 Y         Gurnee        IL       Liberty Power 224     2509923   03/22/2016   Sales call trying to get me to change my electric service. Lots of noise in background like a call center.
                                                                                  280 Y                       CT       Liberty power 860     2158001   03/21/2016
                                                                                      Y         Easton        PA       Liberty Power 610     8654424   03/18/2016   I have told them I do not wish to sign up with them and told them to put me on their DO NOT CALL list. This is about changing my electric energy supplier. A man named Mark
                                                                                  281                                  Corp. LLC                                    Johnson (Said he was calling from Asia) threated to get me kicked off my PCAP Program because I refused him. They are using threating and harassing means to get you to
                                                             of 5916PageID




                                                                                                                                                                    sign with them.
                                                                                  282 Y         Chicago       IL       liberty power 224     2509923   03/15/2016
                                                                                  283 Y         Tinley Park   IL       Liberty Power 309     8320753   03/14/2016   When I blocked the number 3098320567, they started calling from this number. I have told them not to call many times.
                                                                                      Y         Tinley Park   IL       Liberty Power 309     8320567   03/14/2016   This company has been calling my elderly parents for about a year. I have instructed them not to call anymore on at least 3 separate occasions. They have tricked my mother
                                                                                                                                                                    into agreeing to use their services multiple times. My mother has memory problems and can not remember they are scammers. If possible, I would like to file charges
                                                                                  284
                                                                                                                                                                    because they have violated the do not call registry many times, even after being warned. Please contact me at (b)(6) if you need further information. I have power of attorney
                                                                                                                                                                    for my parents and handle all of their financial business.
                                                                                        Y       Niles         IL       Liberty Power 224     2509923   03/08/2016   The call started with a recorded message and then was forwarded to a live operator. I asked the operator for the street address of the company, but he only told me that the
                                                                                  285                                                                               company's URL is libertypower.com and that he was calling from northern Florida. The caller ID indicated that he was calling from Des Plaines, IL. He hung up on me before I
                                                     Page 52Page




                                                                                                                                                                    got a chance to tell him not to call me again.
                                                                                        Y       Sherman       CA       Liberty power 978     5896589   03/03/2016   They keep calling me every week from a different number, in Spanish. Don't know how they got my number. I keep asking then to stop. I already read it's a scam.
                                                                                  286
                                                                                                Oaks
                                                                                        Y                     IL       Liberty Power 224     2509923   03/03/2016   This company called me two days ago and again today. The automated message gives the impression that they are ComEd. "As a ComEd customer you may qualify for a
                                                                                  287                                                                               discount on your bill" - paraphrasing. Then when you switch over to a live representative, they say the company is called Liberty Power. I've again asked to be removed from
                                                                                                                                                                    their calling list and told them they shouldn't have called in the first place because this number is on the federal do not call list.
                                             Filed 07/16/18




                                                                                        Y                     IL       Liberty Power 224     2509923   03/01/2016   The recorded message said that I qualify for a discount on my People's Gas bill. When I asked for a live representative and asked him is this People's Gas, he replied that this
                                                                                  288
                                                                                                                                                                    is Liberty Power and hung up on me.
                                                                                        Y                     IL       Liberty Power 224     2509923   03/01/2016   The recorded message said that I qualify for a discount on my People's Gas bill. When I asked for a live representative and asked him is this People's Gas, he replied that this
                                                                                  289
                                                                                                                                                                    is Liberty Power and hung up on me.
                                                                                        Y                     MD       LIBERTY       877     2899925   03/01/2016
                                                                                  290
                                                                                                                       POWER
                                       34-108/30/18




                                                                                  291 Y         HOME          IL       Liberty Power 224     2509923   02/24/2016   lots of calls from energy companies wanting me to change to their service. please have them stop.
                                                                                      Y                       IL       Liberty power 224     2509923   02/22/2016   Call was from India stating that they were affiliated with com Ed and could save me money on my bill. Wanted account number for my com Ed account and when refused was
                                                                                  292                                  via comed                                    very angry and rude. I aske for mail information but was refused. Liberty power was who they said was calling it was clearly a call center and had many other callers heard in
                                                                                                                                                                    the background noise. Please do not let them call anyone anymore.
                                                                                  293 Y         Alsip        IL        Liberty Power 774     2080038   02/11/2016   These sales reps are very aggressive and do not listen at a simple no. One even claimed that I was already a customer of theirs.
                                                                                      Y         Sherman      CA        Liberty Power 305     3968428   02/06/2016   It's the second time in a week this company calls me and I've asked them not to do so.
                                                                                  294
                                                                                                Oaks
                                                                                        Y       Williamstown MA        Liberty Power 508     9276673   02/03/2016   Called around 1:55PM asking about my electric company and if I knew about lower rates to lock-in.
                                 1-5 Filed




                                                                                  295
                                                                                  296 Y         Shrewsbury MA          Liberty Power 508     9276673   02/02/2016   Receiving multiple calls from this company after asking them to stop. Appears on the caller ID as a fictitious number.
                                                                                  297 Y         Orland Park IL         Liberty Power 224     2509923   02/02/2016
                             Document




                                                                                      Y                     CT         Liberty Power 877     2899925   02/01/2016   This seems like it's not actually Liberty Power calling. An "out of area" number calls and someone with a heavy indian accent calls claiming they are Liberty Power, but Liberty
                                                                                  298
                                                                                                                                                                    has posted on their website that there is a scam claiming to be them. They call multiple times a day even though we have asked to be taken off their list.
                                                                                  299 Y                                Liberty Power   877   2899925   02/01/2016   Liberty Power called twice today. Both callers had Indian accents. The second call was at 4:06pm.
                                                                                  300 Y         Batavia       IL       Liberty Power   224   2509923   01/29/2016
                                                                                  301 Y                       MA       Liberty Power   877   2899925   01/28/2016
                        Document




                                                                                      Y         Hamburg       PA       liberty power   877   2899925   01/26/2016   I called them on 1/25/16 and asked them to stop calling me - this after at least 4 calls per day, every day. I told them to take my name off their list and they said they would.
                                                                                  302
                                                                                                                                                                    Then, on 1/26/16, I received another 2 calls before 1015am. Make them stop!
                                                                                        Y       Norwell       MA       Liberty Power, 617    6124449   01/26/2016   I have received 4 calls from this company over the past 6 months. Each time I have asked them if they have heard of the "Do not call list" and they have said they have. I said
                                                                                  303
                                                                                                                       FL                                           please delete my number from your call list. They said they would and hung up. Then a month later they call again.
                                                                                        Y                     MA       Liberty Power 877     2899925   01/25/2016
      Case 1:18-cv-10506-ADB




                                                                                  304                                                                               I answered, there was a pause, they asked to speak with person who handles electric bill I asked who was calling. He gave a first name I couldn't understand. He sounded like
                                                                                                                                                                    he was from India and that he was with Liberty Power. I've never heard of liberty power. Our town has their own electric company.
                                                                                        Y       Dayton        PA       Liberty power 877     2899925   01/20/2016   We have received numerous calls from Liberty Power. They are very persistent . Each time we have told them to not call us back to no avail. We redialed the number after
                                                                                  305                                                                               speaking to the representative and left a message telling them to remove our number from their call list. They continue to call. I would appreciate any help to get this company
                                                                                                                                                                    to stop calling us. Thank you. Sincerely
                                                                                        Y       Prairie View IL        LIBERTY         224   2509923   01/18/2016   SEVERAL CALLS AND REQUESTIED BEING REMOVED ALWAYS ASKING FOR INFORMATION THAT I WILL NOT PROVIDE
                                                                                  306
Case 1:18-mc-00203-JCN




                                                                                                                       POWER
                                                                                  307   Y       Orland Park IL         Liberty Power   224   2509923   01/07/2016   Tried to tell me I was eligible for all extra charges to be taken off my ComEd billing for next 24 months if I went with Liberty Power. Caller ID only indicated Des Planes, Il.
                                                                                  308   Y       Chicago     IL         Liberty Power   866   7693799   01/05/2016   Recorded message asked you to press # I did, spoke w/ someone possibly in India. Told him to remove from call list, that it was illegal. He said, "I understand."
                                                                                  309   Y                   MA         Liberty Power   815   7707145   12/30/2015
                                                                                  310   Y       Beltsville  MD         Liberty Power   410   8810504   12/30/2015   This person call daily harrasing me
                                                                                        Y                   IL         Liberty power   224   2509923   12/29/2015   Caller ID said Des Plaines, IL. Received a call from this number, got a recording that said if I made my ComEd payment on-time for the last 6 months I was eligible for a 15%
                                                                                  311
                                                                                                                                                                    discount.
                                                                                  312   Y       Chicago       IL       Liberty power   708   8984876   11/27/2015   This company has continued to call me and solicit my buisiness after repeated being told to stop.
                                                                                  313   Y       Aurora        IL       Liberty Power   708   8984876   11/19/2015   Asked if i spoke Spanish and hung up.
                                                                                  314   Y       Roscoe        IL       Liberty Power   312   9404286   11/11/2015
                                                                                  315   Y       Chelsea       MA       Liberty Power   857   3276921   11/05/2015   This company keeps calling over and over again.
                                                                                  316   Y       Homewood      IL       Liberty Power   312   9404286   11/05/2015
                                                                                  317   Y                     NY       liberty power   877   2899925   10/21/2015   they calling me almust evry day u may contact me @ (b)(6)
                                                                                        Y       Agawam        MA       Liberty Power   617   4090593   10/15/2015   Probably a year ago I said I would use their service. I had a number of days to change my mind and I did. When the paperwork arrived in the mail 3 days later, I did not fill it
                                                                                  318                                                                               out. I called and canceled the electrical power service. No paperwork was filled out and nothing sent. They have called me many times since and each time I tell them I don't
                                                                                                                                                                    want their service, stop calling and they hang up, but still continue to call.
                                                                                        Y       Chicago       IL       Liberty Power 312     9404340   10/12/2015   Was switched to a live representative, "Mark," who said he represented Liberty Power. He went through three bogus questions and told me I was eligible for a 15% discount
                                                                                  319
                                                                                                                                                                    on my electric supply for the next two years.
                                                                                        Y       RIO           NJ       Liberty Power 201     4145952   09/22/2015   This person called and said they can give us a better deal than Atlantic City Electric. I said to provide a quote and he told me he could not provide a quote. I told him that we
                                                                                  320           GRANDE                                                              have been on "Do Not Call Registry" since 2009 and he is breaking law. I do not know if the phone number which came up on our caller ID is the correct number for this
                                                                                                                                                                    company, since he refused to provide me with his callback number.
                                                                                            A         B            C           D              E        F          G                                                                                                   H
                                                                                        Y                     NJ       Liberty Power    609       7984003    09/14/2015
                                                                                                                       Energy
                                                                    of 23 #: 93




                                                                                  321                                  Supplier of
                                                                                                                       Egg Harbor,
                                                                                                                       NJ
                                                                                        Y                     NJ       Liberty Power    609       7984003    09/11/2015
                                                             of 5917PageID




                                                                                                                       Energy
                                                                                  322                                  Supplier of
                                                                                                                       Egg Harbor,
                                                                                                                       NJ
                                                                                        Y       Cherry Hill   NJ       Liberty Power    609       7984003    09/11/2015   Address of the company that called me: Address: 1901 W Cypress Creek Rd #600, Fort Lauderdale, FL 33309 Phone:(866) 769-3799
                                                                                  323
                                                                                                                       Corporation
                                                                                  324 Y         streamwood IL          Liberty Power    312       8095220    09/11/2015   They keep calling and hang up on me when I tell them I am on the do not call list. They try to make you think they are from ComEd.
                                                                                      Y         SOMERDAL NJ            LIBERTY          609       7984003    09/11/2015   AGAIN, THESE PEOPLE HAVE CALLED MY PHONE ASKING FOR SEVERAL DIFFERENT PEOPLE. I'VE TOLD THEM TIME AND AGAIN TO STOP CALLING.
                                                                                  325
                                                                                                E                      POWER
                                                     Page 53Page




                                                                                  326 Y         cherry hill NJ         liberty power    609       7984003    09/11/2015
                                                                                  327 Y                     NJ         Liberty Power    609       7984003    09/09/2015
                                                                                  328 Y         Garden City NY         Liberty Power    877       2899925    09/09/2015   This call was asking for confidential info about power bills. They should be blocked
                                                                                      Y                     IL         Liberty Power    815       3205002    09/04/2015   The phone call began with a robocall that claimed I can get a discount on my ComEd (electric utility)bill. When I spoke to a live representative, he didn't want to give me the
                                                                                  329                                                                                     name of his company at first. Finally he said it's Liberty Power in Chicago. He spoke with an Indian accent. I asked to be removed from their list and also that I'm on the
                                                                                                                                                                          "National Don Not Call Registry."
                                             Filed 07/16/18




                                                                                  330 Y         Sewell      NJ         Liberty Power 609          7984003    09/03/2015   Female caller claimed to be from Liberty Power, a green energy supplier, asking for the person responsible for the electric bill. Caller ID read "Egg Harbor C, NJ"
                                                                                      Y         South       CT         Liberty Power 754          2053123    09/02/2015   Company claimed to be unaware of Federal do-not-call restrictions.
                                                                                  331
                                                                                                Glastonbury
                                                                                  332 Y                     NJ         Liberty Power 888          5315596    08/31/2015   Sales rep Kayce von Dolteren called offering to switch me to Liberty Power as my electric power provider. I'm on the DNC list...are they allowed to do this? J
                                                                                      Y         Providence  RI         Liberty Power 877          4367162    08/18/2015   This company keeps calling from different numbers, sometimes it is a private number, sometimes not. The number given to me by the person who keeps calling is 877-436-
                                                                                  333                                                                                     7162 ext. 4567. They have called repeatedly even though I keep asking them to stop. They are trying to sell electricity and are very insistent about speaking to someone
                                       34-108/30/18




                                                                                                                                                                          about the rates. I speak to a live person every time, it is not a robocall. When I ask them to stop calling I get an "OK" but they call back the next week.
                                                                                        Y                     IL       LIBERTY                               08/13/2015   Change from Com Ed scam THEY HAD MY NAME AND ADDRESS!!!
                                                                                  334
                                                                                                                       POWER
                                                                                        Y       Jackson       NY       Liberty power    646       7796616    08/13/2015   Calling me everyday and bothering me.
                                                                                  335
                                                                                                Heights                supply
                                                                                  336 Y                       NJ       Liberty Power    973       8415074    08/13/2015   I have been receiving similar calls from many companies trying to sell me Electric supply. They all seem to have knowledge that I am an Atlantic City Electric customer.
                                                                                  337 Y                       NJ       Liberty Power    973       8415074    08/10/2015
                                                                                      Y         OXFORD        NJ       LIBERTY          973       8415074    08/07/2015
                                 1-5 Filed




                                                                                  338
                                                                                                                       POWER
                                                                                  339   Y                     IL       liberty Power    866       7693799    08/06/2015   Called about switching electric companies.
                                                                                  340   Y                     IL       Liberty Power    945       5987090    07/31/2015
                             Document




                                                                                  341   Y       Cos Cob       CT       liberty power    877       2899925    07/30/2015   Tried to call number back to speak tosomeone and was directed right into a recorded message and then placed on hold. Hung up after 40 minutes.
                                                                                  342   Y       Old Lyme      CT       Liberty Power    888       5315596    07/29/2015   The phone number CALLED was (b)(6). I would prefer to be reached at (b)(6)
                                                                                  343   Y                     NY       Liberty Power    877       2899925    07/28/2015   I have asked this company not to call several times, but they persist.
                                                                                        Y                     IL       Liberty Power    866       7693799    07/27/2015
                                                                                  344
                                                                                                                       Company
                        Document




                                                                                  345 Y         Rocky Hill  CT         Liberty Power    877       2899925    07/24/2015
                                                                                      Y         Takoma Park MD         Liberty Power    866       7693799    07/23/2015   Caller ID was blocked for the incoming call. Claimed to be a supplier for ComEd. Identified themselves as Liberty Power when I asked. I have done no business with this
                                                                                  346
                                                                                                                                                                          company.
                                                                                  347 Y                       CT       liberty power?   877       2899925    07/22/2015   They have been calling several times per week for several months.
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                                                                                  348 Y         nyc           NY       liberty power    347       5473524    07/18/2015
                                                                                  349 Y                       PA       Liberty Power    866       7693799    07/14/2015
                                                                                      Y                       CT       Liberty Power    860       3788930    07/13/2015
                                                                                                                       (callerID:
                                                                                  350
                                                                                                                       SOUTHINGT
                                                                                                                       ON CT)
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                                                                                        Y       Stafford      CT       liberty power    860       3788930    07/08/2015   Although I spoke to a live person, it was a few seconds after I said Hello before anyone responded. There was a slight "beep" prior to anyone talking. So it MAY have been a
                                                                                  351
                                                                                                Springs                                                                   robocall and then switched me to a real person when it heard the Hello.
                                                                                  352 Y         Newton        NJ       Liberty Power 609          2255262    07/07/2015   They call every week even though I keep telling them I am not interested.
                                                                                  353 Y         Flemington    NJ       Liberty Power 609          2255262    07/06/2015
                                                                                      Y         Plainfield    IL       Liberty power 312          3405562    07/02/2015   I continue to receive robo-calls, even after asking them to stop calling or to be removed from their calling lists.
                                                                                  354
                                                                                                                       -Illinois
                                                                                        Y                     CT       Liberty Power              8665423789 07/01/2015
                                                                                  355
                                                                                                                                                  7693799
                                                                                        Y       East Hartford CT       Liberty Power 860          3788930    06/30/2015
                                                                                  356
                                                                                        Y       New Britain   CT       Liberty Power, 860         3788930    06/25/2015   Company selling Electric Power. They call almost every day at approximately 2PM. They have repeatedly been asked to remove our numberit hasn't happened yet. An internet
                                                                                                                       Southington                                        search shows that number to be served by Level 3 Communications in CT. Maybe Level 3 Communications should be held liable for this bull!
                                                                                  357
                                                                                                                       CT
                                                                                        Y       Harwich       MA       Cambridge        857       3059424    06/24/2015   Can offer me low utility rates based on new law passed, sure wish the law included that these companies MUST honor do not call registry, as they said I must register with
                                                                                                                       aka Liberty                                        THEM to be on a do not call list. So again the 4 th call today to decrease my utility bill, sure wish u didn't pass the law as it would pay anything to stop these daily calls!! I
                                                                                  358
                                                                                                                       Power                                              calledthe office at 727-940-8624, which is just a voicemail "Hello, Please leave a message". yea, like I'm going to request they call me, duh! Ps that Florida # is Utility Discount
                                                                                                                                                                          Group, Palm Harbor, Fl 38543
                                                                                  359 Y         New Britain CT         Liberty Power                         06/23/2015
                                                                                  360 Y                      IL        Liberty Power 312          3405561    06/17/2015
                                                                                  361 Y         Wethersfield CT        Liberty Power 866          7693799    06/18/2015   Liberty Power claims to maintain their own Do Not Call List however they obviously do adhere to the requirements of the National list.
                                                                                      Y                      NJ        Liberty Power 866          7693799    06/16/2015   This is a supplier for electricty I have asked many, many times to stop calling me that was my contract is up I will be using a different supplier but they keep insisting to try to
                                                                                  362
                                                                                                                                                                          get me to stay on as their supplier.Now I switch over to another supplier and this company still is calling me I hung up on them. I hope you can do something Thank you
                                                                                            A         B            C          D          E        F         G                                                                                                 H
                                                                                  363 Y         Palatine      IL       Liberty Power 312     3405561   06/16/2015
                                                                                      Y                       MA       Liberty Power 866     7693799   06/15/2015   I am an elderly woman and this company is preying on me. They tell me (even though I have not signed any paperwork) that my voice recording binds me into a contract with
                                                                    of 23 #: 94




                                                                                  364
                                                                                                                                                                    them. They are forcing me to use them for my 2nd party power supplier. I want them to leave me alone!!!!!
                                                                                        Y                     IL       Liberty Power   312   3405561   06/11/2015
                                                                                  365                                  (Ft.
                                                                                                                       Lauderdale)
                                                             of 5918PageID




                                                                                  366 Y         New York NY            Liberty Power   315   2903147   06/05/2015   They offered to switch my electricity provider
                                                                                  367 Y                  MA            Liberty Power   978   6311021   06/04/2015
                                                                                      Y         PLYMOUTH MA            Liberty Power   508   9306907   06/04/2015   Called again and again. Finally answered them and a woman started to tell me about Liberty Power and how I can save money on electric bill. Been there. done that. GEt them
                                                                                  368
                                                                                                                                                                    to stop.
                                                                                  369 Y                       IL       Liberty power                   06/01/2015   electric rate scam
                                                                                      Y         Crestwood     IL       members       312     3405562   05/31/2015
                                                                                  370                                  services
                                                                                                                       Liberty Power
                                                                                  371 Y         Westwood      MA       Liberty Power 617     5539619   05/22/2015
                                                     Page 54Page




                                                                                      Y         stafford      CT       liberty power 718     2853924   05/14/2015   The call ID only says New York. I have received multiple phone calls from Liberty Power about reducing my electric bill and every time I have asked them to remove my name
                                                                                  372
                                                                                                                                                                    from the call list. They keep calling from different numbers.
                                                                                        Y       Waltham       MA       Liberty power                   05/14/2015   Upon receiving this call, I asked "who is calling, please?" When the male voice at the other end identified Liberty Power, I informed him that this phone number was on the Do
                                                                                  373                                                                               Not Call registry, that I had never done business with his company, that they had no right to violate the Do Not Call stipulations, and that I would be immediately filing a
                                                                                                                                                                    complaint on my computer.
                                                                                  374 Y
                                             Filed 07/16/18




                                                                                                Watertown     MA       Liberty Power   866   7693799   05/13/2015   Liberty Power called twice each time said not Interested hope they get message. I have Ever source for Electric
                                                                                      Y         Marshfield    MA       Engel Liberty   508   5566756   05/08/2015
                                                                                  375
                                                                                                                       Power
                                                                                  376 Y         mattapoisett MA        liberty power   508   5566756   05/01/2015   i tried calling this number back and it is "not in service." when i asked them to take us off of the list, they hung up on me.
                                                                                      Y         Plymouth     MA        Liberty Power   708   5294723   04/29/2015   Liberty Power has called me several times. I have asked nicely (3 times) to remove me from their list. That is not happened nor do I expect it will. PLEASE help me! I am
                                                                                  377
                                                                                                                                                                    happy to answer any questions you have.
                                                                                  378   Y       Worcester     MA       Liberty Power   888   5315596   04/28/2015   Asked them to stop calling. They are very rude and continue to call.
                                       34-108/30/18




                                                                                  379   Y       Barnstable    MA       Liberty Power   708   5294723   04/24/2015   I am a staunch DO NOT CALL member. I want accountability.
                                                                                  380   Y       Springfield   MA       Liberty Power                   04/24/2015   I have asked them to remove my telephone number and not call me again. They just hang up the telephone without a word and the calls continue.
                                                                                  381   Y       stafford      CT       liberty power   876   2899925   04/24/2015   Call ID says 800 service. Asked caller to remove my name and number from their list but he persisted to try and keep me on the line.
                                                                                        Y       Cambridge     MA       Liberty Power   708   5294723   04/20/2015   I received an automated call saying that I might be eligible for lower electric rates and was told to press 5 to speak to a customer service representative. The automated
                                                                                  382                                                                               message did not identify the company. When I reached a person, I asked the name of the company, which he gave, and the phone number at that point he hung up on me. I
                                                                                                                                                                    found the number by dialing *69.
                                                                                  383   Y       Mashpee       MA       Liberty Power   508   8863410   04/10/2015   The minute I mentioned the "do not call" list they hung up
                                 1-5 Filed




                                                                                  384   Y       Florence      MA       Liberty Power   314   3229999   04/07/2015   A man named something like Gerard said he could lower our electric rates for a certain period of time.
                                                                                  385   Y       New Milford   CT       Liberty Power                   04/07/2015
                                                                                  386   Y       New Milford   CT       Liberty Power                   04/07/2015
                             Document




                                                                                        Y       weymouth      MA       Liberty Power   866   7693799   04/07/2015   these companies call to try to solicit changes in power. someone took the call and said yes but they said we can cancel with in 3 days. called them back the next day to say we
                                                                                                                       of 1901 w.                                   dont want any part of them and to tell them we are on the do not call list and they shouldn't be calling,. a guy in phillipines said Id have to call back in 2 or 3 days.
                                                                                                                       Cypresscre
                                                                                  387
                                                                                                                       Fort
                                                                                                                       Lauderdale,
                                                                                                                       Florida
                        Document




                                                                                  388 Y                     MA         Liberty Power   888   5315596   04/01/2015
                                                                                  389 Y         Oakdale     CT         Liberty Power   877   2899925   04/02/2015   They also called on 04/01/2015 at 1007 (am) and again on 04/02/2015 at 0958(am).
                                                                                      Y         West        CT         Liberty Power   877   4367162   04/02/2015   Person ID self as Roger DeSusa [sp] from "Liberty Power" called to have the office change electrical service suppliers. Call back 877-456-7162 ext 4561. This was a cold
                                                                                  390
                                                                                                Hartford                                                            marketing call since we have record of doing business with this entity.
      Case 1:18-cv-10506-ADB




                                                                                  391   Y       Syracuse    NY         Liberty Power   877   2899925   03/31/2015
                                                                                  392   Y                   MD         Liberty Power   877   2899925   03/31/2015
                                                                                  393   Y                   MD         Liberty Power   877   2899925   03/31/2015
                                                                                  394   Y       Ridgefield  CT         Liberty Power   203   5380930   03/26/2015
                                                                                  395   Y       longmeadow MA          Liberty Power   617   5539619   03/25/2015   Told them they were being reported...they claimed multiple locations....i said go by do not call and it should not matter
                                                                                  396   Y       Springfield MA         Liberty Power   978   6310289   03/12/2015   They claimed to be calling from a power company about my electric bill, but my electric is included into my rent, so I don't have a bill.
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                                                                                  397   Y       Medway      MA         Liberty Power   617   2063357   03/10/2015
                                                                                  398   Y       Medway      MA         Liberty Power   866   7693799   03/10/2015
                                                                                  399   Y                   MA         Liberty Power                   03/11/2015
                                                                                        Y       North       CT         Liberty Power   877   2899925   03/06/2015   Live person requested to speak with the person involved with paying electrical bills. I said I wasn't interested and requested to be removed from their list.
                                                                                  400
                                                                                                Stonington
                                                                                  401 Y         Canton      MA         Liberty Power 617     2063357   03/05/2015
                                                                                      Y         Gold Canyon AZ         Liberty Power 860     7916711   03/05/2015   Person hung up on me before I could tell him this number is on the federal do not cll list.
                                                                                  402
                                                                                  403 Y         Medfield      MA       Liberty Power   617   2063357   03/05/2015   Caller identified himself as Saveid Rapp. He said he called from "Liberty Power". He said his callback number is 888-531-5596.
                                                                                      Y                       CT       Liberty Power   860   7916711   02/27/2015
                                                                                                                        (callerID:
                                                                                  404
                                                                                                                       MEMBER
                                                                                                                       SERVICES)
                                                                                  405 Y                       MA       Liberty Power   888   7242966   02/27/2015
                                                                                      Y         Niantic       CT       Liberty Power   866   7693799   02/24/2015   I do not know the number they called from. But I verified the identity of the company to my satisfaction. They are competing for CL&P customers. They are based out of Ft.
                                                                                  406
                                                                                                                                                                    Lauderdale.
                                                                                  407   Y                     CT       Liberty Power   661   4340655   02/23/2015   Saying they were calling all Connecticut Light and Power customers to offer a better deal. Caller ID had LAMKTG but caller identified the company as Liberty Power.
                                                                                  408   Y       New Britain   CT       Liberty Power   860   7916711   02/21/2015
                                                                                  409   Y       Stonington    CT       Liberty Power   877   2899925   02/18/2015
                                                                                  410   Y       Stonington    CT       Liberty Power   877   2899925   02/17/2015
                                                                                  411   Y       Wilton        CT       Liberty power   877   2899925   02/17/2015   They wanted us to change electric suppliers. I told them we were on the do not call list. We both hung up.
                                                                                            A        B             C          D          E        F          G                                                                                                    H
                                                                                        Y       Stamford      CT       Liberty Power 877     2899925    02/13/2015   I have REPEATEDLY told them to stop calling. They call multiple times per day, after I tell them not to call I am assured at least one or more call back/hangups from them. My
                                                                                  412
                                                                                                                                                                     number is on the do not call list. They are clearly not referring to that list and are abusive in nature.
                                                                    of 23 #: 95




                                                                                        Y       West          CT       Liberty Power         1166143406 02/12/2015   This was a spamed number but it was definitely identified as Liberty Power. She played dumb when I said I am on the do not call list. She said there is no reason to report
                                                                                  413
                                                                                                Hartford                                     55                      them.
                                                                                  414 Y         Wallingford   CT       Liberty Power 203     5380930    02/11/2015   Caller ID showed up as "Quality Care" Person on the phone said his name was Sean and that he worked for Liberty Power
                                                                                      Y         Westport      CT       Liberty Power 203     5380930    02/10/2015   PLEASE STOP THESE CALLS!!!! This is the 100th time I have reported them.
                                                             of 5919PageID




                                                                                  415                                  in Fort
                                                                                                                       Lauderdale
                                                                                        Y       Thomaston     CT       Liberty Power 877     2899925    02/06/2015   I have received several calls recently from this company, Liberty Power.Most recent is today at 10:45am. My telephone numbers are on the Do Not Call List for several years.
                                                                                  416
                                                                                                                                                                     This company is a scam and I do not want to receive calls from them.
                                                                                  417   Y       Danielson    CT        Liberty Power   866   7693799    02/03/2015   Liberty Power has called almost every day for the last 3 weeks ask for me to change power company and I have ask them to stop calling and they will not
                                                                                  418   Y       Killingworth CT        liberty power                    02/02/2015
                                                                                  419   Y       Salem        CT        Liberty Power   877   2899925    02/02/2015   This 800 Service phone number will not stop calling my home number. I have told them to stop calling and yet they continue to do so at all hours of the day.
                                                                                  420   Y                    NJ        Liberty Power   201   2348516    01/29/2015
                                                                                  421   Y                    DC        Liberty Power   877   2899925    01/28/2015
                                                     Page 55Page




                                                                                  422   Y                    CT        Liberty Power   661   4340655    01/28/2015
                                                                                        Y       New Haven CT           Liberty Power   860   7267903    01/27/2015   This is some power company with its main office in Florida and an office in Connecticut. They speak poor Englisk. They are rude and I have asked repeatedly that they do not
                                                                                  423
                                                                                                                                                                     call me. You may audit my cell phone for verification.
                                                                                        Y       Williamstown NJ        Liberty Power 201     2348516    01/23/2015
                                                                                  424
                                             Filed 07/16/18




                                                                                        Y       Merrick       NY       Liberty Power 877     4367162    01/26/2015
                                                                                  425                                  of Ft.
                                                                                                                       Lauderdale
                                                                                        Y       plymouth    PA         Liberty Power 210     7645008    01/23/2015   first call was this afternoon. I told them i was on the do not call list, and that I would be reporting it.
                                                                                  426
                                                                                                meeting
                                                                                  427 Y         New Milford CT         Liberty Power 860     7267903    01/20/2015   Liberty Powers has been calling between one and three times per day for the last few weeks. Enough is enough!
                                                                                      Y         Pottstown   PA         Liberty Power 877     7266421    01/16/2015   Have been receiving calls all week. Some have identified themselves as 800 service. This is the first one where I got a legitimate call back number (I think) and the name of a
                                       34-108/30/18




                                                                                  428
                                                                                                                                                                     company.
                                                                                        Y       Grafton       MA       Liberty Power                    01/16/2015   Time: Fri, 16 Jan 2015 14:12 Company: Liberty Power Presumably this is: Liberty Power Corp., LLC Phone: (866) 769-3799 Caller: Human male I hung up. No
                                                                                  429
                                                                                                                                                                     transaction was begun or completed.
                                                                                        Y       Bridgeport    CT       Liberty Power 860     7267903    01/16/2015   This company calls me almost every day offering me service for electricity, I have told them on several occasions not to call me, and to put me on their do not call list, but they
                                                                                  430
                                                                                                                                                                     still call anyways, this has been going on for over 3 weeks now.
                                                                                        Y       Danbury       CT       Liberty Power 860     7267903    01/13/2015   They only speak Spanish and hang up on you when you cannot speak Spanish back to them. Sounds like a "boiler room" operation. I called back and asked for a supervisor.
                                                                                  431
                                                                                                                                                                     I spoke to "Mariella Flores" and told her not to call again. We shall see if that works. This company calls nearly every week.
                                                                                        Y       AMHERST       MA       Liberty Power 413     6253379    01/07/2015   My phone number that received this call has the ringer shut off. If you need to contact me by phone, that can be done on my cellphone at (b)(6). By email at (b)(6). You may
                                 1-5 Filed




                                                                                  432
                                                                                                                                                                     have some aol email addresses on file but they are no longer being used.                  thank you              jf
                                                                                        Y       WHITE         MD       Liberty Power 443     6200380    01/02/2015   Robo-call then talked to a person to get the name of the company. Callid ID said Service Care but the person said Liberty Power.
                                                                                  433
                                                                                                HALL
                             Document




                                                                                  434   Y       Agawam        MA       Liberty Power                    01/02/2015
                                                                                  435   Y       Agawam        MA       Liberty Power                    12/31/2014   computer dialed, when I say hello I am connected to a call center-they ask for the person responsible for the electric bill.
                                                                                  436   Y       Shelton       CT       Liberty Power 203     2785038    12/19/2014
                                                                                  437   Y       Cambridge     MA       Liberty Power 866     7693799    12/18/2014   I have received repeated calls.
                                                                                        Y       Revere        MA       Liberty Power 866     7693799    12/17/2014   I received a call with a Caller ID of LA MKtg and phone # 1-661-434-0655 claiming to be representing Liberty Power when I told them we are on the DNC list they said they
                        Document




                                                                                                                                                                     would put me on their DNC list. I said I didn't want the first phone call and they hung up. When I called Liberty Power to ask them if they made sure none of their or their
                                                                                  438                                                                                marketing companies out going calls violated the DNC list they wouldn't give me a clear answer. And then they put me on hold and then hung up. This is teh second alternative
                                                                                                                                                                     power company that called in the last two weeks violating the DNC list. I can't tell if the comapnies are violating the list or if scammers are using the power companies as a way
                                                                                                                                                                     to scam us. But we would like to see the FTC step up and track down these companies. Thank you.
      Case 1:18-cv-10506-ADB




                                                                                  439   Y                   CT         Liberty Power   860   3195320    12/16/2014   "May I speak to the person that pays the electric bills?"
                                                                                  440   Y       Summit      NJ         Liberty Power   877   4367162    12/11/2014
                                                                                  441   Y       Waterbury   CT         Liberty Power   860   3195320    12/09/2014
                                                                                  442   Y                   MD         Liberty Power   855   4193586    12/05/2014   Asked week and a half ago to stop calling us.
                                                                                        Y       Takoma Park MD         Liberty Power   443   6200380    12/03/2014   Cold call. They tried to trick me into believing they were with my utility company but I knew to ask them which company they were with and why were they calling me. I also
                                                                                  443
                                                                                                                                                                     informed them that I was on the DNCR and to remove me.
Case 1:18-mc-00203-JCN




                                                                                        Y       North         MA       Liberty Power 978     8671241    12/02/2014   This company has called a number of times. I don't answer. I would like them to stop calling!
                                                                                  444
                                                                                                Billerica              Corp
                                                                                        Y       Columbia      MD       Liberty Power                    11/26/2014   Received an automated call about lowering my electric bill. Curious as to the company, I pressed 5 to speak with someone. Eventually, a non-native English speaking woman
                                                                                                                       Corp                                          came on the line wanting to sell me lower rates. But, I interrupted her and asked the name and address of the company she represented. She said Liberty Power Corp., 1901
                                                                                  445                                                                                West Cypress Creek Road, Ft. Lauderdale, FL. I then told her that my number was on the Do Not Call list and, as I had no previous business dealings with her company, they
                                                                                                                                                                     were violating FTC regulations by calling me. I also asked her to put me on their do not call list. Later, I found the Liberty Power website and it listed a contact number of 1–
                                                                                                                                                                     866–769–3799.
                                                                                        Y       Columbia      MD       Liberty Power                    11/26/2014   Received an automated call about lowering my electric bill. Curious as to the company, I pressed 5 to speak with someone. Eventually, a non-native English speaking woman
                                                                                                                       Corp                                          came on the line wanting to sell me lower rates. But, I interrupted her and asked the name and address of the company she represented. She said Liberty Power Corp., 1901
                                                                                  446                                                                                West Cypress Creek Road, Ft. Lauderdale, FL. I then told her that my number was on the Do Not Call list and, as I had no previous business dealings with her company, they
                                                                                                                                                                     were violating FTC regulations by calling me. I also asked her to put me on their do not call list. Later, I found the Liberty Power website and it listed a contact number of 1–
                                                                                                                                                                     866–769–3799.
                                                                                  447 Y         Glenelg       MD       Liberty Power   866   7693799    11/24/2014   We are on DO NOT CALL REGISTRY. Liberty called my house, spoke to an elderly member, then began their process to change our electric account from BGE to Liberty.
                                                                                  448 Y         Hermitage     PA       Liberty Power   857   4440140    11/18/2014   Caller said she was from Liberty Power, a green power supplier, and was calling all Pa residents. I have no established business relationship with this company
                                                                                  449 Y         Crownsville   MD       Liberty Power   855   4193586    11/13/2014
                                                                                      Y                       MA       Liberty Power   857   4440140    11/12/2014   I received a call from Liberty Power today. They were acting as if they were my present electric company and wanted me to verify personal information in order to lock in a new
                                                                                  450
                                                                                                                                                                     lower rate. When I asked what their company's name was, I realized this was not my electric company. I told them I was on the do not call list and they hung up on me.
                                                                                  451 Y                       MA       Liberty Power 857     4440140    11/07/2014
                                                                                      Y         Dartmouth     MA       Liberty Power 857     4440140    10/31/2014   This was the 3rd call I have gotten in the last week. I told the 1st caller to send me the info in mail, he became argumentative and hung up. I told 2nd caller the same thing and
                                                                                  452                                                                                I was not interested w/o written info and told him to take me off call list. 3rd caller today was told the same thing. Was very condescending. Kept pursuing despite my telling him
                                                                                                                                                                     not interested. I am also wondering how this company would get my phone number if I was on the FTC's Do Not Call list. PLEASE ADVISE
                                                                                            A         B           C          D          E        F          G                                                                                                    H
                                                                                        Y       Baltimore    MD       Liberty Power 443     6200380    10/29/2014   The robocall was inviting BGE customers to "lower energy costs". They invited to press 5 to speak to someone, and I did, waited a couple of minutes on hold and spoke to an
                                                                                  453                                                                               "Energy consultant" named Claire. She offered to put me on *their* D.N.C. list, and I had her do that. I asked her if they respect the national do not call list, and she said that
                                                                    of 23 #: 96




                                                                                                                                                                    they do not use that. She did not seem to know about it.
                                                                                        Y       Pittsburgh   PA       Liberty Power 877     4367164    10/29/2014   I have asked them repeatedly to stop calling. We have no use for their services and we have never done business with them. If I tell them no or disconnect the call, they keep
                                                                                  454
                                                                                                                                                                    calling back and harassing the office. I have also emailed the company and not received anything back.
                                                                                        Y       Pittsburgh   PA       Liberty Power 877     4367164    10/28/2014   The call every day. They have been notified not to call us and that we are on this list, but it has not relieved the calls as of yet. Once they called back repeatedly in one day
                                                                                  455
                                                             of 5920PageID




                                                                                                                                                                    because we said we weren't interested and disconnected the call before they could object. They are trying to sell "lower rates" on your energy supplier.
                                                                                        Y       Beverly      MA       Liberty Power 857     4440140    10/23/2014   They called asked to speak with "the person that handles the National Grud bills" and I asked who they were "Liberty Power, a green energy company" was the answer. I
                                                                                  456                                                                               informed them that I am on the DNCR and they said they would remove me. I've been hearing reports of scams in town from supposed power companies with unsolicited
                                                                                                                                                                    calls.
                                                                                        Y       Westford     MA       Liberty Power 857     4440140    10/22/2014   After a delay when I answered the phone, a man came on the line, said he was with "Liberty Power" and started talking about energy prices. I interrupted and asked if he
                                                                                                                      (listed as MA                                 bothered to check the National Do Not Call Registry to see that I am on the Do Not Call list, but he just said I am "not on his computer list", which he had in front of him. That
                                                                                  457
                                                                                                                      Energy on                                     sounded like a Do Not Call List for his business, but I said his company needs to pay attention to who's on the National Do Not Call Registry list, too.He agreed to put me on
                                                                                                                      Call Log)                                     HIS list, but I said his company is supposed to check the National list, too - he just said he was "doing his job".
                                                                                  458 Y                      MA       Liberty Power 978     8671241    10/15/2014   This company keeps calling with rude and persistent agents trying to switch customers from National Grid
                                                     Page 56Page




                                                                                      Y         Baltimore    MD       Liberty Power 973     2737827    10/10/2014   Representative "Adam Jones" refused to provide manager or corporate address, said they are from Dallas Texas. Violation of Do Not Call List. calling the number shown on
                                                                                  459
                                                                                                                                                                    caller ID allows only "press 1 to be put on our do not call list" but this company is violating the Federal Do Not Call List by even calling my number.
                                                                                  460 Y                      MA       liberty power   888   5315596    10/07/2014
                                                                                      Y                      IL       Liberty Power   773   3404486    09/30/2014   Eric wanted to argue that this was not a sales call!!
                                                                                                                      Supply /
                                                                                  461
                                                                                                                      Chicagozn08
                                             Filed 07/16/18




                                                                                                                      IL
                                                                                  462 Y         Natick       MA       Liberty Power   978   5284968    09/29/2014
                                                                                      Y         Auburn       MA       Liberty Power   508   9347387    09/15/2014   This is their website: http://www.libertypowercorp.com/
                                                                                  463
                                                                                                                      Corp
                                                                                        N       Brooklyn     NY       Liberty Power   518   3096550    09/08/2014   I have been receiving "robo-calls" with no messages from this company from 2 different numbers for the past 2 months, here are the latest: 1) 518.309.6550 on 9/8 @ 8:12pm,
                                                                                  464                                                                               2:47pm & 2) 443.487.4118 on 8/30 @ 2:44pm, 10:30am 8/29 @ 1:35pm 8/28 1:38pm On 8/30 spoke to supervisor Rolando Santana (443.487.4118) who promised me my #
                                                                                                                                                                    would be removed from his list, then they started calling from another # and I spoke to supervisor Fausto Duran (518.309.6550) who said the same thing.
                                       34-108/30/18




                                                                                  465 Y         glastonbury CT        liberty power 877     4367162    08/25/2014   please follow through on this. the do not call list is not well respected by telemarketers.
                                                                                  466 Y         Worcester   MA        Liberty Power                    08/20/2014   They wanted to talk to the person who pays the electric bill. I assume they wanted us to switch to their electric service. I did not talk to them about it.
                                                                                      Y         Springfield MA        Liberty Power 413     6505015    08/15/2014   I was called at 12:09 PM on Aug. 14, 2014 by Mr. Charrez. I answered the phone to tell them that I am on the do not call list. He said that my power company authorized him to
                                                                                                                                                                    call me because I had to pick a power supplier to protect my rate. I had the feeling that this was a mandate from the government or my power company (WMECO) and he
                                                                                                                                                                    implied that this was in conjunction with WMECO wishes.He Knew my bill format and lead me all over the bill to look at various items. Then he told me that my current rate is
                                                                                  467
                                                                                                                                                                    0.13844 and that he can keep me at this rate for 48 months. He seemed irritated that I was skeptical and reluctant to take advantage of this program. then he said if I cancel
                                                                                                                                                                    this program it would cost me $10.00 a month. I told him I was not interested and do not sign me up. I want no part in anything I have to pay to get out of. He was abrupt and
                                 1-5 Filed




                                                                                                                                                                    said he would not submit the application. His name is David Charrez 888-531-5596 from Liberty Power. This is why I want the do not call.
                                                                                        Y       Lee          MA       Liberty Power 413     3586751    08/01/2014   Caller refused to give his name. Claimed he was our power provider, but we don't do business with Liberty Power, we use WMECO. He didn't know the name of the person he
                                                                                  468
                                                                                                                                                                    was looking for.
                             Document




                                                                                  469 Y         Worthington MA        Liberty Power 413     2402029    07/25/2014
                                                                                  470 Y         Agawam      MA        Liberty Power                    07/22/2014
                                                                                      Y         Lancaster   NY        Liberty Power         6073054310 07/16/2014   Again, my number is on this registry yet I continue to get unsolicited phone calls
                                                                                  471
                                                                                                                                            3
                                                                                  472 Y         Corning      NY       Liberty Power                    07/08/2014
                                                                                  473 Y                      NY       Liberty Power 607     3043103    07/02/2014
                        Document




                                                                                      Y         Yakima       WA       "Liberty                         06/28/2014   We have never heard of this supposed power company - it is not one we have ever used. Looking it up online, "Liberty Power Company" appears to be a power company on
                                                                                  474                                 Power                                         the east coast (including Washington DC) - we live in Washington STATE. We suspect the caller took a wild guess that we lived in DC. Caller told us to "use more power
                                                                                                                      Company"                                      because our rate is going down." By the sound of the caller, it was the same "technical support" people that called 5 minutes ago.
                                                                                  475 Y         Oneonta      NY       Liberty Power 585     9783772    06/23/2014
      Case 1:18-cv-10506-ADB




                                                                                      Y         Greene       NY       Liberty Power 866     7693799    06/11/2014   The name of the person that called was "David Silva". He promised a kw hour rate freeze. He said that the call was being recorded. He refused to provide a contact
                                                                                  476
                                                                                                                                                                    telephone number.
                                                                                  477 Y         owego        NY       Liberty Power 585     4712849    06/10/2014   i told rude liberty power rep who kept interrupting me that i was on a do not call registery. she they were given phone#s that they call every day and she hung up on me.
                                                                                      Y         palisades    NY       liberty power 877     2899925    06/06/2014   i have reported this number and company NUMEROUS times on your site and i see it does no good. this number from liberty power has called me at least 20 times and refuse
                                                                                  478
                                                                                                                                                                    to stop. eventhough i have complained on the dnc.gov site numerous times as well.
                                                                                        Y       Columbia     MD       Liberty Power 877     2899925    06/04/2014   I was unable to ask to be put on the Do Not Call list. I tried. I DID FOLLOW the directions on their website but was UNABLE to reach ANYONE who could put us on Do Not
Case 1:18-mc-00203-JCN




                                                                                                                      Corp                                          Call. Their Directions are as follows: "We respect your right to privacy. To be placed on the Liberty Power Do Not Call list, please call us at 866-POWER-99 (866-769-3799)
                                                                                  479                                                                               and we will fulfill your request. If you prefer, send an e-mail to info@libertypowercorp.com with Do Not Call in the subject line and include your name, name of business (if
                                                                                                                                                                    commercial service customer), as well as all applicable account numbers and phone numbers in the body of the message. We will process your request within 48 hours."
                                                                                                                                                                    There is no way to get to anyone with our Do-Not-Call request at this number.
                                                                                  480 Y                      NY       Liberty Power 585     4712849    06/03/2014
                                                                                  481 Y         petersburg   NJ       liberty power 732     7846633    05/27/2014
                                                                                      Y         Rensselaer   NY       Liberty Power 397     3177591    05/24/2014   This call came in at 4:42 PM on Friday May 23,2014. The person identified himself as Jack. I asked him his phone number and he gave a different number than my caller ID -
                                                                                  482
                                                                                                                                                                    800-642-7591. I told him I was on the DO NOT Call registry and to not call me anymore. This same company has called before and I told not to call anymore.
                                                                                        Y       Chatham      NJ       Liberty Power                    05/15/2014   As soon as I asked where they got our number and said we were on the Do Not Call Registry the caller cut me off without giving me the opportunity to ask them not to call again.
                                                                                  483
                                                                                  484   Y       Brick        NJ       Liberty Power   732   4918208    05/13/2014
                                                                                  485   Y       Brick        NJ       Liberty Power   732   4918208    05/12/2014
                                                                                  486   Y       brick        NJ       liberty power   732   4918208    05/12/2014
                                                                                  487   Y       Lakewood     NJ       Liberty Power   732   4918209    05/09/2014
                                                                                  488   Y       Lakewood     NJ       Liberty Power   732   4918209    05/09/2014
                                                                                        Y       New          NJ       Liberty Power   860   5166030    05/06/2014   This call was the third in a 2 week span. They had been told very explicitely not to call again.
                                                                                  489
                                                                                                Brunswick
                                                                                  490 Y         Atlanta      GA       Liberty Power 877     2899925    05/05/2014
                                                                                      Y         Bayville     NJ       Liberty Power 888     5315591    05/01/2014   The man told me I don't understand the DO NOT CALL rules and was very rude. He didn't like me questioning him as to how he called me. He said he just has the computer
                                                                                  491                                                                               connect him he doesn't dial . I get calls at least every few days about switching my electric service. At times its a recorded message.Most of them hang up when I ask the
                                                                                                                                                                    company name.
                                                                                  492 Y         smithville   NJ       liberty power 609     5037003    04/28/2014   please have these people stop calling me.
                                                                                            A        B               C          D          E        F         G                                                                                                   H
                                                                                        Y       Monroeville     NJ       Liberty Power 609     5037003   04/27/2014   The person called and asked if I was the person responsible for paying the utility bills in the household. I asked who they were and why were they were calling. The person (a
                                                                                  493                                                                                 female) replied that they represent Liberty Power. I told her that I'm on the do not call list and they shouldn't be calling me. She said that she knows that I'm on the do not call
                                                                    of 23 #: 97




                                                                                                                                                                      list and apologized but thought I might be interested anyway. When I informed her that I was going to file a complaint she hung up. This is a clear violation.
                                                                                        Y       Westport,       CT       liberty power 860     5166030   04/24/2014   I have been called repeatedly during the day and at night by this number/company. Most times I do not answer the phone but 3 times I have answered and asked to be taken
                                                                                                                         company -                                    off the list. I asked for the caller today - Paul Sheldon and asked to speak to the manager. I was told the manager was not available and the person hung up. I tried to call the
                                                                                  494                                    bristol, CT                                  company and was put on hold for over 5 minutes - after which time I hung up. The Liberty Power website for NY says there are phone problems and ask for caller information
                                                             of 5921PageID




                                                                                                                                                                      to be completed in the website. I have a website for my phone service that will show each time a call came in and time and number of the call if that is needed. These calls
                                                                                                                                                                      are very disruptive and intrusive. Help me stop this aggravation.
                                                                                        Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
                                                                                  495
                                                                                                                                                                      customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
                                                                                        Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
                                                                                  496
                                                                                                                                                                      customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
                                                                                        Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
                                                                                  497
                                                                                                                                                                      customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
                                                                                        Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
                                                                                  498
                                                     Page 57Page




                                                                                                                                                                      customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
                                                                                        Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
                                                                                  499
                                                                                                                                                                      customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
                                                                                        Y       Chestertown MD           liberty power 410     4065034   04/11/2014   received call at approximately 423 pm. Asked to be taken off call list - Too late - they had already call - should have never call - ie. DO NOT CALL list.......Please do what
                                                                                  500
                                                                                                                                                                      you can to stop ALL unsolicited calls.
                                                                                  501 Y                      MD          Liberty Power                   04/09/2014   These people have been auto dialing me for several weeks
                                             Filed 07/16/18




                                                                                  502 Y         Owings Mills MD          Liberty Power 888     5315596   04/04/2014
                                                                                      Y         Rye          NY          Liberty power 760     5140144   04/04/2014   I asked them to stop calling as the number was on the do not call list and was told the number was not on the list. I asked to speak to a supervisor and was told the same
                                                                                  503
                                                                                                                                                                      thing. advised that I was filing a complaint
                                                                                  504 Y                    NJ            liberty power 240     4373606   04/02/2014   I never ask for this services the calling person name is Noel Rodriguez
                                                                                      Y         Washington DC            Liberty Power 866     7693799   04/02/2014   Telemarketer called asking for our current electric company provider and stating that we needed to renew with his company immediately to avoid service interruption. He said
                                                                                  505                                    Corp.                                        the call was being recorded at the beginning of the conversation, making himself sound like a debt collector that we had to listen to. He said his name was Ben Gomez. He
                                                                                                                                                                      provided a company number of 888-531-5596. Our Caller ID said 410-406-5034.
                                       34-108/30/18




                                                                                        Y       Washington DC            Liberty Power 202     3707463   04/01/2014   I told the woman when she called I was not interested. She became angry and said she would keep calling. The woman called my house an additional two times at 10:30 am
                                                                                  506
                                                                                                                                                                      and 10:29 am, hanging up both times. Originally, when this company first called I mentioned we were not interested, and we were on the Do Not Call Registry.
                                                                                  507 Y                         DC       Liberty Power                   04/01/2014
                                                                                      Y                         NJ       Liberty Power 250     4373606   03/28/2014   So sick of this!! I have contacted my representative, Rodney Frelinghuysen, to see if anything is being done about this. EVERY DAY I get some kind of telemarketing call.
                                                                                  508
                                                                                                                                                                      STOP IT!!!!!
                                                                                  509 Y                         DC       Liberty Power 202     3707463   03/26/2014   I have asked this company repeatedly to take me off their list. They have not.
                                                                                      Y         Morris          IL       Liberty Power 618     3270430   03/24/2014   Liberty Power called both of my phone lines within 2 minutes of each other. I have previously spoken with Liberty Power and told them that I am on the DNC list and they
                                                                                  510
                                 1-5 Filed




                                                                                                                                                                      should not call me again in the future.
                                                                                        Y       Morris          IL       Liberty Power 618     3270430   03/24/2014   Liberty Power called both of my phone lines within 2 minutes of each other. I have previously spoken with Liberty Power and told them that I am on the DNC list and they
                                                                                  511
                                                                                                                                                                      should not call me again in the future.
                             Document




                                                                                        Y       palisades       NY       liberty power 877     2899925   03/24/2014   liberty power has called me at least 15 times after i have been enlisted on the do not call list and after i have repeatedly told them to stop calling me!! i cant take it. they call
                                                                                  512
                                                                                                                                                                      constantly. It is always from an overseas call center where i can barely understand them. I NEED THIS TO STOP
                                                                                        Y       Washington DC            Liberty Power 202     3707463   03/20/2014   the caller asked for, "the person who pays the electric bill." when I asked who was calling, he said Liberty electric Company, licensed to do business in DC - and replied, did
                                                                                  513
                                                                                                                         Company                                      you know we are on the Do Not Call List and it is illegal to solicit business by phone to numbers on the Federal List. he apologized but was clueless
                                                                                        Y       Mattoon         IL       Liberty Power                   03/17/2014   The Caller identified himself as Gary Bernhardt representing Liberty Power offering an electric rate of $0.08369/KWH. He inquired my electric Billing company and Supply
                                                                                                                                                                      company. (I did NOT supply an account number and have contacted my electric supplier)He stated that it was "Green Power" and ICC Certified. There were numerous voices
                        Document




                                                                                                                                                                      in the background. He did Not give a telephone number and I did not ask. This is the First time this company has called me. Just before I hung up, I told him that I was on the
                                                                                  514
                                                                                                                                                                      DO-NOT-CALL registry, and he stated that he would enter that information with the company. The call was between about 3:00 and 4:00 PM CDT March 17, among the
                                                                                                                                                                      POLITICAL, pre-recorded "vote for" calls that (unfortunately) are allowed. By your database, my telephone number has been on the DO-NOT-CALL list since October 18, 2007.
      Case 1:18-cv-10506-ADB




                                                                                  515 Y         Washington DC            Liberty Power                   03/13/2014
                                                                                      Y         Washington DC            Liberty Power 292     8172946   03/12/2014   The call was from out of the area and the telephone number is obviously not that of the company. I found its actual telephone number and address on line: (866) 769–3799,
                                                                                  516
                                                                                                                         Corp.                                        1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309. They were trying to sell me on the idea of switching power companies.
                                                                                        Y                       DC       Liberty Power 202     8172946   03/12/2014   This was pure marketing solicitation and I am on the do not call list. This is harassament
                                                                                  517
                                                                                                                         company
                                                                                        Y       horseheads NY            liberty power 732     8135546   03/07/2014   This company called me in regards to switching my bill, I stated that I was a consultant for a competitor of theirs and the person on the phone got very defensive. After a short
Case 1:18-mc-00203-JCN




                                                                                                                         holdings, llc                                discussion of what I was getting, I asked him to please take my number off his list and hung up. About 2 minutes later, I received a return call from the same person with a very
                                                                                  518
                                                                                                                                                                      sarcastic message and that I was pushing a scam on people. Please follow up with their business etiquette on the phone and have them take my number off their list.
                                                                                        Y                       NJ       Liberty Power   908   8290084   03/05/2014   The company calls my home phone and hangs up when you answer so that you will call and see who it is. Then they answer saying that I called them. More and more
                                                                                                                         but caller ID                                companies are doing this to avoid the fines associated with the do not call registry but they are still soliciting and I have never done business with them.
                                                                                  519                                    shows name
                                                                                                                         of Diane
                                                                                                                         Krencik
                                                                                  520   Y       ellicott city   MD       Liberty Power   877   2899925   03/04/2014
                                                                                  521   Y       Morris          IL       Liberty Power   618   3270430   02/26/2014   I spoke with Bobby Bradshaw, who attempted to convince me to buy electric power from Liberty Power instead of my current electric supplier.
                                                                                  522   Y       Bethalto        IL       Liberty Power                   02/24/2014   Have ask them to stop call.
                                                                                  523   Y                       IL       liberty power                   02/20/2014
                                                                                  524   Y                       IL       Liberty Power   618   3013423   02/05/2014
                                                                                  525   Y                       IL       Liberty Power   866   7693799   01/30/2014
                                                                                        Y       Fleetwood       PA       Liberty Power   866   7693799   01/31/2014   Todays call was from "Cain Dcosta" 877-436-7162. He is a sales agent for Liberty and claims to have not phoned previously. It is apparent that they are moving my number
                                                                                                                                                                      between their 5 marketing centers in India. Liberty Power is an Electricity Utility provider of deceptive practice at best. After overcharging me for services they continue to solicit
                                                                                  526
                                                                                                                                                                      even though I cancelled them as my service provider over a year ago. They even denied receipt of my cancellation letter and entered a renewal on my behalf. Very
                                                                                                                                                                      DECEPTIVE COMPANY.
                                                                                  527 Y         Hull         IL          Liberty Power 618     3013423   01/30/2014
                                                                                      Y         New          PA          Liberty Power                   01/27/2014   I have told this company three times now to take me off their call list. I told them I was going to file a complaint after the second call a few months ago and they called me again!!
                                                                                  528
                                                                                                Bethlehem
                                                                                  529 Y         Gaithersburg MD          Liberty Power 877     2899925   01/24/2014   They keep calling and there is a long delay with them saying 'hello?, hello?' and then they hang up on me. I've told them to remove us from their list during the delay.
                                                                                            A        B            C          D          E        F         G                                                                                                H
                                                                                        Y       New York     NY       Liberty Power 877     2899925   01/23/2014   They are an alternative power company - their robo calls come way too frequently. Since I don't pay for electricity where I live, their calls are ludicrous and a waste of their time.
                                                                                  530
                                                                                                                                                                   Not, that I would ever do business with them
                                                                    of 23 #: 98




                                                                                  531   Y                    PA       Liberty Power   877   2899925   01/23/2014   They keep calling 2- 3 times a week to solicit.
                                                                                  532   Y                    MD       Liberty Power   877   2899925   01/16/2014   This is at least the third time I have reported this company. Calling my cell.
                                                                                  533   Y                    PA       Liberty Power   877   2899925   01/10/2014   This company keeps calling using an auto dialer. You then wait for the live person to pick up.
                                                                                  534   Y                    PA       Liberty Power   877   2899925   01/08/2014   This company has called multiple times. I have already reported them weeks ago. What gives?
                                                             of 5922PageID




                                                                                  535   Y       Aledo        IL       Liberty Power                   01/06/2014   The caller identified himself as John Burke.
                                                                                        Y       new york     NY       LIBERTY                         01/06/2014   These people keep calling. I keep asking them to stop and to remove my name from their list. it interrupts my work day and is a total nuisance. What will stop this. Caller voices
                                                                                  536
                                                                                                                      POWER                                        sound out-sourced to India. sometimes, callers sound more US-based. I don't care where the person is from. No number appears on caller ID.
                                                                                  537 Y                      MD       Liberty Power   667   4011478   12/19/2013
                                                                                      Y                      PA       Liberty Power   877   2899925   12/12/2013   They have foreigners calling non-stop. Please do something about it. This is the third call I have received in less than a week. Hit them with a drone strike or something.
                                                                                  538
                                                                                                                                                                   Thanks.
                                                                                  539 Y                      MD       Liberty Power   667   4011478   12/12/2013
                                                                                  540 Y         smithsburg   MD       liberty power   866   7693799   12/12/2013
                                                     Page 58Page




                                                                                  541 Y         smithsburg   MD       liberty power   866   7693799   12/12/2013
                                                                                      N         Larchmont    NY       Liberty Power   866   7693799   12/11/2013   They have called me three times in the last month. The caller ID says "blocked" and they are using offshore telemarketers. However they all indicate that they are calling on
                                                                                  542
                                                                                                                                                                   behalf of Liberty Power
                                                                                  543 Y                      PA       Liberty Power   877   2899925   12/10/2013   They called again yesterday, 12/9/13.
                                                                                  544 Y         new york     NY       Liberty Power   877   4367162   12/06/2013
                                                                                  545 Y                      NY       liberty power   877   2899925   12/04/2013   i already have reported this company. this is the fourth time they have called me in the past two days and i told them i am on the DNC list. i want it to end
                                             Filed 07/16/18




                                                                                      Y         New York     NY       liberty power   866   7693799   12/03/2013   Liberty Power is one of hundreds of companies which are selling "discounts" on electricity. Every month I get a dozen calls from these companies, despite the fact that my
                                                                                  546
                                                                                                                                                                   phone number has been on the DNC list for years. Does the do-not-call list have any teeth? Is there any enforcement?
                                                                                        Y                    IL       liberty power 815     4759390   11/22/2013
                                                                                  547
                                                                                                                      co.
                                                                                  548 Y         Mokena       IL       Liberty Power 973     2737843   11/18/2013
                                                                                      Y         OHIO         IL       LIBERTY                         11/17/2013   THEY ALL ABOUT EVERYDAY . WANT YOU TO SWITCH ELECTRIC OWER CO
                                                                                  549
                                                                                                                      POWER
                                       34-108/30/18




                                                                                        Y       galva        IL       liberty power                   11/15/2013   The liberty power phone number is 866 769 3799. I don't have caller ID so don't know what number they called from. The man gave his name as jeff and was from liberty
                                                                                  550
                                                                                                                                                                   power. It was in the afternoon around 3:30 to 4:30 on the 14 of november.
                                                                                  551 Y                      MD       Liberty Power 877     2899925   11/14/2013   Fourth Time Reporting
                                                                                      Y         Towson       MD       Liberty Power 877     2899925   11/12/2013   This is at least the third time they have called my cell, which is registered on do not call, even though it does not have to be. If you look up this phone number (877) 289-9925,
                                                                                  552
                                                                                                                                                                   you will see many others who are complaining about them as well.
                                                                                  553 Y                      IL       Liberty Power 618     5375679   11/05/2013
                                                                                  554 Y         Bethesda     MD       Liberty Power 877     2899925   11/06/2013
                                 1-5 Filed




                                                                                      Y         Lebanon      IL       Liberty Power 618     5375679   11/05/2013   Telemarketer wanting me to switch to Liberty Power. Obviously in Illinois the Do Not Call List means nothing to telemarketers. Caller ID indicated "LEBANON IL" so the phone
                                                                                  555
                                                                                                                                                                   number is probably spoofed. Liberty Power is located in FLA.
                                                                                  556 Y                      MD       Liberty Power 877     2899925   11/01/2013   This is my cell, and this is the second time they have called, and the second time I have reported it to you.
                             Document




                                                                                      Y         SMITHSBUR MD          LIBERTY       866     7693799   10/30/2013
                                                                                  557
                                                                                                G                     POWER
                                                                                        Y       Brooktondale NY       Liberty Power                   10/29/2013   Please prosecute. I asked if the company checked the do not call list, and the caller said that they did not. Prosecute, or the registry is useless.
                                                                                  558
                                                                                  559 Y                    IL         Liberty Power 815     4759390   10/23/2013
                        Document




                                                                                  560 Y                    MD         Liberty Power 877     2899925   10/24/2013
                                                                                      Y         Wyomissing PA         Liberty Power                   10/24/2013   Liberty Power (and their affiliates) have called us at least 100 times on our business phone numbers. Our office is small, but they have called each of our lines for the past
                                                                                                                                                                   several months. We continue to tell them to stop calling us. After doing some research, they have also been harassing others. We tell them to stop calling, and then we hang
                                                                                  561
                                                                                                                                                                   up. Not 1 minute later, we get another call. They must be getting paid to just keep calling. That must be their incentive. Liberty Power, and their calling affiliates, are scam
                                                                                                                                                                   artists.
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                                                                                        Y       Beecher      IL       Liberty Power 815     4759390   10/23/2013   This is the first known call I have received from this company. I did let them know I was on the do not call list and would be filing a complaint. I assume that is the same as
                                                                                  562
                                                                                                                                                                   letting them know to stop calling.
                                                                                  563 Y         Ottawa       IL       Liberty Power 815     4759390   10/22/2013
                                                                                  564 Y         Marengo      IL       Liberty Power 773     3090162   10/21/2013   Sounds like a scam, guy said was calling from Dominican Republic when finally answered it after multiple calls over course of a few days. Despite Chicago area code.
                                                                                      Y         Marengo      IL       Liberty       773     3090162   10/21/2013   Lou's son (me) Lance Boyd answered finally after days consecutive of them calling and found out guy's name calling and he claimed it was "Rob Winter" and said company he
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                                                                                                                      Power- Rob                                   was calling for was Liberty Power. He said he was calling out of he Domincan Republic when I asked where he was out of. He said the company was in IL. Sounds like a
                                                                                  565                                 Winter                                       scam. I told him why are you a 773 Chicago area area code if calling from Dominican Republic? Spoofing? Tricking caller ID? He had no answer. Might want to pass along
                                                                                                                                                                   to FEDS sounds like a scam posing as power company savings switch sales pitch. Or Liberty Power if it exists is using out of country telemarketers to avoid US law. They
                                                                                                                                                                   should be fined if true and exist. Or have FBI investigate this likely scam.
                                                                                  566 Y         Washington IL         liberty power   217   6154126   09/26/2013   I have asked numerous times for them to take me off the list...I am so tired of this.
                                                                                      Y         danville   IL         liberty power   888   5315596   09/20/2013   we tell them to stop calling and every day they call back, dawn ray x 101
                                                                                  567                                 choice
                                                                                                                      consultants
                                                                                  568 Y         Elmira       NY       Liberty Power   866   7693799   09/17/2013
                                                                                      Y         North East   MD       Liberty Power   410   4175321   09/13/2013   This is at least the third time that they have called my house.
                                                                                  569
                                                                                                                      Corp
                                                                                  570 Y         Washington IL         Liberty Power   618   5030722   09/11/2013   what happened to the law that no soliciting? It's still happening.
                                                                                      Y         Peoria     IL         Liberty Power   312   4488590   09/11/2013   Brianna Sanchez with Liberty Power, her direct line is 855-506-1442 ext 1900 Calling about switching power companies. I have told them to NOT call my REGISTERED do
                                                                                  571
                                                                                                                                                                   NOT call number.
                                                                                  572 Y         Crystal Lake IL       Liberty Power 773     3090162   09/11/2013   Not interested in lowering rates and requested that 'Edwin' remove our number from their call list.
                                                                                      Y         Bloomington IL        Liberty Power 312     4488590   09/10/2013   Calling regatding lowering my electric rates. I never received any similar calls until our city council approved a consolidated rate program earlier this year. Received a call from
                                                                                  573                                                                              them last week, and told them do not call back, and pointed out I am on the national do not call list. They responded that they would add me to the Illinois Electric Program do
                                                                                                                                                                   not call list, whatever that bogus crap is supposed to be.
                                                                                        Y       Peoria       IL       Liberty Power 312     4488590   09/09/2013   Telemarketer wants me to call him "back" at 855-506-1442. I am on do NOT call list, have never done biz with them, and do NOT want to. This is another power company
                                                                                  574
                                                                                                                                                                   wanting me to switch providers. NOT interested!
                                                                                        Y       Monmouth     NJ       Liberty Power 866     7693799   09/06/2013   Shows as unavailabe
                                                                                  575
                                                                                                Junction
                                                                                            A       B                C          D              E       F          G                                                                                               H
                                                                                        Y       champaign       IL       Liberty Power                       08/30/2013   The Illinois Commerce Commission has authorized many new companies to offer electric service however, several are violating the do-not-call law in an effort to sign up new
                                                                                  576
                                                                                                                                                                          customers. This is at least the third I have been contacted by and I have registered a complaint with the ICC too.
                                                                    of 23 #: 99




                                                                                  577 Y                         MD       Liberty Power 443         5903224   08/29/2013
                                                                                  578 Y         Elkton          MD       Liberty Power 888         5315596   08/28/2013   We get scads of robo calls, but don't have caller ID to complain about them. This guy's given name is Jabari. Website given was libertypowercorp.com
                                                                                      Y         Urbana          IL       Liberty Power 888         5315596   08/26/2013   Does anyone actually follow up on these complaints? I have the feeling my reports are being filed in a black hole. I'm getting an increasing number of unwanted calls, despite
                                                                                  579
                                                                                                                                                                          my listing in the do-not-call registry.
                                                             of 5923PageID




                                                                                  580 Y         Barnegat        NJ       Liberty Power 000         0000000   08/24/2013   They ignor reqsuest to stop calling.
                                                                                      Y         Mount           IL       Liberty Power 217         6345066   08/22/2013   I have asked this comkpany no to call me on several ocassions. Can you please stop this herassment.
                                                                                  581
                                                                                                Vernon
                                                                                  582 Y         Sparta          NJ       Liberty Power 773         3090162   08/20/2013   How can I receive compensation from this company for calling me?
                                                                                      Y         Sparta          NJ       Liberty Power                       08/18/2013   Liberty Power called also on Aug. 10 in the afternoon. I told them then I was on the No Call List and they were NEVER to call again. At that call the person was unclear as to
                                                                                  583
                                                                                                                                                                          whether he was calling from Chicago or Ft Lauderdale (hum !) We have been getting a tremendous number of calls from power brokers.
                                                                                  584 Y         Hopatcong       NJ       Liberty Power 773         3090162   08/14/2013   I spoke to Michael Delancy and he said we would take me off their list. I have asked this company multiple times to do this and they have not.
                                                                                      Y                         MD       Liberty Power                       08/12/2013   Caller asked to speak with person who handles electric bill. I asked who was calling. He stated he was calling from Liberty Power and had a fixed rate energy offer for
                                                                                  585                                                                                     customers of the electric company we use. I told him we were happy with our electric service he responded with a hard sell speech. After several attempts to politely decline
                                                     Page 59Page




                                                                                                                                                                          the offer, I hung up on him.
                                                                                        Y       Sewell          NJ       Liberty Power 773         3090162   08/07/2013   A live person with a thick accent said his name was "Andrew Smith" calling from Liberty Power asking for the person responsible for the electric bills and pitching "clean
                                                                                  586
                                                                                                                                                                          energy". Caller ID read "Unknown Name". Told him he was in violation of the DNC and that I was reporting their violation before hanging up.
                                                                                  587   Y       flemington      NJ       Liberty Power   877       4367162   08/05/2013
                                                                                  588   Y                       NJ       liberty power   877       4367162   07/31/2013
                                             Filed 07/16/18




                                                                                  589   Y                       IL       Liberty Power                       07/29/2013
                                                                                  590   Y       Anna            IL       Liberty Power   309       3627035   07/26/2013
                                                                                        Y       Salisbury       MD       Liberty Power   813       7490764   07/02/2013   Continues to call after I told them DO NOT call, very rude, persistent, high pressure, said they have a right to call,said they are calling EVERYONE of delmarva power
                                                                                  591
                                                                                                                                                                          customers even if they are on do not call list.
                                                                                  592   Y       Chicago         IL       Liberty Power   877       4367162   06/25/2013   They called 4 times yesterday and once already today.
                                                                                  593   Y                       IL       Liberty Power   815       6765121   06/06/2013   Caller ID was "Plainfield,IL" regarding electricity choices.
                                                                                  594   Y                       IL       Liberty Power   877       4367162   05/29/2013
                                       34-108/30/18




                                                                                  595   Y       Titusville      PA       Liberty Power   877       2899925   05/20/2013   this company is relentless
                                                                                        Y       Crisfield       MD       Liberty Power   410       3949585   05/15/2013   Caller was a male, maybe Caucasian, sounded about thirty-ish. His tone was very argumentative, demanding and rude. I wouldn't give out any personal info. The caller hung
                                                                                  596
                                                                                                                                                                          up. I could hear several people having conversations in the background.
                                                                                  597 Y                         NJ       Liberty Power 801         8933332   05/13/2013
                                                                                  598 Y         Titusville      PA       liberty power 877         2899925   05/13/2013
                                                                                  599 Y         des plaines     IL       liberty power 773         3090162   05/08/2013   Told me they were not selling anything by not asking for a credit card. thank you.
                                                                                      Y         Buffalo         IL       Liberty Power                       05/07/2013   I am on the do not call list so this company should not have called. When I told the gentleman I wanted his company to not call me in the future he continued with his pitch.
                                 1-5 Filed




                                                                                  600           Grove                                                                     When I again told him to not call me he said "but sir, you don't know why I'm calling." I again told him to not call me and he again tried to give me his pitch. I then advised him
                                                                                                                                                                          I'd file a complaint about his firm with the FTC.
                                                                                  601 Y         Des Plaines IL           Liberty Power 773         3090162   05/07/2013   They also have a toll free number at 866-257-5822 and this is their website: http://www.libertypowercorp.com/ Thank you.
                             Document




                                                                                      Y         Northbrook IL            Liberty Power 773         3090162   05/06/2013   "JOE" wanted to talk with the person who pays the "light bill" - I told him that we are on the "do not call list" and that I was reporting this call to the Federal Government -
                                                                                  602
                                                                                                                                                                          PLEASE stop these calls - I have reported probably more than 20 during the past several weeks
                                                                                        Y       staten Island NY         Liberty Power 877         2899925   05/06/2013   Liberty Power electric charge lower rate. Keep calling me please stop them. Thank you.
                                                                                  603
                                                                                  604 Y                         IL       Liberty Power                       05/02/2013
                                                                                      Y                         NJ       Liberty Power 801         8933332   04/29/2013   The call was from overseas, and it was hard to understand the man through his thick indian accent. But, they should not be calling my phone at all. he claimed it was with
                        Document




                                                                                  605                                                                                     regard to my electric bill. Meanwhile, I don't pay an electric bill (my parents do) and we do not have Liberty Power. Even if we did, they wouldn't be calling my cell phone. This
                                                                                                                                                                          is ridiculous. They're lying now.
                                                                                        Y       Galena          MD       Liberty Power 410         3465108   04/29/2013   This number may have be a private house since my ID on the phone said it was from Silver Run, MD. She represented Liberty Power. However she said she was from Liberty
                                                                                                                                                                          Power and wanted me to tell her about my electric power usage by giving information from electric bill. When I told her I was not interested in changing power companies, she
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                                                                                  606
                                                                                                                                                                          became insistent I read her the information. We have Choptank Electric and she said she could not save us any money there. What a scam! This phone number has been
                                                                                                                                                                          registered many years with do not call.
                                                                                        Y       Burlington      NJ       Liberty power 801         8933332   04/29/2013   This company keeps calling me on my cell phone from area code 801 with different numbers, I have told them to stop calling but everyday I still get another call, I need them to
                                                                                  607
                                                                                                                                                                          stop.
                                                                                  608   Y       Northbrook      IL       Liberty Power   866       7643799   04/23/2013
                                                                                  609   Y       Vernon Hills    IL       Liberty Power   773       3090162   04/20/2013   I have reveived several calls from this number over the past few weeks.
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                                                                                  610   Y       Elkton          MD       Liberty Power   888       5315596   04/15/2013   The person I spoke with, Alex Sinclair, said if my number was on the Do Not Call List he wouldn't be calling me.   They have been calling almost every day for over 2 weeks.
                                                                                  611   Y       saint charles   IL       liberty power   866       7697399   04/12/2013   They called before, I told them not to call again
                                                                                  612   Y       Wheaton         IL       Liberty Power   773       3090162   04/12/2013
